Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 1 of 90 PageID: 177290




    Susan M. Sharko                                               Faegre Drinker Biddle & Reath LLP
    Partner                                                       600 Campus Drive
    susan.sharko@faegredrinker.com                                Florham Park, New Jersey 07932
    973-549-7350 direct                                           +1 973 549 7000 main
                                                                  +1 973 360 9831 fax




    Via ECF

    April 1, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608

    Re: In re: Johnson & Johnson Talcum Powder Products
        Marketing, Sales Practices and Products Liability Litigation -
        MDL 2738

    Dear Magistrate Judge Singh:

           Pursuant to the Case Management Order entered on February 13, 2024
   (ECF No. 29032), outlining procedures for adjudication of cases where the plaintiff
   fails to comply with the Court Orders on case specific fact discovery and the
   Plaintiff Profile Form (“PPF”), please see the attached lists of non-compliant cases.
   Counsel for these plaintiffs have received notice through MDL Centrality (if they are
   registered there as required by Court Orders) and e-mail (whether registered or
   not).

          Enclosed are two separate lists of cases. The first attachment lists 2016-
   2017 cases which were listed on the March 1, 2024 PPF Report which remain
   deficient in providing a PPF. Defendants will file an Order to Show Cause on May
   1, 2024, should any of those 2016-2017 noted cases continue to fail to provide a
   PPF. The second attachment lists, for the first time, 2018-2019 cases which are
   deficient in providing a PPF, including any deficient 2023 cases. Defendants will
   file an Order to Show Cause on June 1, 2024 should any of those 2018-2019 and
   2023 cases continue to fail to provide a PPF.

             Thank you for your consideration of these matters.
CaseHon. Rukhsanah L. Singh, U.S. Magistrate
     3:16-md-02738-MAS-RLS          Document Judge30612 Filed 04/01/24 Page 2 of 90 PageID: 177291
    April 1, 2024
    Page 2

                                                 Respectfully,

                                                 /s/ Susan M. Sharko
                                                 Susan M. Sharko
                                                 FAEGRE DRINKER BIDDLE & REATH LLP

    SMS/scg
    Encl: (1)
    Cc: Leigh O’Dell, Esq. (via e-mail)
        Michelle Parfitt, Esq., (via e-mail)
        All counsel of record (via ECF)
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 3 of 90 PageID: 177292
                April , 2024, &DVHV'HILFLHQWLQ6HUYLQJ33)
         7KLVLVWKHVHFRQGPRQWKWKHVHFDVHVKDYHEHHQOLVWHG)DLOXUHWRFXUHWKHGHILFLHQFLHV
           ZLOOUHVXOWLQWKHFDVHEHLQJWKHVXEMHFWRIDQ2UGHUWR6KRZ&DXVHRQ0D\

  Row #              Case Name                       Plaintiff Firm(s)            Current Cause #
    1              Burns, Margaret                   Ashcraft & Gerel              3:17-cv-11259
    2               Flowe, Sherry                    Ashcraft & Gerel              3:17-cv-10963
    3               Gaspard, Ethel                   Ashcraft & Gerel              3:17-cv-11274
    4               Scott, Shilinda                  Ashcraft & Gerel              3:17-cv-11283
    5              Hayden, Theresa               Barrett Law Group, P.A.           3:17-cv-07000
    6               Graham, Justin               Barrett Law Group, P.A.           3:17-cv-07186
    7             Keys-Chavis, Edna              Barrett Law Group, P.A.           3:17-cv-07370
    8                Yost, Betty A               Barrett Law Group, P.A.           3:17-cv-12512
    9              White, Gasecener              Barrett Law Group, P.A.           3:17-cv-12598
   10             Lumas, Tanashiska              Barrett Law Group, P.A.           3:16-cv-06694
   11                Smith, Viola                Barrett Law Group, P.A.           3:17-cv-07021
   12                Kinsel, Patsy               Barrett Law Group, P.A.           3:17-cv-09059
   13                Rico, Amy M.               Baum, Hedlund, Aristei &           3:17-cv-11342
                                                      Goldman, P.C.
    14              Rappold, Allan                Becnel Law Firm, LLC             3:17-cv-04596
    15               Robb, Mary                 Burch & George // Sill Law         3:16-cv-06608
                                                 Group, PLLC // White &
                                              Weddle, P.C. // Zelbst Holmes
                                                         & Butler
    16               Rice, Renna                    Burns Charest LLP              3:17-cv-12283
    17              Talbott, Sheri                  Burns Charest LLP              3:17-cv-06078
    18              Clark, Patricia                 Burns Charest LLP              3:17-cv-05696
    19            Maldonado, Velsa                  Burns Charest LLP              3:17-cv-08279
    20            Todd, Emma Jean                   Burns Charest LLP              3:17-cv-07094
    21        Williams, Sandra (07994)              Burns Charest LLP              3:17-cv-07994
    22           McDeavitt, Cynthia                 Burns Charest LLP              3:17-cv-07283
    23              Dawson, Scott             Burns Charest LLP / The Pate         3:16-cv-08749
                                                         Law Firm
    24              Smith, Deanna                  Cates Mahoney, LLC              3:17-cv-10747
    25         Collins, Thomas Michael          Conley Griggs Partin LLP           3:17-cv-13253
    26              Natera, Erica R            Eichen, Crutchlow, Zaslow &         3:17-cv-13546
                                                       McElroy, LLP
    27             Tuck-Lynn, Joyce            Eichen, Crutchlow, Zaslow &         3:17-cv-09339
                                                       McElroy, LLP
    28              Fowler, Karol                     Fox and Farley               3:17-cv-08148
    29           Blank, Angel Lucille                Girardi & Keese               3:17-cv-13795
    30           Sanders, Margarette                 Girardi & Keese               3:17-cv-12505
    31              Bueno, Alicia                    Girardi & Keese               3:17-cv-12500
    32            Bentley, Cathleen               Goldenberg Law, PLLC             3:17-cv-11156
    33              Davis, Shawn                  Goldenberg Law, PLLC             3:17-cv-10175
    34             Michaelis, Linda               Goldenberg Law, PLLC             3:17-cv-07692
    35               Webb,Karyl                   Goldenberg Law, PLLC             3:17-cv-07681
    36              Boos, Helen                   Goldenberg Law, PLLC             3:17-cv-11143
    37            Jackson, Thomas               Golomb Spirt Grunfeld PC           3:17-cv-10654
    38            Barton, Elizabeth               Goza & Honnold, LLC              3:17-cv-12725


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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 4 of 90 PageID: 177293




  Row #          Case Name                 Plaintiff Firm(s)             Current Cause #
   39         Ramos, Kim-Judith          Goza & Honnold, LLC              3:17-cv-02470
   40         Benford, Ashley W.      Hart McLaughlin & Eldridge          3:17-cv-11339
   41            Culley, Lisa         Hart McLaughlin & Eldridge          3:17-cv-11337
   42          Hollifield, Sophie     Hart McLaughlin & Eldridge          3:17-cv-11333
   43          Seymour, Yokita        Hart McLaughlin & Eldridge          3:17-cv-11329
   44           White, Sheena         Hart McLaughlin & Eldridge          3:17-cv-11322
   45          Treadwell, Linda       Hart McLaughlin & Eldridge          3:16-cv-09495
   46           McGee, Debra             Helmsdale Law, LLP               3:17-cv-05436
   47          Segreaves, Julie              Keefe Bartels                3:16-cv-09119
   48          Jackson, Paula        Law Office of Eusi H. Phillips //    3:16-cv-07488
                                     Law Office of Marion D. Floyd

    49         Matthews, Lauren      Law Office of John D. Sileo,         3:16-cv-07490
                                                  LLC
    50        Kruskall, Lauren S.       Law Offices of Kruskell           3:17-cv-05143
    51          Brown, Bertha         Lenze Kamerrer Moss, PLC            3:17-cv-04340
    52          Benson, Merritt      Martinian & Associates, Inc. //      3:17-cv-07188
                                     The Law Offices of Haytham
                                                  Faraj
    53           Hunt, Sylvia          Massimo & Pawetta, P.C.            3:17-cv-08070
    54          Smith, Deborah           McGrath Law Firm PA              3:17-cv-02382
    55          Allen, Theresa         Milberg Coleman Bryson             3:17-cv-12473
                                        Phillips Grossman, LLC
    56       Nichols, Trisha Deann   Milstein, Jackson, Fairchild &       3:17-cv-13826
                                       Wade, LLP // The Michael
                                           Brady Lynch Firm
    57          Collins, Nettie             Morris Bart, LLC              3:17-cv-03919
    58         Cutrer, Charles              Morris Bart, LLC              3:17-cv-03920
    59         Jackson, JoEva               Morris Bart, LLC              3:17-cv-03930
    60         LaFleur, Phillip             Morris Bart, LLC              3:17-cv-03934
    61            Jerro, Billy              Morris Bart, LLC              3:17-cv-03932
    62         Tauzier, Wayne               Morris Bart, LLC              3:17-cv-03941
    63        Whitson, Richard              Morris Bart, LLC              3:17-cv-03943
    64      McClanahan, Kenneth             Morris Law Firm               3:17-cv-10124
    65         Schmitz, Daniel              Morris Law Firm               3:17-cv-10633
    66          Arenz, Dana                Motley Rice, LLC               3:17-cv-06074
    67       Douglas, Maureen S.           Motley Rice, LLC               3:17-cv-12296
    68       Luna, Jessica Nicole          Motley Rice, LLC               3:17-cv-12324
    69        Austin, Sheronda             Motley Rice, LLC               3:17-cv-10615
    70      Chanthapanya, Davahn           Motley Rice, LLC               3:17-cv-05853
    71        Hunsaker, Pamela             Motley Rice, LLC               3:17-cv-12059
    72        Schapiro, Liqun Y            Motley Rice, LLC               3:17-cv-12726
    73          Guidry, Mary               Motley Rice, LLC               3:17-cv-07260
    74          Doyle, Renee            Napoli Shkolnik, PLLC             3:17-cv-12715
    75          Fierro, James           Napoli Shkolnik, PLLC             3:17-cv-12716


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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 5 of 90 PageID: 177294




  Row #           Case Name                 Plaintiff Firm(s)         Current Cause #
   76          Christian, Patricia      Napoli Shkolnik, PLLC          3:17-cv-12719
   77          Gadfield, Robert         Napoli Shkolnik, PLLC          3:17-cv-12704
   78          Mancini, Eleanor         Napoli Shkolnik, PLLC          3:17-cv-12662
   79             Cook, Jerry           Napoli Shkolnik, PLLC          3:17-cv-12703
   80          Brigman, Barbara       Poulin, Willey, Anastopoulo,     3:17-cv-08135
                                       LLC // Steckler Gresham
                                                Cochran
    81        Ikemoto, Joan Lee       Poulin, Willey, Anastopoulo,     3:17-cv-08141
                                       LLC // Steckler Gresham
                                                Cochran
    82        Johanson, Roberta                  Pro Se                3:16-cv-07427
    83         Smoller, Lorraine                 Pro Se                3:16-cv-07427
    84          Ewing, Marisa            Robinson, Calcagnie,          3:17-cv-09614
                                     Robinson, Shapiro, Davis, Inc.

     85         Dalton, Connie          Ross Feller Casey, LLP         3:17-cv-09074
     86          Ford, Teresa           Ross Feller Casey, LLP         3:17-cv-02370
     87          Eidson, Carol         Sangisetty Law Firm, LLC        3:17-cv-02753
     88         Sherlock, Tina         Sangisetty Law Firm, LLC        3:17-cv-02751
     89      Shackelford, Michael        Sill Law Group, PLLC          3:17-cv-00040
     90          Ashlock, Leon           Sill Law Group, PLLC          3:17-cv-11080
     91         Bradley, Marcie          Sill Law Group, PLLC          3:17-cv-11081
     92         Bowling, Oleita          Sill Law Group, PLLC          3:17-cv-11082
     93      Ashford, Shirley Jean       Sill Law Group, PLLC          3:17-cv-11083
     94             Allee, Ila           Sill Law Group, PLLC          3:17-cv-11084
     95            Gill, James           Sill Law Group, PLLC          3:17-cv-11086
     96        McCorkle, Patricia        Sill Law Group, PLLC          3:17-cv-11087
     97           Cagle, Cindy           Sill Law Group, PLLC          3:17-cv-12729
     98         Brown, Sharon           Simmons Hanly Conroy           3:17-cv-11231
     99         Bullock, Cardell        Simmons Hanly Conroy           3:17-cv-05779
    100      Rosensteel, Crystal M      Simmons Hanly Conroy           3:17-cv-05781
    101          Mojica, Kristin      Steckler Gresham Cochran         3:17-cv-08455
    102       Burroughs, Remona       Steckler Gresham Cochran         3:17-cv-08476
    103          Tolliver, Paul            Steve Merritt Law           3:17-cv-02976
    104        Weseman, Linda              Stewart & Stewart           3:17-cv-01119
    105         Roberts, Sylvia            Stewart & Stewart           3:17-cv-02890
    106          Isaacs, Victor       Summers & Johnson, P.C.          3:17-cv-11676
    107        Bustos, Arthur L.       The Alarid Law Firm, P.C.       3:17-cv-08290
    108        Fiordiliso, Jeanna    The Levensten Law Firm, P.C.      3:17-cv-05652

    109       Pringle, Maryladene      The Simon Law Firm, PC          3:17-cv-06766
    110        Demelia, Maylou         The Simon Law Firm, PC          3:17-cv-10971
    111          Smith, Cassie         The Simon Law Firm, PC          3:17-cv-11212




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Case 3:16-md-02738-MAS-RLS          Document 30612 Filed 04/01/24 Page 6 of 90 PageID: 177295
          7KLVLVWKHILUVWPRQWKWKHVHFDVHVKDYHEHHQOLVWHG)DLOXUHWRFXUHWKHGHILFLHQFLHV
              ZLOOUHVXOWLQWKHFDVHEHLQJWKHVXEMHFWRIDQ2UGHUWR6KRZ&DXVHRQ-XQH

     5RZ              &DVH1DPH                          3ODLQWLII)LUP V              &XUUHQW&DXVH
          1         McWhite, Kamonica                  Ahdoot & Wolfson, PC               3:23-cv-20379

          2           Barras, Anthony                  Andrus Wagstaff, P.C.              3:18-cv-15967

          3           Davis, Ruthanne                  Andrus Wagstaff, P.C.              3:18-cv-00498

          4           Walker, Brenda                   Andrus Wagstaff, P.C.              3:18-cv-01902

          5          Campbell, Sheree                  Andrus Wagstaff, P.C.              3:19-cv-00655

          6            Liston, George                  Andrus Wagstaff, P.C.              3:19-cv-14590

          7            Plunkett, Shari                 Andrus Wagstaff, P.C.              3:19-cv-07718

          8             Ballon, Mary                       Ashcraft & Gerel               3:18-cv-17468

          9             Beck, Kathy                        Ashcraft & Gerel               3:18-cv-12776

         10          Bettwy, Elizabeth                     Ashcraft & Gerel               3:18-cv-10551

         11           Choate, Shawn                        Ashcraft & Gerel               3:18-cv-00047

         12         Burkholder, Carolyn                    Ashcraft & Gerel               3:18-cv-13307

         13          D'Angelo, Pamela                      Ashcraft & Gerel               3:18-cv-13427

         14         Doherty, Laura Lynn                    Ashcraft & Gerel               3:18-cv-11876

         15         Longmire, Ruthie E.                    Ashcraft & Gerel               3:18-cv-00072

         16          Gardner, William B                    Ashcraft & Gerel               3:18-cv-11837

         17       Gregory-Bilotta, Margaret                Ashcraft & Gerel               3:18-cv-17653

         18            Hardin, Rickye                      Ashcraft & Gerel               3:18-cv-17659

         19             Hart, Sandra                       Ashcraft & Gerel               3:18-cv-00122

         20           Iverson, Gerald                      Ashcraft & Gerel               3:18-cv-09157

         21           Lackey, Barbara                      Ashcraft & Gerel               3:18-cv-11211

         22         Leatherwood, Elaine                    Ashcraft & Gerel               3:18-cv-00070

         23             Rose, John                         Ashcraft & Gerel               3:18-cv-00092

         24             Roux, David                        Ashcraft & Gerel               3:18-cv-13382

         25           Schimpf, Evelyn                      Ashcraft & Gerel               3:18-cv-17650

         26            Smith, Charles                      Ashcraft & Gerel               3:18-cv-00094

         27           Struthers, Nancy                     Ashcraft & Gerel               3:18-cv-04722

         28           Walters, Ronald                      Ashcraft & Gerel               3:18-cv-11752

         29           Washington, Joy                      Ashcraft & Gerel               3:18-cv-01354

         30           Williams, Derrick                    Ashcraft & Gerel               3:18-cv-11606

         31           Damon, Sandra                        Ashcraft & Gerel               3:23-cv-05141

         32           Ackerman, Carol                      Ashcraft & Gerel               3:19-cv-10210

         33           Brewer, Tommy                        Ashcraft & Gerel               3:19-cv-07380

         34           Brookman, Mary                       Ashcraft & Gerel               3:19-cv-00058

         35           Coleman, Farry                       Ashcraft & Gerel               3:19-cv-13251

         36           Domato, Cheryl                       Ashcraft & Gerel               3:19-cv-11532

         37         Dunn-Borgra, Laura                     Ashcraft & Gerel               3:19-cv-07919

         38            Flynn, Sherry                       Ashcraft & Gerel               3:19-cv-13166

         39            Gilbert, Rachel                     Ashcraft & Gerel               3:19-cv-06988

         40          Homack, Meaghan                       Ashcraft & Gerel               3:19-cv-04396

         41          Johnson, Rhonda                       Ashcraft & Gerel               3:19-cv-07775

         42         Hasselbald, Yvonne                     Ashcraft & Gerel               3:19-cv-01044

         43             Lyon, Vickie                       Ashcraft & Gerel               3:19-cv-11536

         44      Wesley Dowd, Ja'Donna R                   Ashcraft & Gerel               3:19-cv-11977

         45            Murray, Linda                       Ashcraft & Gerel               3:19-cv-07405

         46          Orville, Stephanie                    Ashcraft & Gerel               3:19-cv-04569



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 7 of 90 PageID: 177296


    5RZ         &DVH1DPH                           3ODLQWLII)LUP V                    &XUUHQW&DXVH
        47        Raptis, Marie                       Ashcraft & Gerel                     3:19-cv-11530

        48       Sacher, Adam                         Ashcraft & Gerel                     3:19-cv-12420

        49      Serigney, Carrie                      Ashcraft & Gerel                     3:19-cv-03065

        50       Sharkey, Joann                       Ashcraft & Gerel                     3:19-cv-03095

        51       Walker, Helen                        Ashcraft & Gerel                     3:19-cv-00484
               Cahill, Catherine D   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-16638
        52                                         Portis & Miles, P.C.
                 Garner, Elaine      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-00067
        53                                         Portis & Miles, P.C.
                 Gary, Patricia L    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-00023
        54                                         Portis & Miles, P.C.
                 Lewis, Margaret     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-00071
        55                                         Portis & Miles, P.C.
                  Pivac, Janess      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-01823
        56                                         Portis & Miles, P.C.
                Randle, Chiquita     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-03326
        57                                         Portis & Miles, P.C.
              White Hudson, Mary L   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:18-cv-16622
        58                                         Portis & Miles, P.C.
                  Allen, Sharon      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01512
        59                                         Portis & Miles, P.C.
               Anderson, Bernice     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01790
        60                                         Portis & Miles, P.C.
              Anderson, Rosetta M.   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12349
        61                                         Portis & Miles, P.C.
                Anderson, Vicki D    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-19494
        62                                         Portis & Miles, P.C.
                Azevedo, Sharon      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01797
        63                                         Portis & Miles, P.C.
                  Banks, Linda       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07836
        64                                         Portis & Miles, P.C.
                  Batts, Lisa P      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05656
        65                                         Portis & Miles, P.C.
                  Beals, Tasha       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05657
        66                                         Portis & Miles, P.C.
                  Benson, Mary       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12268
        67                                         Portis & Miles, P.C.
                   Berry, Ruth       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12373
        68                                         Portis & Miles, P.C.
                 Bonds, Paulette     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05643
        69                                         Portis & Miles, P.C.
                 Brooks, Sylvia J    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01222
        70                                         Portis & Miles, P.C.
                Cantrell, Linda J    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05647
        71                                         Portis & Miles, P.C.
                 Cherry, Dorothy     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01317
        72                                         Portis & Miles, P.C.
                 Clark, Barbara      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16744
        73                                         Portis & Miles, P.C.
              Dockham, Nellie May    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07839
        74                                         Portis & Miles, P.C.
                  Ehling, Betty      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16736
        75                                         Portis & Miles, P.C.
                  Goody, Misti       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01956
        76                                         Portis & Miles, P.C.
                  Harris, Kathy      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05749
        77                                         Portis & Miles, P.C.
              Hernandez, Esmerelda   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01325
        78                                         Portis & Miles, P.C.




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 8 of 90 PageID: 177297


    5RZ          &DVH1DPH                           3ODLQWLII)LUP V                    &XUUHQW&DXVH
                 Hodges, Betty A      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16724
        79                                          Portis & Miles, P.C.
                   Hill, Leslie       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16910
        80                                          Portis & Miles, P.C.
                   Irvin, Betty       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05780
        81                                          Portis & Miles, P.C.
              Johnson, Gloria Jean    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01467
        82                                          Portis & Miles, P.C.
                 Johnson, Mary        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12305
        83                                          Portis & Miles, P.C.
                Kelsey, Jeri Lynn     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05792
        84                                          Portis & Miles, P.C.
                 Knapp, Esther        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16706
        85                                          Portis & Miles, P.C.
              Lethcoe, Audra Holton   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07841
        86                                          Portis & Miles, P.C.
              Lichtenfels, Rebecca    Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12365
        87                                          Portis & Miles, P.C.
                 Long, Lisa Ann       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12308
        88                                          Portis & Miles, P.C.
                  Lovett, Evelyn      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05801
        89                                          Portis & Miles, P.C.
                 Maddox, Jenny        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05803
        90                                          Portis & Miles, P.C.
                Magbag, Priscilla     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05822
        91                                          Portis & Miles, P.C.
                 McLeod, Olivia       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07791
        92                                          Portis & Miles, P.C.
                 McWillie, Diane      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07787
        93                                          Portis & Miles, P.C.
                Menoken, Juanita      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16972
        94                                          Portis & Miles, P.C.
                 Mesler, Susan        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05830
        95                                          Portis & Miles, P.C.
                  Miller, Diane       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01195
        96                                          Portis & Miles, P.C.
                Mraz, Josephine F     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05886
        97                                          Portis & Miles, P.C.
                 Murray, Corinne      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12309
        98                                          Portis & Miles, P.C.
               Ogbonnah, Obiageli     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01201
        99                                          Portis & Miles, P.C.
                 Phillips, Jodi R     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05871
       100                                          Portis & Miles, P.C.
                 Polson, Susan        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12354
       101                                          Portis & Miles, P.C.
                  Relford, Lori       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05891
       102                                          Portis & Miles, P.C.
                 Richard, Donna       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07709
       103                                          Portis & Miles, P.C.
                  Roberts, Terri      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-05897
       104                                          Portis & Miles, P.C.
                   Ross, Betty        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16945
       105                                          Portis & Miles, P.C.
                Ross, Grace Lou       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12380
       106                                          Portis & Miles, P.C.
                 Russell, Martha      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01446
       107                                          Portis & Miles, P.C.
              Sanchez, Karen Elaine   Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12336
       108                                          Portis & Miles, P.C.




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 9 of 90 PageID: 177298


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                Scruggs, Carolyn       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07710
       109                                           Portis & Miles, P.C.
                 Shears, Evelyn        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01490
       110                                           Portis & Miles, P.C.
               Shelton, Darlene C      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07711
       111                                           Portis & Miles, P.C.
                Sheppard, Sandra       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07712
       112                                           Portis & Miles, P.C.
                  Sibley, Phyllis      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-01964
       113                                           Portis & Miles, P.C.
              Slawson, Rosemarie       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07715
       114                                           Portis & Miles, P.C.
                 Smart, Frances        Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12312
       115                                           Portis & Miles, P.C.
                  Smith, Renee         Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07796
       116                                           Portis & Miles, P.C.
                  Smith, Sonja         Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07797
       117                                           Portis & Miles, P.C.
                 Stallings, Linda      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12376
       118                                           Portis & Miles, P.C.
              Stearns, Norma Jean      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07809
       119                                           Portis & Miles, P.C.
               Stevenson, Claudia      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07811
       120                                           Portis & Miles, P.C.
                Stokes, Sandra L       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07814
       121                                           Portis & Miles, P.C.
                  Thrash, Mary         Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12317
       122                                           Portis & Miles, P.C.
                  Wages, Mary          Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07822
       123                                           Portis & Miles, P.C.
             Waksmunski, Constance     Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07818
       124                                           Portis & Miles, P.C.
               Walker, Willie Mae      Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12340
       125                                           Portis & Miles, P.C.
                 Wallace, Margie       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-07781
       126                                           Portis & Miles, P.C.
                 Ward, Sherron         Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-21072
       127                                           Portis & Miles, P.C.
                 Wilson, Katrina       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-17902
       128                                           Portis & Miles, P.C.
                Wilson, Kimberly       Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12353
       129                                           Portis & Miles, P.C.
                  Wynn, Daisy          Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-12332
       130                                           Portis & Miles, P.C.
                 Young, Ruth G         Ashcraft & Gerel // Beasley, Allen, Crow, Methvin,    3:19-cv-16897
       131                                           Portis & Miles, P.C.
                  Reale, Bonnie        Ashcraft & Gerel // Eisenberg, Rothweiler, Winkler    3:19-cv-05867
       132                                         Eisenberg & Jeck, P.C.
       133       Bonner, Debbie                     Ashcraft & Gerel, LLP                    3:23-cv-15977

       134        Bailey, Diana                      Ashcraft & Gerel, LLP                   3:23-cv-15962

       135      Dewitte, Rebecca                     Ashcraft & Gerel, LLP                   3:23-cv-16137

       136      Glogowski, Karen                     Ashcraft & Gerel, LLP                   3:23-cv-15950

       137      Marshall, Tawana                     Ashcraft & Gerel, LLP                   3:23-cv-16018

       138     Rice, Crystal Shellie                 Ashcraft & Gerel, LLP                   3:23-cv-16094

       139      Shantina, Gentry                     Ashcraft & Gerel, LLP                   3:23-cv-16088

       140    Stephens, Rebecca A.                   Ashcraft & Gerel, LLP                   3:23-cv-16058

       141        Trost, Robyn                       Ashcraft & Gerel, LLP                   3:23-cv-15990

       142        Walker, Betty                      Ashcraft & Gerel, LLP                   3:23-cv-16184



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 10 of 90 PageID:
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    143        Ward, Sandy            Ashcraft & Gerel, LLP      3:23-cv-15822

    144    Bey, Ninotchka Lindsey     Ashcraft & Gerel, LLP      3:23-cv-16471

    145      Branch, Christina        Ashcraft & Gerel, LLP      3:23-cv-16790

    146      Davis-Mott, Anita        Ashcraft & Gerel, LLP      3:23-cv-16689

    147       Franklin, Renee         Ashcraft & Gerel, LLP      3:23-cv-16727

    148      Halloway, Marian         Ashcraft & Gerel, LLP      3:23-cv-16924

    149       Kennedy, Terry          Ashcraft & Gerel, LLP      3:23-cv-17122

    150       Moore, Yakema           Ashcraft & Gerel, LLP      3:23-cv-16465

    151       Morris, Yvonne          Ashcraft & Gerel, LLP      3:23-cv-16870

    152       Morrison, Telesa        Ashcraft & Gerel, LLP      3:23-cv-16493

    153      Murphy, Catherine        Ashcraft & Gerel, LLP      3:23-cv-17157

    154        Miller, Connie         Ashcraft & Gerel, LLP      3:23-cv-16971

    155        Wallin, Regina         Ashcraft & Gerel, LLP      3:23-cv-17186

    156         White, Zaire          Ashcraft & Gerel, LLP      3:23-cv-16717

    157      Williams, Tammy          Ashcraft & Gerel, LLP      3:23-cv-16646

    158        Baca, Thomas           Ashcraft & Gerel, LLP      3:23-cv-17529

    159       Banks, Dwayne           Ashcraft & Gerel, LLP      3:23-cv-18018

    160       Baxter, Kristian        Ashcraft & Gerel, LLP      3:23-cv-17478

    161     Bloodgood, Matthew        Ashcraft & Gerel, LLP      3:23-cv-18211

    162        Charles, Eleria        Ashcraft & Gerel, LLP      3:23-cv-17884

    163       Jones, Clarence         Ashcraft & Gerel, LLP      3:23-cv-17552

    164         Fultz, Grace          Ashcraft & Gerel, LLP      3:23-cv-17796

    165        Girgis, Marilyn        Ashcraft & Gerel, LLP      3:23-cv-17624

    166        Glover, Tracy          Ashcraft & Gerel, LLP      3:23-cv-17777

    167        Holt, Candace          Ashcraft & Gerel, LLP      3:23-cv-17483

    168        Lewis, Arizona         Ashcraft & Gerel, LLP      3:23-cv-18147

    169     Lincoln, Naomi Marie      Ashcraft & Gerel, LLP      3:23-cv-18428

    170         Nilles, Josie         Ashcraft & Gerel, LLP      3:23-cv-17510

    171        Bell, Ronique          Ashcraft & Gerel, LLP      3:23-cv-18187

    172        Shay, Samson           Ashcraft & Gerel, LLP      3:23-cv-18387

    173      Sprayberry, Stacey       Ashcraft & Gerel, LLP      3:23-cv-17664

    174        Stepp, Shenell         Ashcraft & Gerel, LLP      3:23-cv-18226

    175      Stubenhofer, Julie       Ashcraft & Gerel, LLP      3:23-cv-18285

    176      Thornton, Susanne        Ashcraft & Gerel, LLP      3:23-cv-18144

    177        Tyre, Kimberly         Ashcraft & Gerel, LLP      3:23-cv-17679

    178        Walker, Lester         Ashcraft & Gerel, LLP      3:23-cv-18419

    179       Walker, Maxine          Ashcraft & Gerel, LLP      3:23-cv-17693

    180       Williams, Dorine        Ashcraft & Gerel, LLP      3:23-cv-18222

    181       Bellaney, Earline       Ashcraft & Gerel, LLP      3:23-cv-18854

    182       Calhoun, Debra          Ashcraft & Gerel, LLP      3:23-cv-18566

    183       Cooper, Cynthia         Ashcraft & Gerel, LLP      3:23-cv-18495

    184      Ferguson, Janice         Ashcraft & Gerel, LLP      3:23-cv-18670

    185       Frederick, Harry        Ashcraft & Gerel, LLP      3:23-cv-18832

    186        Breech, Essie          Ashcraft & Gerel, LLP      3:23-cv-18654

    187       Seahorn, Amelia         Ashcraft & Gerel, LLP      3:23-cv-18699

    188      Johnston, Warren         Ashcraft & Gerel, LLP      3:23-cv-18820



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 11 of 90 PageID:
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    189         McGowan, Patricia          Ashcraft & Gerel, LLP    3:23-cv-18528

    190             Merry, Tina            Ashcraft & Gerel, LLP    3:23-cv-18529

    191         Nelson, Lakeshia           Ashcraft & Gerel, LLP    3:23-cv-18803

    192          Veleber, Dennie           Ashcraft & Gerel, LLP    3:23-cv-18640

    193           Robledo, Rosa            Ashcraft & Gerel, LLP    3:23-cv-18867

    194          Rule, Dominique           Ashcraft & Gerel, LLP    3:23-cv-18491

    195           Smith, Phyllis           Ashcraft & Gerel, LLP    3:23-cv-18547

    196          Stokes, Chimeko           Ashcraft & Gerel, LLP    3:23-cv-18730

    197            Glover, Doni            Ashcraft & Gerel, LLP    3:23-cv-18818

    198          Hartwell, Roger           Ashcraft & Gerel, LLP    3:23-cv-18869

    199          Williams, Lauren          Ashcraft & Gerel, LLP    3:23-cv-18512

    200          Wooten, Dorothy           Ashcraft & Gerel, LLP    3:23-cv-18762
          Aquavella, Heather and Charles   Ashcraft & Gerel, LLP    3:23-cv-20005
    201
    202           Baker, John D.           Ashcraft & Gerel, LLP    3:23-cv-20197

    203        Matlock, Samantha           Ashcraft & Gerel, LLP    3:23-cv-20160

    204           Mayon, Shelly            Ashcraft & Gerel, LLP    3:18-cv-10774

    205      Rogers, Madeline Angela       Ashcraft & Gerel, LLP    3:23-cv-20943

    206           Green, Dorothy           Ashcraft & Gerel, LLP    3:23-cv-21322

    207          Africano II, John         Ashcraft & Gerel, LLP    3:19-cv-14599

    208          Angus, Meagan             Ashcraft & Gerel, LLP    3:19-cv-06866

    209            Bass, Denise            Ashcraft & Gerel, LLP    3:19-cv-16038

    210             Bell, Nellie           Ashcraft & Gerel, LLP    3:19-cv-14186

    211           Bohacs, Nancy            Ashcraft & Gerel, LLP    3:19-cv-20720

    212         Bolden, Joseph W           Ashcraft & Gerel, LLP    3:19-cv-16265

    213         Jury, Angel Marie          Ashcraft & Gerel, LLP    3:19-cv-18149

    214          Campen, Karen             Ashcraft & Gerel, LLP    3:19-cv-13371

    215        Clifford, Emma Jean         Ashcraft & Gerel, LLP    3:19-cv-21873

    216         Colombo, Paulette          Ashcraft & Gerel, LLP    3:19-cv-18294

    217           Golson, Cindy            Ashcraft & Gerel, LLP    3:19-cv-19500

    218         Dale, Lana Yoder           Ashcraft & Gerel, LLP    3:19-cv-21699

    219             Day, Kevin             Ashcraft & Gerel, LLP    3:19-cv-15613

    220         Denyer, Christina          Ashcraft & Gerel, LLP    3:19-cv-12598

    221           Fansler, Linda           Ashcraft & Gerel, LLP    3:19-cv-22239

    222        Farris-Foster, Valerie      Ashcraft & Gerel, LLP    3:19-cv-17035

    223          Faulkner, Sherry          Ashcraft & Gerel, LLP    3:19-cv-15651

    224        Foncerrada, Gerardo         Ashcraft & Gerel, LLP    3:19-cv-13372

    225           Franklin, Ivan           Ashcraft & Gerel, LLP    3:19-cv-20956

    226          Gamache, Reid             Ashcraft & Gerel, LLP    3:19-cv-18961

    227           Gonzalez, Irma           Ashcraft & Gerel, LLP    3:19-cv-12889

    228            Bray, Nancy             Ashcraft & Gerel, LLP    3:19-cv-19505

    229           Hite, Kimberly           Ashcraft & Gerel, LLP    3:19-cv-17685

    230           Jadallah, Amal           Ashcraft & Gerel, LLP    3:19-cv-17547

    231        Cunningham, Karli D         Ashcraft & Gerel, LLP    3:19-cv-19441

    232           Kortyna, Kathy           Ashcraft & Gerel, LLP    3:19-cv-14187

    233         Kozecke, Lindsey           Ashcraft & Gerel, LLP    3:19-cv-15774




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 12 of 90 PageID:
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    234     Kreitzer, Sr., Donald     Ashcraft & Gerel, LLP      3:19-cv-19446

    235     Kuykendall, Joseph        Ashcraft & Gerel, LLP      3:19-cv-17450

    236    Lambert, Rita Frances      Ashcraft & Gerel, LLP      3:19-cv-20721

    237         Law, Nancy            Ashcraft & Gerel, LLP      3:19-cv-18669

    238      Manevich, Patricia       Ashcraft & Gerel, LLP      3:19-cv-19341

    239      Matthews Jr., Earl       Ashcraft & Gerel, LLP      3:19-cv-18671

    240      Mayette, Darryl K        Ashcraft & Gerel, LLP      3:19-cv-16504

    241      McCain, Stephen          Ashcraft & Gerel, LLP      3:19-cv-09150

    242       McCoy, SaTaria          Ashcraft & Gerel, LLP      3:19-cv-07776

    243    McCullough, Michael        Ashcraft & Gerel, LLP      3:19-cv-14185

    244      McDermott, Janet         Ashcraft & Gerel, LLP      3:19-cv-15652

    245        Merida, Karyn          Ashcraft & Gerel, LLP      3:19-cv-18670

    246       Miller, Sharron         Ashcraft & Gerel, LLP      3:19-cv-16292

    247      Moore, Mary Ann          Ashcraft & Gerel, LLP      3:19-cv-20816

    248       Myers, James E          Ashcraft & Gerel, LLP      3:19-cv-22082

    249     O'Connell, Kathleen       Ashcraft & Gerel, LLP      3:19-cv-12947

    250        Pepin, Roger           Ashcraft & Gerel, LLP      3:19-cv-16840

    251         Rice, Sean            Ashcraft & Gerel, LLP      3:19-cv-17543

    252        Rich, Lorraine         Ashcraft & Gerel, LLP      3:19-cv-09137

    253      Richardson, Ana          Ashcraft & Gerel, LLP      3:19-cv-21876

    254     Richardson, Retha         Ashcraft & Gerel, LLP      3:19-cv-18295

    255      Riggio, Salvatore        Ashcraft & Gerel, LLP      3:19-cv-16022

    256      Rodricks, Andrea         Ashcraft & Gerel, LLP      3:19-cv-18297

    257      Rouse, Stephanie         Ashcraft & Gerel, LLP      3:19-cv-08586

    258       Sabb, Tranace           Ashcraft & Gerel, LLP      3:19-cv-18963

    259       Schmitt, Sharon         Ashcraft & Gerel, LLP      3:19-cv-12887

    260        Schnur, Terry          Ashcraft & Gerel, LLP      3:19-cv-16718

    261   Setters, Charles Timothy    Ashcraft & Gerel, LLP      3:19-cv-20723

    262       Shelker, Nancy          Ashcraft & Gerel, LLP      3:19-cv-20705

    263     Stachelski, Kendell       Ashcraft & Gerel, LLP      3:19-cv-18672

    264    Southwick Jr., Richard     Ashcraft & Gerel, LLP      3:19-cv-11540

    265     Smith, Sydney Beth        Ashcraft & Gerel, LLP      3:19-cv-17789

    266      Speed, Kimberly          Ashcraft & Gerel, LLP      3:19-cv-09308

    267   Standefer, James Steve      Ashcraft & Gerel, LLP      3:19-cv-06867

    268      Swenson, Janice          Ashcraft & Gerel, LLP      3:19-cv-14188

    269   Tarango, Deanna Marie       Ashcraft & Gerel, LLP      3:19-cv-20817

    270      Rebstock, Leif G         Ashcraft & Gerel, LLP      3:19-cv-14438

    271       Toplenszki, Eva         Ashcraft & Gerel, LLP      3:19-cv-12948

    272     Vavrinec, Kimberly        Ashcraft & Gerel, LLP      3:19-cv-13574

    273       Ward, Rachelle          Ashcraft & Gerel, LLP      3:19-cv-17693

    274   Weber-Mullican, Karen L     Ashcraft & Gerel, LLP      3:19-cv-21882

    275        Welch, Karen           Ashcraft & Gerel, LLP      3:19-cv-17034

    276       White, Barbara          Ashcraft & Gerel, LLP      3:19-cv-13370

    277      Wilbur, Gretchen         Ashcraft & Gerel, LLP      3:19-cv-11995

    278       Willett, Therese        Ashcraft & Gerel, LLP      3:19-cv-14184




                                      7
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 13 of 90 PageID:
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                   Aery, Linda           Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17860
    279                                                    Portis & Miles, P.C.
                Aultman, Dorothy         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17901
    280                                                    Portis & Miles, P.C.
              Berens, Katie Joann        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17776
    281                                                    Portis & Miles, P.C.
               Caracciolo, Elsie A       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19487
    282                                                    Portis & Miles, P.C.
                   Chen, Alice           Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14243
    283                                                    Portis & Miles, P.C.
                Conway, Pauline          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19542
    284                                                    Portis & Miles, P.C.
                  Corbitt, Lula          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14179
    285                                                    Portis & Miles, P.C.
               Cox, Cynthia Mary         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-15919
    286                                                    Portis & Miles, P.C.
               Cucurella, Laura V        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17771
    287                                                    Portis & Miles, P.C.
                Greene, Cynthia          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14285
    288                                                    Portis & Miles, P.C.
               Deal, Kelly Michelle      Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16145
    289                                                    Portis & Miles, P.C.
                Demetro, Janice          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19536
    290                                                    Portis & Miles, P.C.
               Delvecchio, Diane         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17253
    291                                                    Portis & Miles, P.C.
                 Dukes, Mamie            Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17307
    292                                                    Portis & Miles, P.C.
               Easterling, Geneva        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19495
    293                                                    Portis & Miles, P.C.
                Elder, Rosemarie         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19486
    294                                                    Portis & Miles, P.C.
                Flowers, Shirley         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16141
    295                                                    Portis & Miles, P.C.
                  Frank, Mary            Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20476
    296                                                    Portis & Miles, P.C.
               Hemmig, Lori Ann          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19572
    297                                                    Portis & Miles, P.C.
                Hoage, Elizabeth         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17840
    298                                                    Portis & Miles, P.C.
              Hubbard, Lora Elaine       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16167
    299                                                    Portis & Miles, P.C.
                Hudson, Brenda           Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14293
    300                                                    Portis & Miles, P.C.
               Jeffery, Mary Ellen       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19739
    301                                                    Portis & Miles, P.C.
                 Jordan, Mildred         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17358
    302                                                    Portis & Miles, P.C.
          Kalmbach, Jonquelyne Fayette   Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19476
    303                                                    Portis & Miles, P.C.
                   Kress, Bobi           Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19873
    304                                                    Portis & Miles, P.C.
                 Lattery, Diane          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17325
    305                                                    Portis & Miles, P.C.
               Lowenberg, Susan          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19444
    306                                                    Portis & Miles, P.C.
              Marney, Vivian Marie       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17256
    307                                                    Portis & Miles, P.C.
              McCallum, Judith Ann       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16134
    308                                                    Portis & Miles, P.C.




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 14 of 90 PageID:
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           McLaughlin, Kimberly      Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17365
    309                                                Portis & Miles, P.C.
            McMichael, Loretta       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19475
    310                                                Portis & Miles, P.C.
                Miller, Julie        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17850
    311                                                Portis & Miles, P.C.
             Morgan, Barbara         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17854
    312                                                Portis & Miles, P.C.
             Mosqueda, Elida         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14249
    313                                                Portis & Miles, P.C.
              Myers, Patricia        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19472
    314                                                Portis & Miles, P.C.
             Nimitz, Peggy Joy       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17876
    315                                                Portis & Miles, P.C.
            Notermann, Carol M       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17883
    316                                                Portis & Miles, P.C.
             Osten, Carol Ann        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20443
    317                                                Portis & Miles, P.C.
               Pate, Christy         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17361
    318                                                Portis & Miles, P.C.
              Rewinski, Gilla        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16132
    319                                                Portis & Miles, P.C.
             Richardson, Linda       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17326
    320                                                Portis & Miles, P.C.
              Risberg, Nancy         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17363
    321                                                Portis & Miles, P.C.
               Ferranti, Rose        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14281
    322                                                Portis & Miles, P.C.
               Rose, Janice          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17347
    323                                                Portis & Miles, P.C.
               Rosen, Jillian        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-15914
    324                                                Portis & Miles, P.C.
           Schaeferle, Joyce Ann     Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19550
    325                                                Portis & Miles, P.C.
          Schenk, Lorraine Lyndall   Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17873
    326                                                Portis & Miles, P.C.
              Disher, Sidney         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17296
    327                                                Portis & Miles, P.C.
            Sims, Diane Denise       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17857
    328                                                Portis & Miles, P.C.
              Singh, Raj Kaur        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19470
    329                                                Portis & Miles, P.C.
             Smith, Earnestine       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19534
    330                                                Portis & Miles, P.C.
                Smith, Leila         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14252
    331                                                Portis & Miles, P.C.
               Smith, Robin          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20456
    332                                                Portis & Miles, P.C.
               Spry, Denise          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17298
    333                                                Portis & Miles, P.C.
             Stiggers, Dorothy       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17874
    334                                                Portis & Miles, P.C.
              Terhurne, Lois         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14266
    335                                                Portis & Miles, P.C.
           Thomas, Esther Marie      Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17875
    336                                                Portis & Miles, P.C.
            Thompson, Barbara        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-14248
    337                                                Portis & Miles, P.C.
             Trepanier, Heide        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20460
    338                                                Portis & Miles, P.C.




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 15 of 90 PageID:
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               Tucker, Barbara J        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16041
    339                                                   Portis & Miles, P.C.
              Uditsky, Daveeda R.       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-15927
    340                                                   Portis & Miles, P.C.
             Veasy-Hogg, Theresa        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19549
    341                                                   Portis & Miles, P.C.
               Verwey, Candice          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17303
    342                                                   Portis & Miles, P.C.
                Villanueva, Tina        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-15926
    343                                                   Portis & Miles, P.C.
               Vrenon, Deborah          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20439
    344                                                   Portis & Miles, P.C.
               Watchorn, Brenda         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20481
    345                                                   Portis & Miles, P.C.
                Wesaw, Beverly          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-16034
    346                                                   Portis & Miles, P.C.
               Whitaker, Wanda          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19558
    347                                                   Portis & Miles, P.C.
                White, Deborah          Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17335
    348                                                   Portis & Miles, P.C.
             Williamson, Rose Ann       Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-20465
    349                                                   Portis & Miles, P.C.
                Wolford, Inez M         Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-15916
    350                                                   Portis & Miles, P.C.
               Wright, Betty Sue        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-19535
    351                                                   Portis & Miles, P.C.
               Zantow, Barbara J        Ashcraft & Gerel, LLP // Beasley, Allen, Crow, Methvin,    3:19-cv-17878
    352                                                   Portis & Miles, P.C.
    353         Creech, Charles               Aylstock, Witkin, Kreis & Overholtz, PLLC            3:19-cv-00879

    354         Glasser, William              Aylstock, Witkin, Kreis & Overholtz, PLLC            3:19-cv-12094

    355         Anderson, Macy                         Bachus & Schanker LLC                       3:18-cv-14777

    356          Graham, Ada                           Bachus & Schanker LLC                       3:19-cv-00278

    357      Medina, Michelle Marie                    Bachus & Schanker LLC                       3:19-cv-00275

    358         Rodman, Teresa                         Bachus & Schanker LLC                       3:19-cv-00274

    359          Klitzke, Laura                          Baron & Budd, P.C.                        3:19-cv-13276

    360          Guy, Jonique                            Baron & Budd, P.C.                        3:19-cv-21500

    361          Moss, Barbara                           Baron & Budd, P.C.                        3:19-cv-12665

    362           Rossi, Lisa                            Baron & Budd, P.C.                        3:19-cv-13646

    363         Smart, Rebecca                           Baron & Budd, P.C.                        3:19-cv-21059

    364      Abercrombie, William              Baron & Budd, P.C. // Jenner Law, P.C.              3:19-cv-12977

    365    McNicholas, Siobhan Julia                   Barrett Law Group, P.A.                     3:18-cv-00033

    366       Murray Sr., Lavert A             Baum, Hedlund, Aristei & Goldman, P.C.              3:18-cv-13303

    367          Peters, Robin                 Baum, Hedlund, Aristei & Goldman, P.C.              3:18-cv-02804

    368         Bolton, Keith A                Baum, Hedlund, Aristei & Goldman, P.C.              3:18-cv-13354

    369   Alexander, Sherry Lashaunda          Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-00477

    370         Amaral, Maria I                Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-11363

    371       Applebee, Cheryl A               Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-14241

    372       Aycock, Dorothy D.               Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-11555

    373          Botts, Bruce D                Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-17267

    374      Bradley Jr., Joseph E             Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-21770

    375       Calhoun, Colby J. R.             Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-16280

    376        Carroll, Stacey N               Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-18193

    377     Pendleton, Lynn Caudle             Baum, Hedlund, Aristei & Goldman, P.C.              3:19-cv-10525



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 16 of 90 PageID:
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    378           Chesna, Yvonne L                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11436

    379          Christian, Gregory D                Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-19396

    380         Cormier, Wanda Nancy                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-13111

    381          Daughdrill, Cynthia D               Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-21224

    382           Ferreira, Ramona L                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-16073

    383             Sainer, Denise                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11385

    384            Fryer, Lonnie D                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-17732

    385             Gallo, Maria A                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-15929

    386            Gray, Marsha K                    Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-19608

    387              Griffin, Kelly                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11347

    388        Herrera-Chavez, Karen A               Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-18313

    389             Hill, Lanetta E                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-13139

    390            Holmes, Melinda                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-13134

    391         Horsley, Allison Leann               Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-12828

    392        Howard, Reginald James                Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-12769

    393           Briscoe, Jacquelyn                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-08841

    394          Kelly, Elizabeth Ann                Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-15973

    395              Khodos, Mira                    Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-00418

    396             Kocay, Michael                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-14226

    397             Lang, Kelly J.                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-02269

    398          Langer, Andrea Lee                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-13970

    399           Cintorino, Annette                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11388

    400            Mansfield, Mark                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11331

    401              Mills, Donald                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-16621

    402          Morgan, Lawrence W                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-20709

    403             Nasson, Mark                     Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-12766

    404            Norred, Sherri M                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-15928

    405            Price, Ginger F.                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-15981

    406             Stacy, Thora J                   Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-21527

    407           Stephens, Shirley                  Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-11377

    408           Vankirk, Kelly Joe                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-17197

    409      Walker, Steven Tyler Eugene             Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-20113

    410         Frank, Jennifer Louise               Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-12021

    411          Whittle, Youlanda C                 Baum, Hedlund, Aristei & Goldman, P.C.            3:19-cv-13142
                    Watts, Cynthia              Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-15745
    412
                Eginton, Kimberly Sue           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-17170
    413
                      Neff, John                Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-17035
    414
                     Orr, Valerie               Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-17245
    415
                  Bremer, E. Renee              Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-18023
    416
                  Ross, James Dean              Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-18426
    417
          Skidmore, Melvina (a/k/a Melvina D.   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-18433
    418               Thomas)
              Swicord, Bonnie Elizabeth         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-17813
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 17 of 90 PageID:
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              Thacker, Norman        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-18431
    420
               Bishop, Alisha        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20373
    421
               Crudup, Amie          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20406
    422
              Dickson, Barbara       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20412
    423
            Adams, Janis Louise      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-03941
    424
            Campbell, Pamela C       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-12031
    425
          Christopherson, Yvonne K   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-09368
    426
              Church, Dorothy        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08188
    427
                Clay, Debra          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-04780
    428
             Cook, Susan Leigh       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-10936
    429
              Douglass, Judy         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-03369
    430
               Evans, David          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08068
    431
               Ford, Deanna          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-02830
    432
              Frazier, Georgia       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08365
    433
               Garcia, Laurie        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-05905
    434
               Giuliano, Lydia       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-02063
    435
               Glover, Angela        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-04787
    436
             Robinson, Kenneth       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08074
    437
            Jenkins, Mary Helen      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-02861
    438
              Johnson, Beverly       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-13811
    439
            Johnson, Jacqueline      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08348
    440
               Kingery, Greg         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-10685
    441
              Klinger, Shawna        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08946
    442
               Leath, Delbert        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08071
    443
           Lewis, Barbara Daniels    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-13815
    444
              McGrath, Sheryl        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-16493
    445
              Mitchell, Cynthia      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-14106
    446
              Nichols, Bernice       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-05008
    447
              Pankow, Delia D        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-09774
    448
              Ramirez, Helen         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-15655
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 18 of 90 PageID:
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              Reynolds, Lynne        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-14479
    450
           Rodgers, Sandra Marie     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-10851
    451
              Rogers, Dorothy        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-14986
    452
                 Silva, Lari         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-02764
    453
              Smith, Sherry L        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-08584
    454
               Taylor, Aubrey        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-17008
    455
               Casey, Sandy          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-14791
    456
            Welch, Brenda Kay        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-09988
    457
              Williams, Marilyn      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:18-cv-11872
    458
           Mcbride-Tullis, Katrina   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20446
    459
              Shouk, Kimberly        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20465
    460
             Silverman, Samuel       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20466
    461
              Stutzman, Beth         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20469
    462
               Checkley, Lori        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20638
    463
               Comer, Nicole         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20643
    464
             Van Zandt, Wanda        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-20650
    465
           Peterson, Angela Marie    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21131
    466
              Rancatore, Doris       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21133
    467
              Thompson, Tara         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21136
    468
             Thomson, Virginia       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21141
    469
             Springer, Elizabeth     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21190
    470
          Vesely, Frances Carolyn    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-21556
    471
            Goodwin, Elizabeth       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-22164
    472
           Johnson, Flossie May      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-22205
    473
             Nickelson, Peggy        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-22190
    474
               Toolan, Gloria        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:23-cv-22217
    475
               Adams, Joan           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20063
    476
             Agress, Llewellyn       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08197
    477
             Attaway, Wilda A        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-16053
    478
               Barbosa, Tina         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-15820
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 19 of 90 PageID:
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                  Bell, Gail        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20269
    480
              Bentley, Carolyn      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20180
    481
             Bettencourt, Jackie    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14312
    482
               Bounds, Joan         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20185
    483
               Brazelle, Rilla      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08206
    484
            Broussard, Theresa      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20190
    485
               Burney, Kathy        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20193
    486
              Busby, Rebecca        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20286
    487
              Chason, Shelia        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-01371
    488
                Clark, Terica       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-16848
    489
             Clayton, Nancy C       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-01335
    490
               Connor, Carol        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-06125
    491
              Cranford, Evelyn      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-11979
    492
                Dalen, Joni         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17099
    493
               Douglas, Mary        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17508
    494
                Dugas, Carol        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08722
    495
              Duncan, Dianna        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20144
    496
                Eaton, Helen        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20146
    497
                Edgin, Diane        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08520
    498
               Ehrlich, Juliet      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20112
    499
                Elliott, Vicky      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20271
    500
               Enloe, Jane D        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17116
    501
             Everman, Tammy         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20276
    502
               Farria, Debbie       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20147
    503
             Fenley, Joan Ann       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14317
    504
             Ristesund, Gloria      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14195
    505
              Gleason, Brenda       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-12884
    506
                Goss, Susan         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-11238
    507
              Greenberg, Rita       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-09013
    508
           Greenland, Shelli Dawn   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08512
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 20 of 90 PageID:
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             Grunwell, Nancy     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14321
    510
             Hayden, Karen K     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20257
    511
            Alphonso, Victoria   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-05917
    512
            Henriksen, Kathy     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14325
    513
             Henry, James L      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-13034
    514
           Holliday, Emma Jean   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-11246
    515
              Hughes, Gail       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-11251
    516
             Hunter, Debbie      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-16068
    517
                Istre, Brett     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20206
    518
           Johnson, Vickie Lee   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17312
    519
              Jones, Belinda     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20298
    520
            Kamsch, Claudette    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08595
    521
             King, Patricia L    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17414
    522
              King, Sheryl D     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17418
    523
               Klein, Kelly      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-10037
    524
            Knissel, Christina   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20243
    525
              Knotek, Janet      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21019
    526
             Konopa, Ponpet      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21506
    527
              Kroko, Sarah       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17424
    528
             Krueger, Tiffany    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08527
    529
               Kuhn, Gerri       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-19105
    530
             Kwiatt, Candise     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-05882
    531
             Larkin, Michelle    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-09431
    532
            LeJeune, LaNora      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20321
    533
            Lewis, Mary Alice    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20326
    534
            Livingston, Arcola   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20156
    535
             Long, Rebecca J     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20341
    536
             Lopez, Christine    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-15795
    537
              Lucas, Lucile      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18392
    538
           Luckner-Babash, Ann   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08524
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 21 of 90 PageID:
                                 177310

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               Lynch, Judith        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-19350
    540
               Stith, Matthew       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17825
    541
               Madison, Ann         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-09042
    542
            Maloney, Silvana F      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-13383
    543
             McCauley, Peggy        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20303
    544
              Means, Barbara        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-00955
    545
             Messer, Deborah        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-11691
    546
               Miller, Wanda        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20267
    547
             Molinar, Stephany      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21551
    548
             Moore, Brenda J        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20283
    549
               Morgan, John         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-13052
    550
            Munsterman, Denise      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21021
    551
               Myers, Reva          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-19447
    552
              Naquin, Sherry        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20319
    553
              Newbern, Mae          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20338
    554
                Niznik, Lilya       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21639
    555
               Norton, Mollie       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20345
    556
           O'Brien, Nicole Denise   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08724
    557
              O'Hara, Doreen        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17273
    558
              Oliver, Pamela        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20304
    559
             Owens, Marjorie S      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-15836
    560
           Parker, Tammy Elaine     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20351
    561
             Perloff, Linda Jett    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-17466
    562
             Peterson, Marjorie     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21523
    563
              Phillips, Peggy       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20297
    564
               Powers, Jolita       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20311
    565
           Predium-Morris, Velma    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20350
    566
           Quibodeaux, Charlotte    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21780
    567
              Rainville, Karen      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-08944
    568
            Raulerson, Kathleen     Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21784
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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 22 of 90 PageID:
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             Rehfeldt, RuthAnne        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18445
    570
              Reynolds, Sharon         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20266
    571
                Rich, Janetta          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20261
    572
              Richardson, Alice        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21781
    573
            Robertson, Georgette       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-07237
    574
               Roller, Veronica        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-15501
    575
                Rolling, Laurell       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-13658
    576
              Romano, Elizabeth        Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-12570
    577
                Roush, Maxine          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18908
    578
              Russell-Moss, Nina       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-01341
    579
               Salyers, Brenda         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20158
    580
               Sanders, Janet          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20564
    581
                 Seal, Janice          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18716
    582
                Shaw, Rosa E           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20182
    583
                 Shea, Gwen            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18692
    584
              Shelburne, Diana L       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20317
    585
                 Sherfey, Gail         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20349
    586
               Sherwood, Jean          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21806
    587
                  Shull, Lee           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-16867
    588
                Siler, Pauline         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21831
    589
              Silverthorn, Marya       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-14224
    590
          Simpson-Mullings, Margaret   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-19109
    591
                Slade, Cynthia         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-18721
    592
                 Slemp, Lois           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20493
    593
               Patton, Barbara         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-21818
    594
               Smith, Lawanna          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20179
    595
                Smith, Yvette          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20211
    596
             Tatum, Angela Starr       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-20318
    597
             Stalnaker, Bonnie L.      Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-05753
    598
              Starosky, Michelle       Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.    3:19-cv-19401
    599



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 23 of 90 PageID:
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               Steiner, Mary Jane         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-12911
    600
              Stoddard, Rebecca           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-05730
    601
                  Stout, Sherri           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20328
    602
                Strawther, Mary           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-14327
    603
                 Moore, Angela            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20612
    604
                  Terry, Robin            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-05490
    605
               Thomas, Bonita C.          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-12912
    606
                Thomas, Shirley           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-19355
    607
                 Tittle, Tommie           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20242
    608
                 Toler, Marline           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20238
    609
                 Trahan, Katina           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20228
    610
                Tucker, Latasha           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-17517
    611
                  Turner, Ora             Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-10021
    612
                Walker, Patricia          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-14305
    613
                 Ward, Frankye            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20209
    614
              Washington, Martha          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20342
    615
               Watkins, Pamela            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-18875
    616
               Cenance, Montina           Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-14207
    617
                  West, Carol             Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-21877
    618
                  West, Tresa             Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-09018
    619
                 White, Kerri V.          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-05723
    620
               Whitmore, Charlie          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-12967
    621
                Willett, Margaret         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-00730
    622
                Williams, Nicole          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20059
    623
                Wilson, Tracey            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-06949
    624
             Worthington, Deborah         Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-20275
    625
          Wright-Polzin, Pauline Gloria   Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-14225
    626
                 Wyatt, Nancy             Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:19-cv-18374
    627
                  Shoop, Betty            Beasley, Allen, Crow, Methvin, Portis & Miles, P.C. //    3:19-cv-17821
    628                                                   Fletcher V. Trammell
    629        Swerdloff, Lancia                    Bekman, Marder, & Adkins, LLC                   3:19-cv-18470

    630          Mcintire, Dona                      Ben Martin Law Group, PLLC                     3:23-cv-19706




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 24 of 90 PageID:
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    631        Ali, Shumaila        Ben Martin Law Group, PLLC    3:23-cv-19691

    632      Behrens, Joseph        Ben Martin Law Group, PLLC    3:23-cv-19785

    633        Boober, Tina         Ben Martin Law Group, PLLC    3:23-cv-19740

    634      Buckner, Sharon        Ben Martin Law Group, PLLC    3:23-cv-19762

    635      Caldwell, Letoria      Ben Martin Law Group, PLLC    3:23-cv-19746

    636       Clarke, Pamela        Ben Martin Law Group, PLLC    3:23-cv-19794

    637         Ewry, Arika         Ben Martin Law Group, PLLC    3:23-cv-19755

    638        Garza, Erika         Ben Martin Law Group, PLLC    3:23-cv-19812

    639       Gonzalez, Linda       Ben Martin Law Group, PLLC    3:23-cv-19731

    640      McCann, Kaylee         Ben Martin Law Group, PLLC    3:23-cv-19795

    641        Ohrt, Sheryl         Ben Martin Law Group, PLLC    3:23-cv-19682

    642       Smith, Andrea         Ben Martin Law Group, PLLC    3:23-cv-19790

    643     Thompson, Lajuan        Ben Martin Law Group, PLLC    3:23-cv-19778

    644        Ulloa, Daisy         Ben Martin Law Group, PLLC    3:23-cv-19737

    645        Boulier, Mark         Berman & Simmons, P. A.      3:18-cv-05009

    646       Anforth, Donna        BERNSTEIN & STERN, LLC        3:18-cv-16086

    647      Morales, Lydia E       BERNSTEIN & STERN, LLC        3:19-cv-19064

    648      Hambrick, Vickie         Bernstein Liebhard LLP      3:19-cv-21846

    649       Oliver, Juanita         Blizzard & Nabers, LLP      3:23-cv-18587

    650      McClure, Linda C.        Blizzard & Nabers, LLP      3:18-cv-03713

    651    Frost, Wesley James           Brown Chiari LLP         3:23-cv-19980

    652      Chiari, Donald R            Brown Chiari LLP         3:18-cv-01841

    653       Cicero, Cheryl             Brown Chiari LLP         3:18-cv-00852

    654        Frost, Linda              Brown Chiari LLP         3:18-cv-00853

    655     Woelfel, Rosemarie           Brown Chiari LLP         3:18-cv-00854

    656       Crocoll, Tracey         Bruera Law Firm PLLC        3:18-cv-11624

    657   Morgan-Simpson, Dianne           Burnett Law Firm       3:18-cv-17800

    658      Wahomes, Esther            Burns Charest LLP         3:23-cv-17920

    659         Alanis, Joel            Burns Charest LLP         3:23-cv-18596

    660        Boyl, Tasha              Burns Charest LLP         3:23-cv-18646

    661     Lawandales, Jason           Burns Charest LLP         3:23-cv-18555

    662      Broeckwr, Susan            Burns Charest LLP         3:23-cv-18796

    663       Brooks, Patricia          Burns Charest LLP         3:23-cv-18718

    664      Coffee, Kenneth            Burns Charest LLP         3:23-cv-18627

    665     Decoursey, Garnet           Burns Charest LLP         3:23-cv-18660

    666     Edmonds, Heather            Burns Charest LLP         3:23-cv-18669

    667     Fernandez, Pauline          Burns Charest LLP         3:23-cv-18741

    668       Garza, Veronica           Burns Charest LLP         3:23-cv-18605

    669      Jackson, Pamela            Burns Charest LLP         3:23-cv-18568

    670      Jakobson, Jerome           Burns Charest LLP         3:23-cv-18694

    671      James, Barbarra            Burns Charest LLP         3:23-cv-18612

    672     Pensinger, Myranda          Burns Charest LLP         3:23-cv-18768

    673      Mondello, Santina          Burns Charest LLP         3:23-cv-18782

    674       Morris, Javona            Burns Charest LLP         3:23-cv-18678

    675        Ollis, Connie            Burns Charest LLP         3:23-cv-18652

    676      Walker, Christina          Burns Charest LLP         3:23-cv-18705



                                      19
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 25 of 90 PageID:
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    677        Owens, Paula                     Burns Charest LLP               3:23-cv-18725

    678        Shipley, Leah                    Burns Charest LLP               3:23-cv-18690

    679        Toro, Maria Del                  Burns Charest LLP               3:23-cv-18755

    680      Harrelson, Debbie                  Burns Charest LLP               3:23-cv-18586

    681        Zapata, Jamie                    Burns Charest LLP               3:23-cv-18687

    682      Bohannon, Yvonne                   Burns Charest LLP               3:23-cv-19376

    683       Foster, Jennifer                  Burns Charest LLP               3:23-cv-19399

    684       Herrera, Wendy                    Burns Charest LLP               3:23-cv-19356

    685      Mcdonald, Deborah                  Burns Charest LLP               3:23-cv-19383

    686       Stith, Stephanie                  Burns Charest LLP               3:23-cv-19391

    687       Curtis, Ramona                    Burns Charest LLP               3:18-cv-16338

    688         Dinkel, Julie                   Burns Charest LLP               3:18-cv-00276

    689          Elias, Julie                   Burns Charest LLP               3:18-cv-10680

    690         Foots, Sonja                    Burns Charest LLP               3:18-cv-15295

    691       Goodwin, Patricia                 Burns Charest LLP               3:18-cv-15342

    692       Harper, Richard                   Burns Charest LLP               3:18-cv-03789

    693       Lopez, Milagros                   Burns Charest LLP               3:18-cv-13345

    694       Maxwell, Barbara                  Burns Charest LLP               3:18-cv-05236

    695        Nielsen, Phyllis                 Burns Charest LLP               3:18-cv-09433

    696         Pruitt, Donna                   Burns Charest LLP               3:18-cv-05644

    697        Ratliff, Marilyn                 Burns Charest LLP               3:18-cv-12078

    698       Rossey, Maryann                   Burns Charest LLP               3:18-cv-00243

    699       Taylor, Yolanda                   Burns Charest LLP               3:18-cv-16801

    700        Sanders, Anita                   Burns Charest LLP               3:18-cv-11123

    701        Stowell, Nancy                   Burns Charest LLP               3:18-cv-16085

    702       Thomas, Kathryn                   Burns Charest LLP               3:18-cv-00237

    703        Watson, Esther                   Burns Charest LLP               3:18-cv-05827

    704        Beaver, Jeffrey                  Burns Charest LLP               3:19-cv-06068

    705        Cannon, Linda                    Burns Charest LLP               3:19-cv-01016

    706        Dean, Beverly                    Burns Charest LLP               3:19-cv-00998

    707   Hairston, Thomas Collinte             Burns Charest LLP               3:19-cv-00098

    708        Henry, Patrice                   Burns Charest LLP               3:19-cv-01018

    709   Hickman-Caldwell, Judy                Burns Charest LLP               3:19-cv-06546

    710     Matsumoto, Michael                  Burns Charest LLP               3:19-cv-06315

    711       Sanchez, Frank                    Burns Charest LLP               3:19-cv-08277

    712      Thomas, Mary Ann                   Burns Charest LLP               3:19-cv-00280

    713      Weatherford, Iotra                 Burns Charest LLP               3:19-cv-01011

    714         Andert, Luz           Burns Charest LLP // Burns Charest LLP    3:18-cv-00724

    715        Beach, Sandra          Burns Charest LLP // Burns Charest LLP    3:18-cv-00670

    716        Carter, Brenda         Burns Charest LLP // Burns Charest LLP    3:18-cv-02360

    717          Fox, Sarah           Burns Charest LLP // Burns Charest LLP    3:18-cv-02134

    718        Grays, Norma           Burns Charest LLP // Burns Charest LLP    3:18-cv-02509

    719      Hammond, Abigail         Burns Charest LLP // Burns Charest LLP    3:18-cv-00639

    720      Kennedy, Bethany         Burns Charest LLP // Burns Charest LLP    3:18-cv-02480

    721         Ortega, Carol         Burns Charest LLP // Burns Charest LLP    3:18-cv-02485

    722     Perez-Matos, Cecilia      Burns Charest LLP // Burns Charest LLP    3:18-cv-02536



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 26 of 90 PageID:
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    723         Ross, Lynn           Burns Charest LLP // Burns Charest LLP     3:18-cv-01803

    724       Sanchez, Adelita       Burns Charest LLP // Burns Charest LLP     3:18-cv-00265

    725       Sanders, Paula         Burns Charest LLP // Burns Charest LLP     3:18-cv-01497

    726      Simmons, Brenda         Burns Charest LLP // Burns Charest LLP     3:18-cv-00684

    727         Smith, Irma          Burns Charest LLP // Burns Charest LLP     3:18-cv-00250

    728       Wicks, Antrena         Burns Charest LLP // Burns Charest LLP     3:18-cv-00648

    729    Wimberly, Ambrosina       Burns Charest LLP // Burns Charest LLP     3:18-cv-00643

    730      Winters, Catherine      Burns Charest LLP // Burns Charest LLP     3:18-cv-00693

    731      Worseck, Amy Jo         Burns Charest LLP // Burns Charest LLP     3:18-cv-01448

    732       Yglesia, Patricia      Burns Charest LLP // Burns Charest LLP     3:18-cv-03206

    733       Williford, Wayne       Burns Charest LLP // Burns Charest LLP     3:19-cv-17212

    734       Jackson, Byron         Burns Charest LLP // Burns Charest LLP     3:19-cv-09384

    735        Jones, Patricia       Burns Charest LLP // Burns Charest LLP     3:19-cv-05808

    736        Knott, Dennis         Burns Charest LLP // Burns Charest LLP     3:19-cv-07453

    737        Lewis, Robert         Burns Charest LLP // Burns Charest LLP     3:19-cv-09270

    738    Matteson, Vicky Lynn      Burns Charest LLP // Burns Charest LLP     3:19-cv-05809

    739        Nordlund, Paul        Burns Charest LLP // Burns Charest LLP     3:19-cv-04754

    740       Spetrini, Patricia     Burns Charest LLP // Burns Charest LLP     3:19-cv-16997

    741   Estate of Lisa A. Cheese         Calcagno & Associates, LLP           3:18-cv-01125

    742       Sinclair, Deloise      Campbell & Associates // Frazer Law LLC    3:18-cv-08157

    743      Lefosse, Francine                Cates Mahoney, LLC                3:23-cv-18775

    744        Dixon, Brenda                  Cates Mahoney, LLC                3:18-cv-02373

    745        Holmes, Elijah                 Cates Mahoney, LLC                3:18-cv-02426

    746         Gill, Joseph                  Cates Mahoney, LLC                3:18-cv-02428

    747   Goldschmidt, Cassandra              Cates Mahoney, LLC                3:18-cv-02383

    748     Lean, Lindsey Blake               Cates Mahoney, LLC                3:18-cv-02431

    749        Miller, Teressa                Cates Mahoney, LLC                3:18-cv-02384

    750       Prokop, Cynthia                 Cates Mahoney, LLC                3:18-cv-02385

    751       Robbins, Cindy                  Cates Mahoney, LLC                3:18-cv-02386

    752     Stewart, Jackie Lee               Cates Mahoney, LLC                3:18-cv-02433

    753     Szafranski, Annette               Cates Mahoney, LLC                3:18-cv-02387

    754        Bair, Clinton T                    Cellino Law LLP               3:18-cv-14980

    755       Bennett, Regina                     Cellino Law LLP               3:18-cv-14581

    756     Bergheger, Roger L.                   Cellino Law LLP               3:18-cv-12682

    757       Burley, Barbara                     Cellino Law LLP               3:18-cv-13952

    758    Cividanes, Francisco M                 Cellino Law LLP               3:18-cv-12943

    759      Depace, Frances                      Cellino Law LLP               3:18-cv-16167

    760       Doyle, Karen B                      Cellino Law LLP               3:18-cv-15272

    761    Du Purton, Panagiota                   Cellino Law LLP               3:18-cv-12942

    762       Flores, Carmen                      Cellino Law LLP               3:18-cv-15288

    763        Zigman, Robin                      Cellino Law LLP               3:18-cv-03780

    764      Freeburg, Jennifer                   Cellino Law LLP               3:18-cv-15299

    765       Gadsden, Minnie                     Cellino Law LLP               3:18-cv-11239

    766      Garozzo, Nancy A                     Cellino Law LLP               3:18-cv-14158

    767       Giorlando, Maria                    Cellino Law LLP               3:18-cv-16189

    768       Groth, Richard C                    Cellino Law LLP               3:18-cv-10949



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 27 of 90 PageID:
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 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
    769      Hawes, Lawrence               Cellino Law LLP       3:18-cv-14662

    770      Hayes, Robert J               Cellino Law LLP       3:18-cv-14865

    771      Homire, Darlene               Cellino Law LLP       3:18-cv-14348

    772      Colantino, Robert             Cellino Law LLP       3:18-cv-05397

    773      Kamens, Patricia              Cellino Law LLP       3:18-cv-13331

    774      Magera, Michael               Cellino Law LLP       3:18-cv-14663

    775        Korop, Randy                Cellino Law LLP       3:18-cv-12290

    776    Matteson, Kathleen J            Cellino Law LLP       3:18-cv-17664

    777        Meyer, Alison               Cellino Law LLP       3:18-cv-12945

    778      Munoz, Sharon K               Cellino Law LLP       3:18-cv-08263

    779      Nowicki, David E              Cellino Law LLP       3:18-cv-17162

    780        Olix, Lacie E.              Cellino Law LLP       3:18-cv-12666

    781       Pilcher, Brenda              Cellino Law LLP       3:18-cv-12255

    782        Rice, Mary E                Cellino Law LLP       3:18-cv-13656

    783       Riopedre, Rosa               Cellino Law LLP       3:18-cv-13683

    784    Robinson-Horton, Gail           Cellino Law LLP       3:18-cv-14346

    785       Horne, Destinie              Cellino Law LLP       3:18-cv-13249

    786      Sharifirad, Afshan            Cellino Law LLP       3:18-cv-15136

    787        Sattan, Bibi F              Cellino Law LLP       3:23-cv-21183

    788     Acton, Elizabeth A             Cellino Law LLP       3:19-cv-19188

    789     Adorno, Carmen A.              Cellino Law LLP       3:19-cv-18220

    790      Adragna, Doreen               Cellino Law LLP       3:19-cv-15082

    791    Anderson, Brenda M.             Cellino Law LLP       3:19-cv-18224

    792      Andreotti, William            Cellino Law LLP       3:19-cv-19912

    793      Araujo, Gloria M.             Cellino Law LLP       3:19-cv-18796

    794      Arroyo, Merida M              Cellino Law LLP       3:19-cv-09244

    795      Colon, Donna M.               Cellino Law LLP       3:19-cv-15081

    796      Bartus, Barbara A             Cellino Law LLP       3:19-cv-20873

    797     Beach, Theresa M               Cellino Law LLP       3:19-cv-20574

    798     Beasley, Donna M               Cellino Law LLP       3:19-cv-16672

    799     Beehler, Bonnie A.             Cellino Law LLP       3:19-cv-18209

    800      Berdzik, Gregory              Cellino Law LLP       3:19-cv-15699

    801       Berlowitz, Myra              Cellino Law LLP       3:19-cv-18076

    802       Bristow, Felecia             Cellino Law LLP       3:19-cv-19079

    803        Sommer, Sari                Cellino Law LLP       3:19-cv-20999

    804      Brown, Arlene T               Cellino Law LLP       3:19-cv-16645

    805       Brown, Joan M                Cellino Law LLP       3:19-cv-18077

    806     Bukaty, Julianne M             Cellino Law LLP       3:19-cv-17745

    807      Burgio, Sharon A              Cellino Law LLP       3:19-cv-15044

    808     Buzzelli, Ann Marie            Cellino Law LLP       3:19-cv-18777

    809        Caba, Juana                 Cellino Law LLP       3:19-cv-20730

    810    Calviello, Geraldine S          Cellino Law LLP       3:19-cv-21044

    811     Coleman, Christine             Cellino Law LLP       3:19-cv-01983

    812    Carpen, Nandikumarie            Cellino Law LLP       3:19-cv-12976

    813      Cassella, Silveria            Cellino Law LLP       3:19-cv-21064

    814     Chudyk, Kristine M             Cellino Law LLP       3:19-cv-20771



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 28 of 90 PageID:
                                 177317

 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
    815     Cimino, Joseph C.              Cellino Law LLP       3:19-cv-21191

    816      Cimino, Laura M               Cellino Law LLP       3:19-cv-05592

    817     Condello, Donna A              Cellino Law LLP       3:19-cv-19988

    818    Conolly, Lucie-Pearl            Cellino Law LLP       3:19-cv-19829

    819       Corsetti, Salma              Cellino Law LLP       3:19-cv-20947

    820      Croal, Collette N             Cellino Law LLP       3:19-cv-16463

    821     DeClerck, Diane M              Cellino Law LLP       3:19-cv-20946

    822    Delpriore, Mary Anne            Cellino Law LLP       3:19-cv-17045

    823         Kimbiz, Gail               Cellino Law LLP       3:19-cv-19710

    824     Detonno, Theresa               Cellino Law LLP       3:19-cv-18797

    825       Devita, Gerard               Cellino Law LLP       3:19-cv-20994

    826      Dewall, Connie L              Cellino Law LLP       3:19-cv-08557

    827       Eishen, Diane                Cellino Law LLP       3:19-cv-19196

    828      Elliott, Marshiyyat           Cellino Law LLP       3:19-cv-18298

    829     Eskandani, Kathy J             Cellino Law LLP       3:19-cv-18918

    830      Fahrer, Martha J.             Cellino Law LLP       3:19-cv-18681

    831       Falbo, Carol A               Cellino Law LLP       3:19-cv-20874

    832      Fanelli, Patricia A           Cellino Law LLP       3:19-cv-17131

    833       Farkas, Melvyn               Cellino Law LLP       3:19-cv-20990

    834       Fisher, Theresa              Cellino Law LLP       3:19-cv-20602

    835      Flunder, Joanne               Cellino Law LLP       3:19-cv-18226

    836         Fox, Elda M                Cellino Law LLP       3:19-cv-19402

    837     Freier, Catherine M            Cellino Law LLP       3:19-cv-20287

    838      Fusaro, Carmela               Cellino Law LLP       3:19-cv-19318

    839       Gervais, Sally J             Cellino Law LLP       3:19-cv-20222

    840       Ohar, Pamela J               Cellino Law LLP       3:19-cv-21968

    841     Gorkin, Marjorie B             Cellino Law LLP       3:19-cv-18210

    842        Grace, Kay F                Cellino Law LLP       3:19-cv-18078

    843      Graham, Marie A.              Cellino Law LLP       3:19-cv-18782

    844      Grame, Michelina              Cellino Law LLP       3:19-cv-12975

    845      Gravelle, Lori A.             Cellino Law LLP       3:19-cv-18228

    846       Gravely, Donna               Cellino Law LLP       3:19-cv-17433

    847      Griffin, Sharon J             Cellino Law LLP       3:19-cv-19708

    848        Guisti, Rose                Cellino Law LLP       3:19-cv-15743

    849    Hansen-Baws, Carole             Cellino Law LLP       3:19-cv-20703

    850      Hayes, Paula M                Cellino Law LLP       3:19-cv-21098

    851     Stasio, Thomas C               Cellino Law LLP       3:19-cv-20405

    852     Henneberger, David             Cellino Law LLP       3:19-cv-19961

    853       Hicks, Lynn M.               Cellino Law LLP       3:19-cv-18522

    854      Levesque, Elaine              Cellino Law LLP       3:19-cv-19313

    855     Hollander, Joan S              Cellino Law LLP       3:19-cv-20728

    856        Howell, Kelly               Cellino Law LLP       3:19-cv-18934

    857        Janiga, Linda               Cellino Law LLP       3:19-cv-21477

    858     Jankowiak, Erin R.             Cellino Law LLP       3:19-cv-18801

    859       Jarvis, Rose M               Cellino Law LLP       3:19-cv-16646

    860      Johann, Sylvia L              Cellino Law LLP       3:19-cv-14686



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 29 of 90 PageID:
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 5RZ           &DVH1DPH                  3ODLQWLII)LUP V    &XUUHQW&DXVH
    861        Jones, Tonish E              Cellino Law LLP      3:19-cv-19583

    862        Jones, Merle E               Cellino Law LLP      3:19-cv-21065

    863    Kaczmarek, Edmund D              Cellino Law LLP      3:19-cv-20995

    864      Kader, Edward J III            Cellino Law LLP      3:19-cv-21278

    865     Kahraman, Kathleen A            Cellino Law LLP      3:19-cv-21275

    866        Katz, Carolyn A              Cellino Law LLP      3:19-cv-20435

    867        Katz, Roberta L              Cellino Law LLP      3:19-cv-11418

    868         Kay, Steven M               Cellino Law LLP      3:19-cv-18221

    869          Kelly, Elissa              Cellino Law LLP      3:19-cv-18788

    870          Kent, Lori A               Cellino Law LLP      3:19-cv-20727

    871         Khan, Shaira                Cellino Law LLP      3:19-cv-21048

    872       King Jr., Levester            Cellino Law LLP      3:19-cv-19909

    873        Layman, Allan L.             Cellino Law LLP      3:19-cv-21094

    874         LePore, Gale                Cellino Law LLP      3:19-cv-20575

    875       Listengart, Janie B           Cellino Law LLP      3:19-cv-20729

    876    Lubas-Sirianni, Elizabeth        Cellino Law LLP      3:19-cv-18225

    877       Lutringer, Bruce C            Cellino Law LLP      3:19-cv-21978

    878        Maass, Kathleen              Cellino Law LLP      3:19-cv-20219

    879          Madho, Rita                Cellino Law LLP      3:19-cv-21062

    880     Maniscalco, Christine           Cellino Law LLP      3:19-cv-18223

    881      Marinaro, Debbie A             Cellino Law LLP      3:19-cv-19080

    882       McCarty, Robin D.             Cellino Law LLP      3:19-cv-18931

    883      McCray, Odessa W               Cellino Law LLP      3:19-cv-13115

    884   McDonald-Addison, Teresa          Cellino Law LLP      3:19-cv-20285

    885       McShea, Elizabeth             Cellino Law LLP      3:19-cv-19319

    886      Melville, Joanne M.            Cellino Law LLP      3:19-cv-20971

    887         Mikulka, Lois J             Cellino Law LLP      3:19-cv-20224

    888         Miller, Doris M             Cellino Law LLP      3:19-cv-08479

    889       Minielly, Kimberly            Cellino Law LLP      3:19-cv-18938

    890      Athanasio, Barbara             Cellino Law LLP      3:19-cv-15083

    891        Moore, Judith A              Cellino Law LLP      3:19-cv-17743

    892        Moreno, Vincent              Cellino Law LLP      3:19-cv-17149

    893         Moro, Sherry L              Cellino Law LLP      3:19-cv-19893

    894         Morra, Denise               Cellino Law LLP      3:19-cv-20997

    895         Mureux, Mary                Cellino Law LLP      3:19-cv-20626

    896       Cleary, Sylvester             Cellino Law LLP      3:19-cv-18804

    897      Neumann, Sandra L              Cellino Law LLP      3:19-cv-18075

    898        Nevins, Mary E               Cellino Law LLP      3:19-cv-16643

    899         Nole, Judy W                Cellino Law LLP      3:19-cv-05851

    900        Nugent, Yong S               Cellino Law LLP      3:19-cv-09128

    901       Detwiler, Margaret            Cellino Law LLP      3:19-cv-18936

    902       O'Connor, Linda E             Cellino Law LLP      3:19-cv-20871

    903        Orlando, Kristina            Cellino Law LLP      3:19-cv-18793

    904           Olin, Linda               Cellino Law LLP      3:19-cv-19898

    905         Ossen, Arnold               Cellino Law LLP      3:19-cv-19440

    906        Ostrovskis Lilija            Cellino Law LLP      3:19-cv-20604



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 30 of 90 PageID:
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    907      Parmar, Kokila H                     Cellino Law LLP                  3:19-cv-19963

    908       Pasos, Frank R                      Cellino Law LLP                  3:19-cv-19894

    909       Signorelli, Mary                    Cellino Law LLP                  3:19-cv-18980

    910     Patterson, Cynthia                    Cellino Law LLP                  3:19-cv-18218

    911       Paul, Evelyn E                      Cellino Law LLP                  3:19-cv-16642

    912     Podmore, Margaret                     Cellino Law LLP                  3:19-cv-20991

    913    Polite, Cassandra A.                   Cellino Law LLP                  3:19-cv-18835

    914      Porcher, Claudia                     Cellino Law LLP                  3:19-cv-19882

    915      Rambo, Carmel A                      Cellino Law LLP                  3:19-cv-19901

    916       Rice, Dolores D                     Cellino Law LLP                  3:19-cv-19832

    917    Tamburello, Joanne B.                  Cellino Law LLP                  3:20-cv-00023

    918        Rogers, Amy                        Cellino Law LLP                  3:19-cv-18828

    919      Ross, Stanton W                      Cellino Law LLP                  3:19-cv-21014

    920      Russo, Michael J                     Cellino Law LLP                  3:19-cv-01000

    921     Senger, Theresa M                     Cellino Law LLP                  3:19-cv-17042

    922        Sihota, Jasjit                     Cellino Law LLP                  3:19-cv-19192

    923      Takushi, Seishin                     Cellino Law LLP                  3:19-cv-19194

    924      Vega, Darlene M.                     Cellino Law LLP                  3:19-cv-20733

    925     Vezinaw, Genida R                     Cellino Law LLP                  3:19-cv-19889

    926   Viele-Russo, Vanessa M                  Cellino Law LLP                  3:19-cv-20576

    927      Waldron, Karen L                     Cellino Law LLP                  3:19-cv-20434

    928    Washington, Salome                     Cellino Law LLP                  3:19-cv-18935

    929     Woodyard, James A                     Cellino Law LLP                  3:19-cv-20739

    930      Barrineau, Laura             Chappell, Smith & Arden, P.A.            3:19-cv-20425

    931       Coolidge, Jane              Chappell, Smith & Arden, P.A.            3:19-cv-20412

    932       Purdue, Carol D             Chappell, Smith & Arden, P.A.            3:19-cv-20416

    933       Wiles, Kathryn       Chisholm & Chisholm, P.C. // Murray Law Firm    3:19-cv-15084

    934    Guzman, Sophia Julia               Clayeo C. Arnold, APC                3:19-cv-17675

    935         King, Roger                  Clifford Law Offices, P.C.            3:18-cv-03342

    936       Hurley, Kandis                  Nix Patterson & Roach                3:18-cv-15805

    937        Meyer, David        Cohen & Malad, LLP // Nix Patterson & Roach     3:18-cv-08578

    938       Nickle, Stacey                    Cohen Hirsch, LP                   3:23-cv-17330

    939      Roberts, Cynthia                   Cohen Hirsch, LP                   3:23-cv-21308

    940      PERKS, KATHY                       Cohen Hirsch, LP                   3:23-cv-21790

    941       Albert, Sandra                    Cohen Hirsch, LP                   3:23-cv-22472

    942         Bills, Mosie                    Cohen Hirsch, LP                   3:23-cv-22473

    943       Bradley, Linda                    Cohen Hirsch, LP                   3:23-cv-22474

    944       Carcieri, Denise                  Cohen Hirsch, LP                   3:23-cv-22475

    945      Wentzel, Melinda                   Cohen Hirsch, LP                   3:23-cv-22476

    946        Mills, Lynette                   Cohen Hirsch, LP                   3:23-cv-22477

    947     Heintzelman, Carol                  Cohen Hirsch, LP                   3:23-cv-22478

    948       Howell, Lynette                   Cohen Hirsch, LP                   3:23-cv-22480

    949    Kazlausky, Mary Ann                  Cohen Hirsch, LP                   3:23-cv-22481

    950       Keane, Georgia                    Cohen Hirsch, LP                   3:23-cv-22482

    951        Reid, Shuvon                  Cohen, Placitella & Roth              3:18-cv-02612

    952         Silver, Gail                 Cohen, Placitella & Roth              3:18-cv-01379



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 31 of 90 PageID:
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    953         Elder, Karen                Cohen, Placitella & Roth          3:19-cv-20559

    954     Mennella, Theodora              Cohen, Placitella & Roth          3:19-cv-19971

    955         Silva, Shellie              Cohen, Placitella & Roth          3:19-cv-20557

    956        Dooher, Carol              Coppice Asset Management            3:18-cv-06321

    957     Chiarello, Geraldine         Cory Watson Attorneys, P.C.          3:23-cv-18434

    958       Mccrary, Ashley             Cory Watson Attorneys, P.C.         3:23-cv-17669

    959        Branham, Vicki            Cory Watson Attorneys, P.C.          3:23-cv-18503

    960          Allen, Kelly        Cory, Watson, Crowder & Degaris, P.C.    3:19-cv-16218

    961         Becker, Mary         Cory, Watson, Crowder & Degaris, P.C.    3:19-cv-14197

    962       Lampley, Tonya         Cory, Watson, Crowder & Degaris, P.C.    3:19-cv-17392

    963         Tolin, Shelia        Cory, Watson, Crowder & Degaris, P.C.    3:19-cv-13411

    964        Barry, Linda M                         CPC                     3:18-cv-02586

    965   Borchardt, Nancy & David                    CPC                     3:18-cv-02588

    966      Castillo, Brittany C.                    CPC                     3:18-cv-02591

    967   Gandarilla, Grace & Jose                    CPC                     3:18-cv-02595

    968      Snyder, Donna J.                         CPC                     3:18-cv-02598

    969       Arabia, Dominick                        CPC                     3:19-cv-08870

    970         Flores, Mario                Dalimonte Rueb, LLP              3:18-cv-16391

    971       Mitchell, Darlene              Dalimonte Rueb, LLP              3:18-cv-14464

    972      Dobbins, Lucinda                Dalimonte Rueb, LLP              3:19-cv-22112

    973         Kortz, Teresa                Dalimonte Rueb, LLP              3:19-cv-05409

    974     Kraszczak, Victoria A            Dalimonte Rueb, LLP              3:19-cv-21363

    975       Lerma, Rebecca                 Dalimonte Rueb, LLP              3:19-cv-09968

    976         Berry, Vicky               Daniel & Associates, LLC           3:18-cv-14094

    977       Brinkman, David              Daniel & Associates, LLC           3:18-cv-15626

    978        Brittman, Julius            Daniel & Associates, LLC           3:18-cv-11689

    979        Cody, Michael               Daniel & Associates, LLC           3:18-cv-08382

    980    Davis-Thomas, Karen             Daniel & Associates, LLC           3:18-cv-08399

    981      Doughtery, Windy              Daniel & Associates, LLC           3:18-cv-11935

    982         Elliott, Dawn              Daniel & Associates, LLC           3:18-cv-12683

    983         Engle, Susan               Daniel & Associates, LLC           3:18-cv-13760

    984        Fitch, Dorothy              Daniel & Associates, LLC           3:18-cv-13977

    985         Flores, Tina               Daniel & Associates, LLC           3:18-cv-12688

    986       Fox, Teresa Ann              Daniel & Associates, LLC           3:18-cv-13979

    987         Frazier, Carol             Daniel & Associates, LLC           3:18-cv-00969

    988          Kelly, Gail               Daniel & Associates, LLC           3:18-cv-14290

    989     Harbin, Averl Renee            Daniel & Associates, LLC           3:18-cv-05530

    990        Harrell, Belinda            Daniel & Associates, LLC           3:18-cv-14167

    991       Richard, Brenda              Daniel & Associates, LLC           3:18-cv-15630

    992          Hill, Dawn                Daniel & Associates, LLC           3:18-cv-14181

    993         Hill, Julie Ann            Daniel & Associates, LLC           3:18-cv-13850

    994         Hunter, Kelly              Daniel & Associates, LLC           3:18-cv-03939

    995     Washington, Roberta            Daniel & Associates, LLC           3:18-cv-11692

    996       Jones, Elizabeth             Daniel & Associates, LLC           3:18-cv-08448

    997           Keel, Eric               Daniel & Associates, LLC           3:18-cv-02963

    998          Lane, Tina                Daniel & Associates, LLC           3:18-cv-11939



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 32 of 90 PageID:
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 5RZ          &DVH1DPH                              3ODLQWLII)LUP V                   &XUUHQW&DXVH
   999     Lebbert-Herlen, Stacey                Daniel & Associates, LLC                  3:18-cv-12052

  1000     Waybright, David Allen                Daniel & Associates, LLC                  3:18-cv-11136

  1001      Marquardt, Colleen                   Daniel & Associates, LLC                  3:18-cv-13042

  1002          Martins, Lori                    Daniel & Associates, LLC                  3:18-cv-14164

  1003        McCoy, Wanda                       Daniel & Associates, LLC                  3:18-cv-11296

  1004       McMickle, Luanne                    Daniel & Associates, LLC                  3:18-cv-05415

  1005       McPhillips, Laurie                  Daniel & Associates, LLC                  3:18-cv-13859

  1006        Miloro, Elizabeth                  Daniel & Associates, LLC                  3:18-cv-11314

  1007        Morton, Bahiya                     Daniel & Associates, LLC                  3:18-cv-11840

  1008         Myers, Andrea                     Daniel & Associates, LLC                  3:18-cv-13392

  1009         Oviedo, Maria                     Daniel & Associates, LLC                  3:18-cv-13848

  1010          Roth, Susan                      Daniel & Associates, LLC                  3:18-cv-11315

  1011          Blake, Alicia                    Daniel & Associates, LLC                  3:18-cv-11712

  1012       Hildebrandt, Lisa                   Daniel & Associates, LLC                  3:18-cv-11732

  1013         Snyder, Linda                     Daniel & Associates, LLC                  3:18-cv-13270

  1014        Steppe, Wendy                      Daniel & Associates, LLC                  3:18-cv-13863

  1015        Stodghill, Janice                  Daniel & Associates, LLC                  3:18-cv-02844

  1016       Campanella, Rita                    Daniel & Associates, LLC                  3:18-cv-11838

  1017      Thilmany, Stephanie                  Daniel & Associates, LLC                  3:18-cv-14160

  1018        Thomas, Susan                      Daniel & Associates, LLC                  3:18-cv-13981

  1019      Undercuffler, Luretta                Daniel & Associates, LLC                  3:18-cv-11317

  1020       Vanness, Natasha                    Daniel & Associates, LLC                  3:18-cv-05413

  1021        Waller, Rebecca                    Daniel & Associates, LLC                  3:18-cv-12003

  1022     Werren, Mary Patricia                 Daniel & Associates, LLC                  3:18-cv-13726

  1023       Wilkins, Rebecca                    Daniel & Associates, LLC                  3:18-cv-13845
             Johnson, Patricia      Daniel & Associates, LLC // The Whitehead Law Firm,    3:18-cv-11291
  1024                                                      LLC
            O'Connor, Rebecca       Daniel & Associates, LLC // The Whitehead Law Firm,    3:18-cv-13856
  1025                                                      LLC
  1026        Gagnon, Marie                    Davis, Bethune & Jones, L.L.C.              3:23-cv-16258

  1027        Graves, Teresa                  Davis, Bethune & Jones, L.L.C.               3:23-cv-16278

  1028         Murphy, Helen                  Davis, Bethune & Jones, L.L.C.               3:23-cv-16830

  1029      Olmstead, Rebecca                 Davis, Bethune & Jones, L.L.C.               3:23-cv-17596

  1030        Oquendo, Willie                 Davis, Bethune & Jones, L.L.C.               3:23-cv-17618

  1031       Thomas, Marlene                  Davis, Bethune & Jones, L.L.C.               3:23-cv-17733

  1032       Walker, Veronica                 Davis, Bethune & Jones, L.L.C.               3:23-cv-17757

  1033         Worsley, Tina                  Davis, Bethune & Jones, L.L.C.               3:23-cv-17850

  1034       Becketts, Richard                Davis, Bethune & Jones, L.L.C.               3:23-cv-18524

  1035       Kelderhouse, Don                 Davis, Bethune & Jones, L.L.C.               3:23-cv-18802

  1036        Burnside, Jone                  Davis, Bethune & Jones, L.L.C.               3:23-cv-20144

  1037        Crouch, James                   Davis, Bethune & Jones, L.L.C.               3:23-cv-20266

  1038        Foreman, Robin                  Davis, Bethune & Jones, L.L.C.               3:23-cv-20175

  1039          Fulk, Marian                  Davis, Bethune & Jones, L.L.C.               3:23-cv-20178

  1040       Hodges, Elizabeth                Davis, Bethune & Jones, L.L.C.               3:23-cv-20196

  1041        Jones, Britania                 Davis, Bethune & Jones, L.L.C.               3:23-cv-20203

  1042         Reid, Brenda                   Davis, Bethune & Jones, L.L.C.               3:23-cv-20220

  1043       Rowland, Shirley                 Davis, Bethune & Jones, L.L.C.               3:23-cv-20225



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 33 of 90 PageID:
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 5RZ         &DVH1DPH                   3ODLQWLII)LUP V         &XUUHQW&DXVH
  1044      Stedum, Gene Van       Davis, Bethune & Jones, L.L.C.    3:23-cv-20281

  1045       Adams, Sandra             De La Rosa Law, P.A.          3:23-cv-21344

  1046        Allen, Roxanna           De La Rosa Law, P.A.          3:23-cv-21353

  1047         Botkin, Lucie           De La Rosa Law, P.A.          3:23-cv-21545

  1048        Knauls, Ruby             De La Rosa Law, P.A.          3:23-cv-21538

  1049          Lee, Anita             De La Rosa Law, P.A.          3:23-cv-21540

  1050         Levine, Della           De La Rosa Law, P.A.          3:23-cv-21539

  1051         Ritter, Donna           De La Rosa Law, P.A.          3:23-cv-21541

  1052      Rodriguez, Rachel          De La Rosa Law, P.A.          3:23-cv-21543

  1053        Sloper, Janelle          De La Rosa Law, P.A.          3:23-cv-21544

  1054         Bailey, Betsy           De La Rosa Law, P.A.          3:23-cv-21561

  1055        Bradley, Betty           De La Rosa Law, P.A.          3:23-cv-21564

  1056      Demarco, Celeste           De La Rosa Law, P.A.          3:23-cv-21579

  1057      Gallagherr, Charles        De La Rosa Law, P.A.          3:23-cv-21582

  1058         Hill, Barbara           De La Rosa Law, P.A.          3:23-cv-21559

  1059        Olinske, Helen           De La Rosa Law, P.A.          3:23-cv-21577

  1060      Rivenburgh, Cathy          De La Rosa Law, P.A.          3:23-cv-21575

  1061       Rollins, Carolyn          De La Rosa Law, P.A.          3:23-cv-21565

  1062      Sanchez, Catherine         De La Rosa Law, P.A.          3:23-cv-21569

  1063         Vond, Annie             De La Rosa Law, P.A.          3:23-cv-21555

  1064      Auld, Karla Dianne         De La Rosa Law, P.A.          3:23-cv-21617

  1065      Buckley, Charlotte         De La Rosa Law, P.A.          3:23-cv-21605

  1066      Carney, Madeline           De La Rosa Law, P.A.          3:23-cv-21641

  1067        Cofran, Laura            De La Rosa Law, P.A.          3:23-cv-21621

  1068     Dalke, Helen Barbara        De La Rosa Law, P.A.          3:23-cv-21619

  1069    Dempsey, Karen Perigo        De La Rosa Law, P.A.          3:23-cv-21613

  1070     Gutierrez, Lisa Marie       De La Rosa Law, P.A.          3:23-cv-21637

  1071      Hertlein, Cindy Jo         De La Rosa Law, P.A.          3:23-cv-21614

  1072         Jones, Linda            De La Rosa Law, P.A.          3:23-cv-21633

  1073       Keenan, Dianne            De La Rosa Law, P.A.          3:23-cv-21646

  1074        Kekawa, Grace            De La Rosa Law, P.A.          3:23-cv-21643

  1075     Landin, Laura Imelda        De La Rosa Law, P.A.          3:23-cv-21629

  1076       Nunnery, James            De La Rosa Law, P.A.          3:23-cv-21609

  1077        Olinske, Helen           De La Rosa Law, P.A.          3:23-cv-21604

  1078     Parraway, Lisa Jean         De La Rosa Law, P.A.          3:23-cv-21635

  1079        Petillo, Grace           De La Rosa Law, P.A.          3:23-cv-21620

  1080        Redman, Lori             De La Rosa Law, P.A.          3:23-cv-21639

  1081        Scahill, Cheryl          De La Rosa Law, P.A.          3:23-cv-21610

  1082         Smith, Julie            De La Rosa Law, P.A.          3:23-cv-21612

  1083      Tomasso, Deborah           De La Rosa Law, P.A.          3:23-cv-21630

  1084        Torres, Cynthia          De La Rosa Law, P.A.          3:23-cv-21626

  1085       Williams, Janise          De La Rosa Law, P.A.          3:23-cv-21611

  1086       Zwinge, Kathleen          De La Rosa Law, P.A.          3:23-cv-21618

  1087        Allen, Roxanna           De La Rosa Law, P.A.          3:23-cv-21675

  1088         Baker, Sherri           De La Rosa Law, P.A.          3:23-cv-21681

  1089        Exum, Pamela             De La Rosa Law, P.A.          3:23-cv-21665



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 34 of 90 PageID:
                                 177323

 5RZ           &DVH1DPH                 3ODLQWLII)LUP V     &XUUHQW&DXVH
  1090           Hall, Sylvia         De La Rosa Law, P.A.       3:23-cv-21683

  1091         Harris, Tammra         De La Rosa Law, P.A.       3:23-cv-21686

  1092         Hemphili, Traci        De La Rosa Law, P.A.       3:23-cv-21702

  1093      Kalsinski, Patricia Ann   De La Rosa Law, P.A.       3:23-cv-21671

  1094    Kennedy-Roberts, Theresa    De La Rosa Law, P.A.       3:23-cv-21700

  1095          Knauls, Ruby          De La Rosa Law, P.A.       3:23-cv-21676

  1096         Lay, Regina Lyn        De La Rosa Law, P.A.       3:23-cv-21672

  1097           Lepri, Susan         De La Rosa Law, P.A.       3:23-cv-21682

  1098       Madisen, Terra Ann       De La Rosa Law, P.A.       3:23-cv-21691

  1099          Madril, Naomi         De La Rosa Law, P.A.       3:23-cv-21663

  1100        Morgwen, Davies         De La Rosa Law, P.A.       3:23-cv-21661

  1101       Pile, Tammy Teresa       De La Rosa Law, P.A.       3:23-cv-21689

  1102        Pilgreen, Marjorie      De La Rosa Law, P.A.       3:23-cv-21658

  1103   Acosta Rodriguez, Maria V.   De La Rosa Law, P.A.       3:23-cv-21657

  1104     Ryals, Marlene Johnson     De La Rosa Law, P.A.       3:23-cv-21660

  1105         Shanks, Pamela         De La Rosa Law, P.A.       3:23-cv-21667

  1106       Townsend, Trenna         De La Rosa Law, P.A.       3:23-cv-21704

  1107         Arevalo, Zayda         De La Rosa Law, P.A.       3:23-cv-21733

  1108          Barker, Trudy         De La Rosa Law, P.A.       3:23-cv-21723

  1109           Faaoso, Uila         De La Rosa Law, P.A.       3:23-cv-21724

  1110       Johnson, Christine       De La Rosa Law, P.A.       3:23-cv-21756

  1111       Kelly, Victoria Lynn     De La Rosa Law, P.A.       3:23-cv-21731

  1112         Leabo, Victoria        De La Rosa Law, P.A.       3:23-cv-21726

  1113         Felix, Alejandra       De La Rosa Law, P.A.       3:23-cv-21873

  1114          Allen, Jamila         De La Rosa Law, P.A.       3:23-cv-21969

  1115         Anderson, Amy          De La Rosa Law, P.A.       3:23-cv-21877

  1116         Attardi, Martha        De La Rosa Law, P.A.       3:23-cv-21886

  1117           Auld, Karla          De La Rosa Law, P.A.       3:23-cv-21936

  1118        Bachman, Pamela         De La Rosa Law, P.A.       3:23-cv-21967

  1119           Baker, Linda         De La Rosa Law, P.A.       3:23-cv-21913

  1120      Ballou, Linda Polidore    De La Rosa Law, P.A.       3:23-cv-21902

  1121          Bartlett, Staci       De La Rosa Law, P.A.       3:23-cv-21887

  1122       Bayne, Ginger Lea        De La Rosa Law, P.A.       3:23-cv-21920

  1123           Bibi, Batool         De La Rosa Law, P.A.       3:23-cv-21895

  1124      Bittner, Melissa Marie    De La Rosa Law, P.A.       3:23-cv-22002

  1125     Borton, Kathleen Louise    De La Rosa Law, P.A.       3:23-cv-21940

  1126          Bottke, Carol         De La Rosa Law, P.A.       3:23-cv-21954

  1127           Boyd, Darcy          De La Rosa Law, P.A.       3:23-cv-21980

  1128          Brisson, Silvia       De La Rosa Law, P.A.       3:23-cv-21883

  1129       Brownlow, Ethel L.       De La Rosa Law, P.A.       3:23-cv-21900

  1130      Carnes, Debbora Sue       De La Rosa Law, P.A.       3:23-cv-21986

  1131          Carson, Judy          De La Rosa Law, P.A.       3:23-cv-21953

  1132         Casas, Amelyn          De La Rosa Law, P.A.       3:23-cv-21875

  1133        Clinkscale, Debra       De La Rosa Law, P.A.       3:23-cv-21885

  1134      Cooper, Emma Carole       De La Rosa Law, P.A.       3:23-cv-21896

  1135         Cravetts, Diane        De La Rosa Law, P.A.       3:23-cv-21890



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 35 of 90 PageID:
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  1136          Cuffee, Shari         De La Rosa Law, P.A.       3:23-cv-21965

  1137         Dodson, Nancy          De La Rosa Law, P.A.       3:23-cv-21932

  1138       Domingue, Audrey         De La Rosa Law, P.A.       3:23-cv-21884

  1139        Donohue, Patricia       De La Rosa Law, P.A.       3:23-cv-21975

  1140        Dowling, Delores        De La Rosa Law, P.A.       3:23-cv-21888

  1141         Flores, Eliasar        De La Rosa Law, P.A.       3:23-cv-21892

  1142      Fodor, Leslie Theresa     De La Rosa Law, P.A.       3:23-cv-21918

  1143          Ford, Grace           De La Rosa Law, P.A.       3:23-cv-21927

  1144         Fritz, Gwanda          De La Rosa Law, P.A.       3:23-cv-21929

  1145         Gallas, Joanne         De La Rosa Law, P.A.       3:23-cv-21935

  1146         Harris, Frances        De La Rosa Law, P.A.       3:23-cv-21912

  1147          Hawtin, Janet         De La Rosa Law, P.A.       3:23-cv-21938

  1148          Hawtin, Janet         De La Rosa Law, P.A.       3:23-cv-21944

  1149      Hector-Zepeda, Toni       De La Rosa Law, P.A.       3:23-cv-21899

  1150      Helton, Penny Lenea       De La Rosa Law, P.A.       3:23-cv-21988

  1151          Herring, Mary         De La Rosa Law, P.A.       3:23-cv-21894

  1152            Hill, Betty         De La Rosa Law, P.A.       3:23-cv-21911

  1153           Hirt, Carol          De La Rosa Law, P.A.       3:23-cv-21925

  1154       Homschek, Darlene        De La Rosa Law, P.A.       3:23-cv-21987

  1155          Hood, Gloria          De La Rosa Law, P.A.       3:23-cv-21924

  1156       Hopkins, Jacqueline      De La Rosa Law, P.A.       3:23-cv-21962

  1157        Hutteman, Carole        De La Rosa Law, P.A.       3:23-cv-21961

  1158          Incitti, Linda        De La Rosa Law, P.A.       3:23-cv-22001

  1159           Jones, Inez          De La Rosa Law, P.A.       3:23-cv-21939

  1160          Jones, Vicky          De La Rosa Law, P.A.       3:23-cv-21909

  1161         Keech, Janice          De La Rosa Law, P.A.       3:23-cv-21898

  1162         Keith, Deborah         De La Rosa Law, P.A.       3:23-cv-21992

  1163        Kennedy, Victoria       De La Rosa Law, P.A.       3:23-cv-21915

  1164    Kindred, Deborah Suzanne    De La Rosa Law, P.A.       3:23-cv-21998

  1165          Komac, Pam            De La Rosa Law, P.A.       3:23-cv-21947

  1166        Lavash, Daphne          De La Rosa Law, P.A.       3:23-cv-21973

  1167         Love, Georgia          De La Rosa Law, P.A.       3:23-cv-21916

  1168     Lucas, Rebecca Fayee       De La Rosa Law, P.A.       3:23-cv-21991

  1169         Martin, Teresa         De La Rosa Law, P.A.       3:23-cv-21891

  1170        McQuaig, Sarah          De La Rosa Law, P.A.       3:23-cv-21970

  1171         Merenda, Maria         De La Rosa Law, P.A.       3:23-cv-21897

  1172         Miles, Christine       De La Rosa Law, P.A.       3:23-cv-21928

  1173         Miranda, Kerri         De La Rosa Law, P.A.       3:23-cv-22004

  1174         Mishler, Brenda        De La Rosa Law, P.A.       3:23-cv-21951

  1175          Mylius, Karen         De La Rosa Law, P.A.       3:23-cv-21943

  1176        Norman, Patricia        De La Rosa Law, P.A.       3:23-cv-21971

  1177           Oak, Julie           De La Rosa Law, P.A.       3:23-cv-21949

  1178          Oneal, Kathy          De La Rosa Law, P.A.       3:23-cv-21931

  1179        Patria, Jeannine        De La Rosa Law, P.A.       3:23-cv-21922

  1180       Pearson, Saundra         De La Rosa Law, P.A.       3:23-cv-21968

  1181         Perales, Helen         De La Rosa Law, P.A.       3:23-cv-21933



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 36 of 90 PageID:
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  1182       Pladdys, Kathleen        De La Rosa Law, P.A.       3:23-cv-21948

  1183        Prickett, Darlene       De La Rosa Law, P.A.       3:23-cv-21972

  1184         Purvis, Gatha          De La Rosa Law, P.A.       3:23-cv-21914

  1185         Raines, Judith         De La Rosa Law, P.A.       3:23-cv-21942

  1186       Raymondo, Shirley        De La Rosa Law, P.A.       3:23-cv-21958

  1187           Ring, Lark           De La Rosa Law, P.A.       3:23-cv-21921

  1188         Robbins, Debra         De La Rosa Law, P.A.       3:23-cv-21881

  1189        Rodriguez, Anna         De La Rosa Law, P.A.       3:23-cv-21879

  1190        Rudolph, Robert         De La Rosa Law, P.A.       3:23-cv-21996

  1191         Savage, Chyrel         De La Rosa Law, P.A.       3:23-cv-21966

  1192          Self, Christa         De La Rosa Law, P.A.       3:23-cv-21534

  1193       Sendgraff, Michelle      De La Rosa Law, P.A.       3:23-cv-21923

  1194    Shaffer-Gordon, Patricia    De La Rosa Law, P.A.       3:23-cv-21985

  1195        Skidgell, Darlene       De La Rosa Law, P.A.       3:23-cv-21982

  1196      Skidmore, Janice Lee      De La Rosa Law, P.A.       3:23-cv-21910

  1197           Soliz, Janie         De La Rosa Law, P.A.       3:23-cv-21917

  1198     Steadham, Nevada Gay       De La Rosa Law, P.A.       3:23-cv-21941

  1199          Swingle, Eve          De La Rosa Law, P.A.       3:23-cv-21901

  1200           Truong, Vy           De La Rosa Law, P.A.       3:23-cv-21919

  1201         Valley, Kristin        De La Rosa Law, P.A.       3:23-cv-21926

  1202         Villa, Rebecca         De La Rosa Law, P.A.       3:23-cv-21999

  1203        Vincent, Glenda         De La Rosa Law, P.A.       3:23-cv-21930

  1204      Weldon, Tonya Marie       De La Rosa Law, P.A.       3:23-cv-21903

  1205      Weldon, Tonya Marie       De La Rosa Law, P.A.       3:23-cv-21906

  1206          Wells, Mary           De La Rosa Law, P.A.       3:23-cv-21908

  1207    Wilkerson, Bradley Robert   De La Rosa Law, P.A.       3:23-cv-21937

  1208        Wooden, Sandra          De La Rosa Law, P.A.       3:23-cv-21977

  1209         Zapata, Ivette         De La Rosa Law, P.A.       3:23-cv-21952

  1210         Batista, Pedro         De La Rosa Law, P.A.       3:23-cv-22071

  1211         Carter, Kaelyn         De La Rosa Law, P.A.       3:23-cv-22029

  1212         Celik, Theresa         De La Rosa Law, P.A.       3:23-cv-22056

  1213        Coleman, Donna          De La Rosa Law, P.A.       3:23-cv-22011

  1214        Fleeson, Tammy          De La Rosa Law, P.A.       3:23-cv-22055

  1215        George, Randie          De La Rosa Law, P.A.       3:23-cv-22058

  1216           Hall, Janet          De La Rosa Law, P.A.       3:23-cv-22026

  1217          Hawtin, Janet         De La Rosa Law, P.A.       3:23-cv-22025

  1218         Herron, Phillis        De La Rosa Law, P.A.       3:23-cv-22057

  1219           Hirt, Carol          De La Rosa Law, P.A.       3:23-cv-22034

  1220           Hirt, Carol          De La Rosa Law, P.A.       3:23-cv-22031

  1221        Hudson, Miranda         De La Rosa Law, P.A.       3:23-cv-22074

  1222       Hudson, Rheaann          De La Rosa Law, P.A.       3:23-cv-22073

  1223          Hull, Lenora          De La Rosa Law, P.A.       3:23-cv-22047

  1224          Incitti, Linda        De La Rosa Law, P.A.       3:23-cv-22048

  1225        Kelley, Kathleen        De La Rosa Law, P.A.       3:23-cv-22033

  1226        Kevern, Barbara         De La Rosa Law, P.A.       3:23-cv-22069

  1227         Linkous, Beth          De La Rosa Law, P.A.       3:23-cv-22028



                                      31
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 37 of 90 PageID:
                                 177326

 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  1228         Linkous, Beth          De La Rosa Law, P.A.       3:23-cv-22021

  1229          Lux, Debbie           De La Rosa Law, P.A.       3:23-cv-22051

  1230         Luzzi, Martha          De La Rosa Law, P.A.       3:23-cv-22016

  1231          Marks, Jacki          De La Rosa Law, P.A.       3:23-cv-22077

  1232        Mccarthur, Lynn         De La Rosa Law, P.A.       3:23-cv-22038

  1233        McDaniel, Linda         De La Rosa Law, P.A.       3:23-cv-22043

  1234        McGrath, Karen          De La Rosa Law, P.A.       3:23-cv-22020

  1235        Miles, Christine        De La Rosa Law, P.A.       3:23-cv-22045

  1236        Miles, Christine        De La Rosa Law, P.A.       3:23-cv-22041

  1237         Miranda, Kerri         De La Rosa Law, P.A.       3:23-cv-22044

  1238         Mooney, Beth           De La Rosa Law, P.A.       3:23-cv-22023

  1239         Mooney, Beth           De La Rosa Law, P.A.       3:23-cv-22012

  1240        Pena, Mercedes          De La Rosa Law, P.A.       3:23-cv-22032

  1241       Pladdys, Kathleen        De La Rosa Law, P.A.       3:23-cv-22040

  1242       Raymondo, Shirley        De La Rosa Law, P.A.       3:23-cv-22019

  1243          Rios, Kathie          De La Rosa Law, P.A.       3:23-cv-22030

  1244       Anderson, Charlie        De La Rosa Law, P.A.       3:23-cv-22072

  1245        Rudolph, Donna          De La Rosa Law, P.A.       3:23-cv-22013

  1246          Smith, Rosie          De La Rosa Law, P.A.       3:23-cv-22054

  1247         Sprague, Joy           De La Rosa Law, P.A.       3:23-cv-22070

  1248     Stepanovich, Melissa       De La Rosa Law, P.A.       3:23-cv-22080

  1249        Stoia, Concetta         De La Rosa Law, P.A.       3:23-cv-22049

  1250        Stoia, Concetta         De La Rosa Law, P.A.       3:23-cv-22050

  1251         Sudol, Patricia        De La Rosa Law, P.A.       3:23-cv-22024

  1252         Tarnow, Nancy          De La Rosa Law, P.A.       3:23-cv-22027

  1253    Weichselbaumer, Gisela      De La Rosa Law, P.A.       3:23-cv-22022

  1254          Wells, Diane          De La Rosa Law, P.A.       3:23-cv-22076

  1255         Ybarra, Leslie         De La Rosa Law, P.A.       3:23-cv-22052

  1256        Zaidman, Steve          De La Rosa Law, P.A.       3:23-cv-22079

  1257         Ackley, Carol          De La Rosa Law, P.A.       3:23-cv-22225

  1258       Amesquita, Diana         De La Rosa Law, P.A.       3:23-cv-22189

  1259         Asher, Connie          De La Rosa Law, P.A.       3:23-cv-22144

  1260    Barnes, Rhonda Rushton      De La Rosa Law, P.A.       3:23-cv-22245

  1261         Brannen, Irma          De La Rosa Law, P.A.       3:23-cv-22147

  1262          Braziel, Toni         De La Rosa Law, P.A.       3:23-cv-22251

  1263         Agee, Tykisha          De La Rosa Law, P.A.       3:23-cv-22188

  1264          Caez, Kayla           De La Rosa Law, P.A.       3:23-cv-22237

  1265          Call, Jeanna          De La Rosa Law, P.A.       3:23-cv-22197

  1266      Chambers, Francine        De La Rosa Law, P.A.       3:23-cv-22235

  1267       Clinkscale, Debra        De La Rosa Law, P.A.       3:23-cv-22181

  1268         Cowart, Margie         De La Rosa Law, P.A.       3:23-cv-22227

  1269          Pecora, Lisa          De La Rosa Law, P.A.       3:23-cv-22166

  1270         Barrera, Pedro         De La Rosa Law, P.A.       3:23-cv-22187

  1271         Davis, Pamela          De La Rosa Law, P.A.       3:23-cv-22140

  1272    Del Tufo, Francis William   De La Rosa Law, P.A.       3:23-cv-22142

  1273          Dunn, Annie           De La Rosa Law, P.A.       3:23-cv-22179



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 38 of 90 PageID:
                                 177327

 5RZ             &DVH1DPH                       3ODLQWLII)LUP V   &XUUHQW&DXVH
  1274            Dupuis, Jeanne              De La Rosa Law, P.A.     3:23-cv-22149

  1275          Ehresmann, Joann              De La Rosa Law, P.A.     3:23-cv-22135

  1276           Escobedo, Letha              De La Rosa Law, P.A.     3:23-cv-22148
         Feliciano Rivera, Sheilah Cristina   De La Rosa Law, P.A.     3:23-cv-22152
  1277
  1278       Fernandez, Daphne Ann            De La Rosa Law, P.A.     3:23-cv-22186

  1279          Figueroa, Teresita            De La Rosa Law, P.A.     3:23-cv-22257

  1280          Figueroa, Teresita            De La Rosa Law, P.A.     3:23-cv-22238

  1281            Francis, Karen              De La Rosa Law, P.A.     3:23-cv-22146

  1282        Fuentes, Cynthia Anna           De La Rosa Law, P.A.     3:23-cv-22138

  1283          Fuhrmann, Barbara             De La Rosa Law, P.A.     3:23-cv-22155

  1284             Gaona, Juan                De La Rosa Law, P.A.     3:23-cv-22177

  1285           Gingras, Doreen              De La Rosa Law, P.A.     3:23-cv-22229

  1286             Glass, Keith               De La Rosa Law, P.A.     3:23-cv-22185

  1287           Glidden, Murray              De La Rosa Law, P.A.     3:23-cv-22178

  1288           Graham, Sharyn               De La Rosa Law, P.A.     3:23-cv-22234

  1289             Kyle, Joann                De La Rosa Law, P.A.     3:23-cv-22174

  1290               Hall, Lee                De La Rosa Law, P.A.     3:23-cv-22150

  1291       Hardcastle-Smith, Leah           De La Rosa Law, P.A.     3:23-cv-22250

  1292             Hefke, Linda               De La Rosa Law, P.A.     3:23-cv-22180

  1293             Hurst, Ethel               De La Rosa Law, P.A.     3:23-cv-22170

  1294            James, Emmit                De La Rosa Law, P.A.     3:23-cv-22167

  1295            Jennings, Mary              De La Rosa Law, P.A.     3:23-cv-22172

  1296            Kenol, Patricia             De La Rosa Law, P.A.     3:23-cv-22233

  1297          Knight, Jacqueline            De La Rosa Law, P.A.     3:23-cv-22136

  1298          Lambert, Hortencia            De La Rosa Law, P.A.     3:23-cv-22243

  1299           Land, Modestine              De La Rosa Law, P.A.     3:23-cv-22193

  1300            Launius, Linda              De La Rosa Law, P.A.     3:23-cv-22133

  1301             Lee, Sharon                De La Rosa Law, P.A.     3:23-cv-22226

  1302             Liu, Guiying               De La Rosa Law, P.A.     3:23-cv-22175

  1303           Macleod, Honey               De La Rosa Law, P.A.     3:23-cv-22239

  1304       Maxwell-Certain, Tracie          De La Rosa Law, P.A.     3:23-cv-22183

  1305             Mcfall, Karen              De La Rosa Law, P.A.     3:23-cv-22232

  1306           Milliken, Patricia           De La Rosa Law, P.A.     3:23-cv-22153

  1307           Moore, Gertrude              De La Rosa Law, P.A.     3:23-cv-22171

  1308          Murrell, Patsy Ann            De La Rosa Law, P.A.     3:23-cv-22236

  1309           Olenick, Virginia            De La Rosa Law, P.A.     3:23-cv-22169

  1310          Phillips, Mary Jane           De La Rosa Law, P.A.     3:23-cv-22143

  1311            Pierson, Kelly              De La Rosa Law, P.A.     3:23-cv-22242

  1312      Posey, Saundra Kennedy            De La Rosa Law, P.A.     3:23-cv-22249

  1313           Price, Linda Kay             De La Rosa Law, P.A.     3:23-cv-22254

  1314           Roberts, Zenaida             De La Rosa Law, P.A.     3:23-cv-22141

  1315           Schlueter, Diana             De La Rosa Law, P.A.     3:23-cv-22195

  1316            Schmeling, Pat              De La Rosa Law, P.A.     3:23-cv-22182

  1317             Seals, Jenni               De La Rosa Law, P.A.     3:23-cv-22228
         Seasack Pile, Eleanor Jacqueline     De La Rosa Law, P.A.     3:23-cv-22134
  1318

                                              33
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 39 of 90 PageID:
                                 177328

 5RZ          &DVH1DPH                    3ODLQWLII)LUP V          &XUUHQW&DXVH
  1319      Setterlund, Danelle          De La Rosa Law, P.A.           3:23-cv-22154

  1320       Sipowicz, Sharon            De La Rosa Law, P.A.           3:23-cv-22255

  1321        Stack, Richard             De La Rosa Law, P.A.           3:23-cv-22191

  1322        Sylvester, Tikira          De La Rosa Law, P.A.           3:23-cv-22246

  1323       Tice, Valina Lynn           De La Rosa Law, P.A.           3:23-cv-22248

  1324          Tobin, June              De La Rosa Law, P.A.           3:23-cv-22137

  1325          Trish, Janet             De La Rosa Law, P.A.           3:23-cv-22241

  1326          Vest, Laura              De La Rosa Law, P.A.           3:23-cv-22247

  1327     Webster, Barbara Jean         De La Rosa Law, P.A.           3:23-cv-22132

  1328        Williams, Leslie           De La Rosa Law, P.A.           3:23-cv-22145

  1329      Willis, Traci Lynette        De La Rosa Law, P.A.           3:23-cv-22173

  1330         Zapata, Ivette            De La Rosa Law, P.A.           3:23-cv-22139

  1331         Hall, Deborah             De La Rosa Law, P.A.           3:23-cv-22281

  1332        Allen, Roxanna             De La Rosa Law, P.A.           3:23-cv-22287

  1333        Branham, Judy              De La Rosa Law, P.A.           3:23-cv-22286

  1334        Bryant, Daphne             De La Rosa Law, P.A.           3:23-cv-22288

  1335       Houston, Sammy              De La Rosa Law, P.A.           3:23-cv-22279

  1336        Johnson, Adrian            De La Rosa Law, P.A.           3:23-cv-22284

  1337        Komac, Pamela              De La Rosa Law, P.A.           3:23-cv-22278

  1338       Mcgilbray, Lasue            De La Rosa Law, P.A.           3:23-cv-22280

  1339        Petkovich, Doris           De La Rosa Law, P.A.           3:23-cv-22277

  1340        Taylor, Corrine            De La Rosa Law, P.A.           3:23-cv-22276

  1341          Trish, Janet             De La Rosa Law, P.A.           3:23-cv-22283

  1342        Williams, Janise           De La Rosa Law, P.A.           3:23-cv-22285

  1343        Winburn, Terry             De La Rosa Law, P.A.           3:23-cv-22275

  1344         Woods, Laura              De La Rosa Law, P.A.           3:23-cv-22274

  1345      Castille, Bernadette             Deaton Law Firm            3:19-cv-13298

  1346       Gonzales, Carmen                Deaton Law Firm            3:19-cv-12736

  1347       Harrison, Darryl D     Decof, Barry, Mega & Quinn, P.C.    3:19-cv-14838

  1348        Sachs, Steven                Dell & Dean PLLC             3:19-cv-20226

  1349     Gutierrez, Maria Lopez             Diamond Law               3:18-cv-00582

  1350        Gigliotti, Jason           Dolce Panepinto, P.C.          3:19-cv-05857

  1351        Ateek, Shirley A            Dorothy V. Maier, PA          3:18-cv-11241

  1352        Dalton, Glenda               Driscoll Firm, P.C.          3:19-cv-12028

  1353          Reed, Anita                Driscoll Firm, P.C.          3:23-cv-17887

  1354       Hendricks, Roger              Driscoll Firm, P.C.          3:23-cv-19358

  1355        Truman, Shirley              Driscoll Firm, P.C.          3:23-cv-19851

  1356        Welsh, Rebecca               Driscoll Firm, P.C.          3:23-cv-19857

  1357         Young, Joan                 Driscoll Firm, P.C.          3:23-cv-19858

  1358         Bailey, James               Driscoll Firm, P.C.          3:19-cv-12666

  1359          Blair, Otina               Driscoll Firm, P.C.          3:19-cv-22079

  1360         Blakes, Roger               Driscoll Firm, P.C.          3:19-cv-22060

  1361        Block, Rhonda                Driscoll Firm, P.C.          3:19-cv-22171

  1362        Bolender, Mary               Driscoll Firm, P.C.          3:19-cv-22072

  1363          Brieno, Pat                Driscoll Firm, P.C.          3:19-cv-22051

  1364        Burger, Dorothy              Driscoll Firm, P.C.          3:19-cv-22185



                                        34
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 40 of 90 PageID:
                                 177329

 5RZ         &DVH1DPH                           3ODLQWLII)LUP V                  &XUUHQW&DXVH
  1365        Cohen, Sheila                     Driscoll Firm, P.C.                   3:19-cv-19306

  1366      Cushenberry, Kay                    Driscoll Firm, P.C.                   3:19-cv-12673

  1367        DeLucia, Keli                     Driscoll Firm, P.C.                   3:19-cv-12667

  1368        Dixon, Marsha                     Driscoll Firm, P.C.                   3:19-cv-22173

  1369          Field, Ellen                    Driscoll Firm, P.C.                   3:19-cv-12672

  1370       Fuhrman, Chris                     Driscoll Firm, P.C.                   3:19-cv-12664

  1371         Ginet, Ciera                     Driscoll Firm, P.C.                   3:19-cv-13256

  1372      Malbrough, Sandra                   Driscoll Firm, P.C.                   3:19-cv-22058

  1373       Holder, Veronica                   Driscoll Firm, P.C.                   3:19-cv-22057

  1374        Hood, Donna                       Driscoll Firm, P.C.                   3:19-cv-22158

  1375       Johnson, Susan                     Driscoll Firm, P.C.                   3:19-cv-22077

  1376       Shaw, ReNarda                      Driscoll Firm, P.C.                   3:19-cv-22156

  1377       Leonardi, Randi                    Driscoll Firm, P.C.                   3:19-cv-13133

  1378          Lilly, Anita                    Driscoll Firm, P.C.                   3:19-cv-22160

  1379       Lipford, Beatrice                  Driscoll Firm, P.C.                   3:19-cv-22049

  1380         Lon, Barbara                     Driscoll Firm, P.C.                   3:19-cv-18623

  1381         Martin, Mary                     Driscoll Firm, P.C.                   3:19-cv-22166

  1382      McKenzie, Qmetee                    Driscoll Firm, P.C.                   3:19-cv-22074

  1383      Noel-Barrs, Rosena                  Driscoll Firm, P.C.                   3:19-cv-18562

  1384         Porter, Nellie                   Driscoll Firm, P.C.                   3:19-cv-22059

  1385         Potts, Sarah                     Driscoll Firm, P.C.                   3:19-cv-12670

  1386         Roy, Debra                       Driscoll Firm, P.C.                   3:19-cv-22161

  1387       Simon, Danielle                    Driscoll Firm, P.C.                   3:19-cv-22047

  1388         Taylor, Ollie                    Driscoll Firm, P.C.                   3:19-cv-18614

  1389       Williams, Sherita                  Driscoll Firm, P.C.                   3:19-cv-22179

  1390        Wosenu, Aster                     Driscoll Firm, P.C.                   3:19-cv-17527

  1391         Wyatt, Robin                     Driscoll Firm, P.C.                   3:19-cv-22175

  1392        Malott, Lauren                   Duerring Law Offices                   3:19-cv-11756
             Bartoletti, Carol   Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-15427
  1393                                                 PLLC
              Blake, Krysta      Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13185
  1394                                                 PLLC
             Blanton, Sharon     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13690
  1395                                                 PLLC
              Butler, Tonya      Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13205
  1396                                                 PLLC
              Collins, Valerie   Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13688
  1397                                                 PLLC
              Dasher, Carrie     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13216
  1398                                                 PLLC
            Hammond, Shelly      Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13210
  1399                                                 PLLC
               Hare, Kristie     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13196
  1400                                                 PLLC
              Hrouda, Lesli      Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13692
  1401                                                 PLLC
              Nations, Carrie    Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-15409
  1402                                                 PLLC
              Rash, Marjorie     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13679
  1403                                                 PLLC
            Turner, Marian Sue   Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,    3:18-cv-13191
  1404                                                 PLLC



                                              35
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 41 of 90 PageID:
                                 177330

 5RZ         &DVH1DPH                              3ODLQWLII)LUP V                    &XUUHQW&DXVH
              Cook, Patricia       Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,       3:19-cv-15619
  1405                                                   PLLC
              Davis, Robbie        Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,       3:19-cv-08245
  1406                                                   PLLC
             Watson, Cheryl        Edlund, Gallagher, Haslam, McCall, Wolf & Wooten,       3:19-cv-19507
  1407                                                   PLLC
  1408        Bishop, Imelda           Eichen, Crutchlow, Zaslow & McElroy, LLP            3:18-cv-17395

  1409         Criso, Irene            Eichen, Crutchlow, Zaslow & McElroy, LLP            3:18-cv-00533

  1410         Ellis, Raynill                             Pro Se                           3:18-cv-14534

  1411        Noble, George            Eichen, Crutchlow, Zaslow & McElroy, LLP            3:18-cv-17223

  1412         Haly, Patricia              EISENBERG GILCHRIST & CUTT                      3:19-cv-08856

  1413       Mervine, Bonnie               EISENBERG GILCHRIST & CUTT                      3:19-cv-08844

  1414         Norris, Lisa                EISENBERG GILCHRIST & CUTT                      3:19-cv-08854

  1415        O'Hara, Nancy                EISENBERG GILCHRIST & CUTT                      3:19-cv-08849

  1416         Wade, Linda                 EISENBERG GILCHRIST & CUTT                      3:19-cv-08859
               Gran, Lewis        Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.    3:19-cv-16998
  1417
             Harron, Tamara       Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.    3:19-cv-12458
  1418
                Long, Lisa        Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.    3:19-cv-21374
  1419
  1420       Anthony, Joann                    Fears Nachawati Law Firm                    3:18-cv-13585

  1421         Binge, Debra                    Fears Nachawati Law Firm                    3:18-cv-15766

  1422        Bowers, Kathy                    Fears Nachawati Law Firm                    3:18-cv-16149

  1423        Bryant, Colleen                  Fears Nachawati Law Firm                    3:18-cv-15780

  1424      Cross Jr., Ronald                  Fears Nachawati Law Firm                    3:18-cv-17709

  1425         Gray, Sherri                    Fears Nachawati Law Firm                    3:18-cv-13614

  1426         Henry, Billy                    Fears Nachawati Law Firm                    3:18-cv-15485

  1427      Holmquist, Elaine                  Fears Nachawati Law Firm                    3:18-cv-03935

  1428       Hufkins, Cathy H                  Fears Nachawati Law Firm                    3:18-cv-13653

  1429         Jack, Adrian                    Fears Nachawati Law Firm                    3:18-cv-16152

  1430       Lee, Caroline M.                  Fears Nachawati Law Firm                    3:18-cv-13572

  1431        Lester, Sherry                   Fears Nachawati Law Firm                    3:18-cv-03419

  1432      Marshall, Catherine                Fears Nachawati Law Firm                    3:18-cv-13589

  1433      Moore, Jacquelin J                 Fears Nachawati Law Firm                    3:18-cv-13639

  1434       Moore, Laverne                    Fears Nachawati Law Firm                    3:18-cv-17371

  1435        Moore, Mamie                     Fears Nachawati Law Firm                    3:18-cv-13595

  1436        Powell, Latina                   Fears Nachawati Law Firm                    3:18-cv-00255

  1437         Ryan, Susan                     Fears Nachawati Law Firm                    3:18-cv-13671

  1438        Sampson, Lisa                    Fears Nachawati Law Firm                    3:18-cv-13670

  1439       St. Clair, Melissa                Fears Nachawati Law Firm                    3:18-cv-13583

  1440        Vargas, Gloria                   Fears Nachawati Law Firm                    3:18-cv-13616

  1441        Webber, Karen                    Fears Nachawati Law Firm                    3:18-cv-15812

  1442       Wippler, Amanda                   Fears Nachawati Law Firm                    3:18-cv-16834

  1443          Allen, Kelly                   Fears Nachawati Law Firm                    3:19-cv-00765

  1444        Arzola, Eliseo                   Fears Nachawati Law Firm                    3:19-cv-21180

  1445       Bowman, David                     Fears Nachawati Law Firm                    3:19-cv-21765

  1446         Jones, Terri                    Fears Nachawati Law Firm                    3:19-cv-20550

  1447       Christian, Mattie                 Fears Nachawati Law Firm                    3:19-cv-21133



                                                 36
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 42 of 90 PageID:
                                 177331

 5RZ          &DVH1DPH                   3ODLQWLII)LUP V      &XUUHQW&DXVH
  1448           Curtis, Jody         Fears Nachawati Law Firm     3:19-cv-14946

  1449          Foss, Karen           Fears Nachawati Law Firm     3:19-cv-00357

  1450          Gadd, Donna           Fears Nachawati Law Firm     3:19-cv-14875

  1451       Gutierrez, Margarita     Fears Nachawati Law Firm     3:19-cv-20938

  1452         Clark, LaTesha         Fears Nachawati Law Firm     3:19-cv-16709

  1453        Jones, Christine        Fears Nachawati Law Firm     3:19-cv-15818

  1454          Kiss, Theresa         Fears Nachawati Law Firm     3:19-cv-15035

  1455         Knox, Pamela           Fears Nachawati Law Firm     3:19-cv-15145

  1456       Lewis, Christopher       Fears Nachawati Law Firm     3:19-cv-15029

  1457       Lombari, Kathleen        Fears Nachawati Law Firm     3:19-cv-00766

  1458           Marks, Lisa          Fears Nachawati Law Firm     3:19-cv-15041

  1459        Peavy, Kimberly         Fears Nachawati Law Firm     3:19-cv-14885

  1460         Peters, Corinne        Fears Nachawati Law Firm     3:19-cv-00225

  1461          Phillips, Tara        Fears Nachawati Law Firm     3:19-cv-00192

  1462       Pollorena, Carmen        Fears Nachawati Law Firm     3:19-cv-20121

  1463   Robertson-Woodcook, Sally    Fears Nachawati Law Firm     3:19-cv-14892

  1464        Rodriguez, Angel        Fears Nachawati Law Firm     3:19-cv-00353

  1465          Scott, Robert         Fears Nachawati Law Firm     3:19-cv-15177

  1466          Smith, Sonya          Fears Nachawati Law Firm     3:19-cv-15002

  1467        Stermer, Ashley         Fears Nachawati Law Firm     3:19-cv-14930

  1468         Thomas, Kristin        Fears Nachawati Law Firm     3:19-cv-07427

  1469           Torres, Ann          Fears Nachawati Law Firm     3:19-cv-01138

  1470           Tyler, Kelly         Fears Nachawati Law Firm     3:19-cv-14933

  1471         Valentine, Eva         Fears Nachawati Law Firm     3:19-cv-15163

  1472           Vick, David          Fears Nachawati Law Firm     3:19-cv-15038

  1473        Waby, Christine         Fears Nachawati Law Firm     3:19-cv-00359

  1474        Walker, Amanda          Fears Nachawati Law Firm     3:19-cv-15026

  1475         Crims, Valerie         Fears Nachawati Law Firm     3:19-cv-19790

  1476         White, Patricia        Fears Nachawati Law Firm     3:19-cv-14979

  1477    Carmichael, Michelle Lynn    Fears Nachawati, PLLC       3:23-cv-20226

  1478    Harris-Bowman, Patricia      Fears Nachawati, PLLC       3:23-cv-20268

  1479        Gonzalez, Berta          Fears Nachawati, PLLC       3:23-cv-20263

  1480       Pendregon, Jessica        Fears Nachawati, PLLC       3:23-cv-20172

  1481         Rowland, Owen           Fears Nachawati, PLLC       3:23-cv-20205

  1482       Lipscomb, Joseph          Fears Nachawati, PLLC       3:19-cv-22219

  1483          Smith, Gloria         Fitzgerald Law Group, LLC    3:18-cv-13989

  1484        Traynor, Marlene        Fitzgerald Law Group, LLC    3:18-cv-14492

  1485       Cheatham, Donald         Fleming, Nolen & Jez, LLP    3:19-cv-08112

  1486       Cosby, Cassandra         Fleming, Nolen & Jez, LLP    3:19-cv-08129

  1487       Gurda, Jeanne Ann        Fleming, Nolen & Jez, LLP    3:19-cv-12251

  1488         Ochoa, Roberta         Fleming, Nolen & Jez, LLP    3:19-cv-12495

  1489        Pasquale, Susan         Fleming, Nolen & Jez, LLP    3:19-cv-12522

  1490        Armstrong, Mary           Fletcher V. Trammell       3:19-cv-14361

  1491          Ayres, Robert           Fletcher V. Trammell       3:19-cv-21459

  1492         Bailey, Angela           Fletcher V. Trammell       3:19-cv-14462

  1493        Bedford, Darlene          Fletcher V. Trammell       3:19-cv-14368



                                       37
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 43 of 90 PageID:
                                 177332

 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
  1494      Branch, Cassondra         Fletcher V. Trammell       3:19-cv-14371

  1495        Burnsed, Birgit         Fletcher V. Trammell       3:19-cv-13544

  1496        Burks, Nancy            Fletcher V. Trammell       3:19-cv-14385

  1497      Hochleutner, Mark         Fletcher V. Trammell       3:19-cv-22150

  1498     Capo, Melissa Perez        Fletcher V. Trammell       3:19-cv-21587

  1499      Carnes, Christina         Fletcher V. Trammell       3:19-cv-14386

  1500        Childers, Joni          Fletcher V. Trammell       3:19-cv-14463

  1501       Coleman, Martha          Fletcher V. Trammell       3:19-cv-14545

  1502       Cooper, Amanda           Fletcher V. Trammell       3:19-cv-21778

  1503        Creamer, Misty          Fletcher V. Trammell       3:19-cv-14472

  1504         Cruse, Lindsi          Fletcher V. Trammell       3:19-cv-14476

  1505         Desselle, Pia          Fletcher V. Trammell       3:19-cv-13027

  1506       Dickerson, Misty         Fletcher V. Trammell       3:19-cv-14488

  1507       Dixon, Courtney          Fletcher V. Trammell       3:19-cv-14546

  1508        Doyle, Donna            Fletcher V. Trammell       3:19-cv-14556

  1509       Fishman, Allison         Fletcher V. Trammell       3:19-cv-21705

  1510        Fletcher, Peter         Fletcher V. Trammell       3:19-cv-13533

  1511       Forbes, George           Fletcher V. Trammell       3:19-cv-17720

  1512         Ford, Tiffany          Fletcher V. Trammell       3:19-cv-16443

  1513       Clemons, Paula           Fletcher V. Trammell       3:19-cv-21313

  1514        Galaviz, Maria          Fletcher V. Trammell       3:19-cv-21150

  1515      Godwin, Frankiettia       Fletcher V. Trammell       3:19-cv-10207

  1516      Gonzalez, Patricia        Fletcher V. Trammell       3:19-cv-13531

  1517       Green, Tyronza           Fletcher V. Trammell       3:19-cv-14567

  1518       Greenwell, Kathy         Fletcher V. Trammell       3:19-cv-16441

  1519       Hardy, Jenavisa          Fletcher V. Trammell       3:19-cv-14562

  1520        Harmon, Helda           Fletcher V. Trammell       3:19-cv-21593

  1521        Harris, Carolyn         Fletcher V. Trammell       3:19-cv-20749

  1522        Harris, Cynthia         Fletcher V. Trammell       3:19-cv-14109

  1523      Hemphill, Latrissa        Fletcher V. Trammell       3:19-cv-14581

  1524        Hicks, Crystal          Fletcher V. Trammell       3:19-cv-14571

  1525        Hirsch, Tebra           Fletcher V. Trammell       3:19-cv-20735

  1526       Hughes, Emily J          Fletcher V. Trammell       3:19-cv-16445

  1527       Hunter, Natasha          Fletcher V. Trammell       3:19-cv-14525

  1528       Ingram, Kimberly         Fletcher V. Trammell       3:19-cv-14587

  1529       Jackson, Jesse           Fletcher V. Trammell       3:19-cv-14624

  1530        Keller, Shelby          Fletcher V. Trammell       3:19-cv-21777

  1531         King, Dianna           Fletcher V. Trammell       3:19-cv-14530

  1532       Klingforth, Gary         Fletcher V. Trammell       3:19-cv-22187

  1533       Saccardo, Laura          Fletcher V. Trammell       3:19-cv-13539

  1534       Krupp Jr., Julius        Fletcher V. Trammell       3:19-cv-14585

  1535         Lange, Linda           Fletcher V. Trammell       3:19-cv-19952

  1536        Levy, Beaulah           Fletcher V. Trammell       3:19-cv-20558

  1537       Lewis, Josephine         Fletcher V. Trammell       3:19-cv-15005

  1538        Lewis, Tammie           Fletcher V. Trammell       3:19-cv-19950

  1539       Lindsey, Melinda         Fletcher V. Trammell       3:19-cv-14623



                                      38
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 44 of 90 PageID:
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 5RZ         &DVH1DPH                           3ODLQWLII)LUP V                 &XUUHQW&DXVH
  1540         Lout, Cynthia                   Fletcher V. Trammell                  3:19-cv-20560

  1541         Lynn, Randy                     Fletcher V. Trammell                  3:19-cv-16479

  1542       Martinez, Marry                   Fletcher V. Trammell                  3:19-cv-14614

  1543       McGhee, Bambi                     Fletcher V. Trammell                  3:19-cv-14563

  1544        Mennor, Terri                    Fletcher V. Trammell                  3:19-cv-21311

  1545       Milliner, Joakima                 Fletcher V. Trammell                  3:19-cv-16440

  1546        Mims, Angelica                   Fletcher V. Trammell                  3:19-cv-14564

  1547         Mullins, Lora                   Fletcher V. Trammell                  3:19-cv-21515

  1548       Newton, Stacey                    Fletcher V. Trammell                  3:19-cv-17718

  1549       Nicholson, Cyril                  Fletcher V. Trammell                  3:19-cv-20747

  1550          Noe, Billie                    Fletcher V. Trammell                  3:19-cv-14538

  1551      Nordlund, Elizabeth                Fletcher V. Trammell                  3:19-cv-14524

  1552     Ehrnsberger, Russell                Fletcher V. Trammell                  3:19-cv-14576

  1553     Palmerton, Elizabeth                Fletcher V. Trammell                  3:19-cv-17717

  1554     Patterson, Samantha                 Fletcher V. Trammell                  3:19-cv-21730

  1555       Perkins, Sharon                   Fletcher V. Trammell                  3:19-cv-13960

  1556         Perks, Lillian                  Fletcher V. Trammell                  3:19-cv-21702

  1557       Rabalais, Tahnee                  Fletcher V. Trammell                  3:19-cv-17822

  1558         Ribken, Tina                    Fletcher V. Trammell                  3:19-cv-14583

  1559        Rogers, Carrie                   Fletcher V. Trammell                  3:19-cv-14531

  1560        Rutledge, Billie                 Fletcher V. Trammell                  3:19-cv-14527

  1561        Sapp, Miranda                    Fletcher V. Trammell                  3:19-cv-10197

  1562         Sarah, Kathy                    Fletcher V. Trammell                  3:19-cv-14586

  1563          Short, Lois                    Fletcher V. Trammell                  3:19-cv-21703

  1564       Temple, Jeaneta                   Fletcher V. Trammell                  3:19-cv-17722

  1565         Torres, Luisa                   Fletcher V. Trammell                  3:19-cv-14570

  1566        Ulrich, Valerie                  Fletcher V. Trammell                  3:19-cv-16682

  1567        Velez, Theresa                   Fletcher V. Trammell                  3:19-cv-13013

  1568        Wallace, Janna                   Fletcher V. Trammell                  3:19-cv-14102

  1569        White, Monica                    Fletcher V. Trammell                  3:19-cv-10201

  1570      Whiteside, Rolanda                 Fletcher V. Trammell                  3:19-cv-10204

  1571      Williams, Jeremiah                 Fletcher V. Trammell                  3:19-cv-16442

  1572     Young-Horner, Stacey                Fletcher V. Trammell                  3:19-cv-14547

  1573         Garcia, Elisa       Fletcher V. Trammell // Williams Hart Law Firm    3:19-cv-19122

  1574       Summers, Robert                       Frazer Law LLC                    3:18-cv-12334

  1575       Shanafelt, Keith                      Frazer Law LLC                    3:18-cv-12484

  1576    Summers, William Keith                   Frazer Law LLC                    3:18-cv-08149

  1577          Oatis, Gina                        Frazer Law LLC                    3:18-cv-13066

  1578      Chisholm, Brianna                      Frazer Law LLC                    3:18-cv-13412

  1579      Armstrong, Phyllis                       Frazer PLC                      3:23-cv-19944

  1580       Conkwright, Joy                         Frazer PLC                      3:23-cv-19935

  1581       Denny, Gladdys                          Frazer PLC                      3:23-cv-19932

  1582       Goodner, Beverly                        Frazer PLC                      3:23-cv-19894

  1583       Goodrich, Kathy                         Frazer PLC                      3:23-cv-19910

  1584         Hayes, Mark                           Frazer PLC                      3:23-cv-19938

  1585         Hill, Maxine                          Frazer PLC                      3:23-cv-19920



                                              39
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 45 of 90 PageID:
                                 177334

 5RZ           &DVH1DPH                     3ODLQWLII)LUP V        &XUUHQW&DXVH
  1586         Jackson, Portia                   Frazer PLC             3:23-cv-19941

  1587         Kennedy, Chloe                    Frazer PLC             3:23-cv-19898

  1588       Kirkpatrick, Timothy                Frazer PLC             3:23-cv-19943

  1589          Miller, Donald                   Frazer PLC             3:23-cv-19928

  1590          Morgan, Teala                    Frazer PLC             3:23-cv-19925

  1591          Nichols, Reva                    Frazer PLC             3:23-cv-19922

  1592          Parker, Grace                    Frazer PLC             3:23-cv-19906

  1593          Smith, Angela                    Frazer PLC             3:23-cv-19882

  1594         Tester, Jennifer                  Frazer PLC             3:23-cv-19907

  1595       Shipley, Barbara Sue      Fredeking & Biser Law Offices    3:18-cv-14343

  1596            Allen, Kay                   Girardi & Keese          3:18-cv-15539

  1597          Blanks, Angel                  Girardi & Keese          3:18-cv-15561

  1598      Brennan-Jones, Cheryl              Girardi & Keese          3:18-cv-15567

  1599          Brunty, Sarah                  Girardi & Keese          3:18-cv-15569

  1600        Chambliss, Linda                 Girardi & Keese          3:18-cv-15578

  1601          Cole, Mildred                  Girardi & Keese          3:18-cv-15585

  1602           Curry, Lisa                   Girardi & Keese          3:18-cv-15591

  1603        Fredericks, Linda                Girardi & Keese          3:18-cv-15757

  1604          Green, Sandra                  Girardi & Keese          3:18-cv-15789

  1605          Gregory, Jon                   Girardi & Keese          3:18-cv-15597

  1606          Held, Patricia                 Girardi & Keese          3:18-cv-15817

  1607         Henry, Maureen                  Girardi & Keese          3:18-cv-15820

  1608           Hill, Rhonda                  Girardi & Keese          3:18-cv-15823

  1609          Howard, Janet                  Girardi & Keese          3:18-cv-15743

  1610           Kelly, Grace                  Girardi & Keese          3:18-cv-15827

  1611         Lehmann, Betty                  Girardi & Keese          3:18-cv-15857

  1612         Martin, Rhonda                  Girardi & Keese          3:18-cv-15869

  1613          Mateo, Gladys                  Girardi & Keese          3:18-cv-15877

  1614   Maynard-Schoobaar, Gervaise           Girardi & Keese          3:18-cv-15881

  1615         McDaniel, Tina                  Girardi & Keese          3:18-cv-01383

  1616           McLat, Jean                   Girardi & Keese          3:18-cv-15784

  1617         Proctor, Chuck                  Girardi & Keese          3:18-cv-15746

  1618       Montgomery, Joyce                 Girardi & Keese          3:18-cv-15814

  1619           Muniz, Elicia                 Girardi & Keese          3:18-cv-15815

  1620         Pitcher, Deborah                Girardi & Keese          3:18-cv-15821

  1621        Johnson, Deeann                  Girardi & Keese          3:18-cv-15749

  1622      Ramirez, Awelda Perez              Girardi & Keese          3:18-cv-15750

  1623         Ravert, Chester                 Girardi & Keese          3:18-cv-15751

  1624          Ruge, Ronald                   Girardi & Keese          3:18-cv-15753

  1625         Shenton, Joseph                 Girardi & Keese          3:18-cv-15754

  1626          Sims, Ronald                   Girardi & Keese          3:18-cv-15755

  1627         Terwilliger, Judy               Girardi & Keese          3:18-cv-16000

  1628           Tovar, Marie                  Girardi & Keese          3:18-cv-16001

  1629        Hammond, Denise                  Girardi & Keese          3:18-cv-15771

  1630         Vassar, Sharon                  Girardi & Keese          3:18-cv-16002

  1631           Gill, George                  Girardi & Keese          3:18-cv-15594



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 46 of 90 PageID:
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 5RZ          &DVH1DPH                          3ODLQWLII)LUP V               &XUUHQW&DXVH
  1632       Greene, Patricia                      Girardi & Keese                 3:18-cv-15785

  1633        Daniel, Carolyn                      Girardi & Keese                 3:19-cv-01421

  1634        Seats, Brunice                       Girardi & Keese                 3:19-cv-00037

  1635           Gill, Lisa         Goldenberg Heller Antognoli & Rowland, P.C.    3:19-cv-00272

  1636          Cline, Mary                   Goldenberg Law, PLLC                 3:23-cv-21485

  1637          Wilds, Sara                   Goldenberg Law, PLLC                 3:19-cv-19563

  1638        Arcuni, Phyllis                  Goldstein Greco PC                  3:23-cv-15863

  1639        Fuqua, Stacey                     Goldstein Greco PC                 3:23-cv-15882

  1640        Cellino, Michele                  Goldstein Greco PC                 3:23-cv-15912

  1641        Ruggels, Carol                    Goldstein Greco PC                 3:23-cv-15933

  1642      Danziger, Sheldon                   Goldstein Greco PC                 3:23-cv-15956

  1643          Entz, Amy                       Goldstein Greco PC                 3:23-cv-15985

  1644       Erhart, Joseph C.                  Goldstein Greco PC                 3:23-cv-15999

  1645      Creveling, Frances                  Goldstein Greco PC                 3:23-cv-16016

  1646          Ritter, Jerri                   Goldstein Greco PC                 3:23-cv-16041

  1647       Kingsley, Joshua                   Goldstein Greco PC                 3:23-cv-16080

  1648        Gudell, Michael                   Goldstein Greco PC                 3:23-cv-16104

  1649         Myles, Pearlie                   Goldstein Greco PC                 3:23-cv-16120

  1650        Jarmel, Warren                    Goldstein Greco PC                 3:23-cv-16132

  1651        Lawrence, Lisa                    Goldstein Greco PC                 3:23-cv-16161

  1652          Knauf, Alan                     Goldstein Greco PC                 3:23-cv-16176

  1653       Bucholtz, Virginia                 Goldstein Greco PC                 3:23-cv-16217

  1654       Laruccia, Jerome                   Goldstein Greco PC                 3:23-cv-16635

  1655      Lonneville, Michael                 Goldstein Greco PC                 3:23-cv-16656

  1656       Masterson, Gary                    Goldstein Greco PC                 3:23-cv-16672

  1657       McCracken, Brian                   Goldstein Greco PC                 3:23-cv-16704

  1658     Mccray-Gardner, Inez                 Goldstein Greco PC                 3:23-cv-16719

  1659          Apap, Linda                     Goldstein Greco PC                 3:23-cv-16740

  1660          Wong, Lisa                      Goldstein Greco PC                 3:23-cv-16760

  1661        Farley, Alisann                   Goldstein Greco PC                 3:23-cv-16779

  1662        Faicco, Lauren                    Goldstein Greco PC                 3:23-cv-16799

  1663     Panepento, Shannon                   Goldstein Greco PC                 3:23-cv-16820

  1664       Penndorf, Henry                    Goldstein Greco PC                 3:23-cv-16847

  1665      Akinlawon, Valarie                  Goldstein Greco PC                 3:23-cv-16885

  1666         Rivera, Libby                    Goldstein Greco PC                 3:23-cv-16903

  1667     Rusmijati-Giobbe, Vivi               Goldstein Greco PC                 3:23-cv-16912

  1668     Scolamiero, Michael                  Goldstein Greco PC                 3:23-cv-16931

  1669        Seeman, Brad                      Goldstein Greco PC                 3:23-cv-16941

  1670         Serwon, Mary                     Goldstein Greco PC                 3:23-cv-16953

  1671       Stellabuto, Nikol                  Goldstein Greco PC                 3:23-cv-16966

  1672       Schwantes, Julie                   Goldstein Greco PC                 3:23-cv-17934

  1673       Michalski, Edward                  Goldstein Greco PC                 3:23-cv-17831

  1674        Pilcher, James                    Goldstein Greco PC                 3:23-cv-17954

  1675       Chapman, Susan                     Goldstein Greco PC                 3:23-cv-17896

  1676        Stiegler, James                   Goldstein Greco PC                 3:23-cv-17476

  1677          Weiss, Carl                     Goldstein Greco PC                 3:23-cv-17670



                                              41
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 47 of 90 PageID:
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 5RZ         &DVH1DPH                    3ODLQWLII)LUP V         &XUUHQW&DXVH
  1678       Westfall, James             Goldstein Greco PC           3:23-cv-17717

  1679       Karmel, Theresa             Goldstein Greco PC           3:23-cv-17743

  1680        Zengerski, Jay             Goldstein Greco PC           3:23-cv-17790

  1681      Weber, Mary Ann              Goldstein Greco PC           3:19-cv-05595

  1682      Mitchell, Roxanne         Golomb Spirt Grunfeld PC        3:18-cv-09694

  1683     Shellhouse, Shonna       Gori Julian & Associates, P.C.    3:18-cv-11133

  1684      Anderson, Shawn         Gori Julian & Associates, P.C.    3:18-cv-02165

  1685      Angustain, Laurie       Gori Julian & Associates, P.C.    3:18-cv-02163

  1686         Arroyo, Ana          Gori Julian & Associates, P.C.    3:18-cv-01239

  1687      Atterholt, Cynthia      Gori Julian & Associates, P.C.    3:18-cv-16785

  1688        Bailey, Micah         Gori Julian & Associates, P.C.    3:18-cv-05536

  1689         Baker, Larry         Gori Julian & Associates, P.C.    3:18-cv-02164

  1690       Barlow, Patricia       Gori Julian & Associates, P.C.    3:18-cv-09353

  1691       Basich, Adelaida       Gori Julian & Associates, P.C.    3:18-cv-01171

  1692      Bergquist, Cynthia      Gori Julian & Associates, P.C.    3:18-cv-07586

  1693        Bratton, Julius       Gori Julian & Associates, P.C.    3:18-cv-05374

  1694         Bray, Randy          Gori Julian & Associates, P.C.    3:18-cv-12332

  1695        Breier, Dennis        Gori Julian & Associates, P.C.    3:18-cv-01232

  1696       Breithaupt, Erma       Gori Julian & Associates, P.C.    3:18-cv-01181

  1697      Brewer, Candace         Gori Julian & Associates, P.C.    3:18-cv-10160

  1698        Brien, Pauline        Gori Julian & Associates, P.C.    3:18-cv-07579

  1699       Busack, TImothy        Gori Julian & Associates, P.C.    3:18-cv-17067

  1700      Busciacco, Maria        Gori Julian & Associates, P.C.    3:18-cv-01177

  1701     Cain, Charles Joyce      Gori Julian & Associates, P.C.    3:18-cv-08540

  1702      Carpenter, Barbara      Gori Julian & Associates, P.C.    3:18-cv-05368

  1703       Carpenter, Dawn        Gori Julian & Associates, P.C.    3:18-cv-17069

  1704       Carrero, Amparo        Gori Julian & Associates, P.C.    3:18-cv-01198

  1705        Clarke, Laura         Gori Julian & Associates, P.C.    3:18-cv-01174

  1706        Russell, Mary         Gori Julian & Associates, P.C.    3:18-cv-16497

  1707         Cogar, Larry         Gori Julian & Associates, P.C.    3:18-cv-03189

  1708         Collins, Roy         Gori Julian & Associates, P.C.    3:18-cv-01233

  1709       Cramer, Tonya          Gori Julian & Associates, P.C.    3:18-cv-01167

  1710         Curry, Alice         Gori Julian & Associates, P.C.    3:18-cv-16790

  1711        Dortch, Mable         Gori Julian & Associates, P.C.    3:18-cv-01137

  1712       Hodges, Shelley        Gori Julian & Associates, P.C.    3:18-cv-08661

  1713         Durfee, Tom          Gori Julian & Associates, P.C.    3:18-cv-11335

  1714       Edmond, Ursula         Gori Julian & Associates, P.C.    3:18-cv-15430

  1715        Blumberg, Jay         Gori Julian & Associates, P.C.    3:18-cv-11144

  1716        Felton, Robert        Gori Julian & Associates, P.C.    3:18-cv-01228

  1717       Fessler, Sidney        Gori Julian & Associates, P.C.    3:18-cv-05391

  1718        Fierro, Martha        Gori Julian & Associates, P.C.    3:18-cv-11284

  1719       Foster, Pamela         Gori Julian & Associates, P.C.    3:18-cv-01141

  1720      Gallegos, Thomas        Gori Julian & Associates, P.C.    3:18-cv-07552

  1721         Garza, Janis         Gori Julian & Associates, P.C.    3:18-cv-01200

  1722     Glover, Brenda Faye      Gori Julian & Associates, P.C.    3:18-cv-00480

  1723       Goble, Rochelle        Gori Julian & Associates, P.C.    3:18-cv-02693



                                       42
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 48 of 90 PageID:
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 5RZ         &DVH1DPH                    3ODLQWLII)LUP V         &XUUHQW&DXVH
  1724       Golden, Deborah        Gori Julian & Associates, P.C.    3:18-cv-05366

  1725       Dykstra, Yvonne        Gori Julian & Associates, P.C.    3:18-cv-09337

  1726       Guise, Lawrence        Gori Julian & Associates, P.C.    3:18-cv-05381

  1727        Haines, Susan         Gori Julian & Associates, P.C.    3:18-cv-02162

  1728      Marzella, Christine     Gori Julian & Associates, P.C.    3:18-cv-09490

  1729       Heinking, Bonnie       Gori Julian & Associates, P.C.    3:18-cv-07568

  1730     Hickman, Mary Luann      Gori Julian & Associates, P.C.    3:18-cv-01242

  1731      Hightower, William      Gori Julian & Associates, P.C.    3:18-cv-02695

  1732          Hill, Ernest        Gori Julian & Associates, P.C.    3:18-cv-09492

  1733       Hooks, Dorothy         Gori Julian & Associates, P.C.    3:18-cv-09484

  1734       Horning, Donald        Gori Julian & Associates, P.C.    3:18-cv-15424

  1735         Ilges, Debra         Gori Julian & Associates, P.C.    3:18-cv-05538

  1736         Imran, Sonia         Gori Julian & Associates, P.C.    3:18-cv-08538

  1737        Jones, Johnny         Gori Julian & Associates, P.C.    3:18-cv-01888

  1738       Jaram, Mary Ann        Gori Julian & Associates, P.C.    3:18-cv-03190

  1739      Jones, Martha Ann       Gori Julian & Associates, P.C.    3:18-cv-08542

  1740        Kilpatrick, Amy       Gori Julian & Associates, P.C.    3:18-cv-01134

  1741        Kinnison, Don         Gori Julian & Associates, P.C.    3:18-cv-09918

  1742      Kittenplan, Steven      Gori Julian & Associates, P.C.    3:18-cv-03222

  1743       Klimke, Andrea         Gori Julian & Associates, P.C.    3:18-cv-03218

  1744       Lakes, Deborah         Gori Julian & Associates, P.C.    3:18-cv-01175

  1745       Lamberti, Frank        Gori Julian & Associates, P.C.    3:18-cv-02664

  1746       Lawler, Chevelle       Gori Julian & Associates, P.C.    3:18-cv-02728

  1747         Little, Bonnie       Gori Julian & Associates, P.C.    3:18-cv-01145

  1748      Longobardi, Rosa        Gori Julian & Associates, P.C.    3:18-cv-11810

  1749      Lukasewicz, Mary        Gori Julian & Associates, P.C.    3:18-cv-09943

  1750         Mann, Mary           Gori Julian & Associates, P.C.    3:18-cv-09910

  1751       Marsey, Virginia       Gori Julian & Associates, P.C.    3:18-cv-16788

  1752       Materasso, Vita        Gori Julian & Associates, P.C.    3:18-cv-01259

  1753      McDaniel, Wanda         Gori Julian & Associates, P.C.    3:18-cv-09354

  1754      McIntosh, Michelle      Gori Julian & Associates, P.C.    3:18-cv-08247

  1755       McKenna, David         Gori Julian & Associates, P.C.    3:18-cv-15429

  1756    Mejia-Cordova, Enedina    Gori Julian & Associates, P.C.    3:18-cv-05378

  1757        Miller, Connie        Gori Julian & Associates, P.C.    3:18-cv-08244

  1758        Miller, Timothy       Gori Julian & Associates, P.C.    3:18-cv-01229

  1759         Miller, Sonya        Gori Julian & Associates, P.C.    3:18-cv-02094

  1760     Reynolds, Samantha       Gori Julian & Associates, P.C.    3:18-cv-01266

  1761        Moore, Nancy          Gori Julian & Associates, P.C.    3:18-cv-09942

  1762        Harold, William       Gori Julian & Associates, P.C.    3:18-cv-04411

  1763      Muncey, Deborah         Gori Julian & Associates, P.C.    3:18-cv-08283

  1764       Narcomey, Carla        Gori Julian & Associates, P.C.    3:18-cv-01139

  1765       Naughton, Raney        Gori Julian & Associates, P.C.    3:18-cv-01913

  1766      Newcome, Donna          Gori Julian & Associates, P.C.    3:18-cv-09953

  1767        Nicely, Patricia      Gori Julian & Associates, P.C.    3:18-cv-13010

  1768       O'Neill, Bonnita       Gori Julian & Associates, P.C.    3:18-cv-07610

  1769       Owens, Brenda          Gori Julian & Associates, P.C.    3:18-cv-02665



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 49 of 90 PageID:
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 5RZ         &DVH1DPH                    3ODLQWLII)LUP V         &XUUHQW&DXVH
  1770         Owens, Don           Gori Julian & Associates, P.C.    3:18-cv-09944

  1771      Paschang, Martha        Gori Julian & Associates, P.C.    3:18-cv-02091

  1772      Perkins, Candace        Gori Julian & Associates, P.C.    3:18-cv-01236

  1773         Phillips, Kim        Gori Julian & Associates, P.C.    3:18-cv-03185

  1774         Plass, Diane         Gori Julian & Associates, P.C.    3:18-cv-01164

  1775        Polvinen, Eino        Gori Julian & Associates, P.C.    3:18-cv-11333

  1776         Pratl, Susan         Gori Julian & Associates, P.C.    3:18-cv-11285

  1777      Prevost, Georgiana      Gori Julian & Associates, P.C.    3:18-cv-16794

  1778         Rak, Victoria        Gori Julian & Associates, P.C.    3:18-cv-11288

  1779       Richmond, Mary         Gori Julian & Associates, P.C.    3:18-cv-07598

  1780      Roberts, Kimberly       Gori Julian & Associates, P.C.    3:18-cv-02166

  1781       Robertson, Annie       Gori Julian & Associates, P.C.    3:18-cv-01209

  1782        Ross, Pamela          Gori Julian & Associates, P.C.    3:18-cv-01204

  1783       Ruby, Madeline         Gori Julian & Associates, P.C.    3:18-cv-01131

  1784         Ryan, Floyd          Gori Julian & Associates, P.C.    3:18-cv-11283

  1785       Sackett, James         Gori Julian & Associates, P.C.    3:18-cv-09646

  1786        Ranio, Edward         Gori Julian & Associates, P.C.    3:18-cv-01178

  1787        Setser, Starla        Gori Julian & Associates, P.C.    3:18-cv-15426

  1788      Shandor, Barbara        Gori Julian & Associates, P.C.    3:18-cv-05539

  1789        Shirley, Bryan        Gori Julian & Associates, P.C.    3:18-cv-01234

  1790      Shropshire, William     Gori Julian & Associates, P.C.    3:18-cv-09948

  1791         Slater, Paula        Gori Julian & Associates, P.C.    3:18-cv-09486

  1792       Straughn, Dena         Gori Julian & Associates, P.C.    3:18-cv-01143

  1793         Stull, Bonnie        Gori Julian & Associates, P.C.    3:18-cv-09906

  1794         Tebbutt, Lee         Gori Julian & Associates, P.C.    3:18-cv-05377

  1795     Terrell, Milton James    Gori Julian & Associates, P.C.    3:18-cv-01147

  1796        Thorne, Cindy         Gori Julian & Associates, P.C.    3:18-cv-02663

  1797         Toutant, Lisa        Gori Julian & Associates, P.C.    3:18-cv-16784

  1798        Traver, Loretta       Gori Julian & Associates, P.C.    3:18-cv-01892

  1799        Tworek, Kathy         Gori Julian & Associates, P.C.    3:18-cv-09350

  1800        Valueff, Nancy        Gori Julian & Associates, P.C.    3:18-cv-03191

  1801          Vick, Mary          Gori Julian & Associates, P.C.    3:18-cv-11145

  1802         Vogt, Roger          Gori Julian & Associates, P.C.    3:18-cv-16796

  1803        Walker, Ofelia        Gori Julian & Associates, P.C.    3:18-cv-01169

  1804          Webb, Jay           Gori Julian & Associates, P.C.    3:18-cv-01237

  1805        Wells, Pamela         Gori Julian & Associates, P.C.    3:18-cv-03215

  1806         West, Linda          Gori Julian & Associates, P.C.    3:18-cv-01148

  1807        Wise, Brenda          Gori Julian & Associates, P.C.    3:18-cv-01201

  1808         Wood, Tracy          Gori Julian & Associates, P.C.    3:18-cv-03213

  1809       Yettner, Jennifer      Gori Julian & Associates, P.C.    3:18-cv-01212

  1810       Zinnecker, Linda       Gori Julian & Associates, P.C.    3:18-cv-09927

  1811        Alandt, Vickie        Gori Julian & Associates, P.C.    3:19-cv-15522

  1812        Arispe, Donna         Gori Julian & Associates, P.C.    3:19-cv-14313

  1813         Arnold, Inaze        Gori Julian & Associates, P.C.    3:19-cv-21624

  1814       Ashley, Theresa        Gori Julian & Associates, P.C.    3:19-cv-15532

  1815        Bailey, Regina        Gori Julian & Associates, P.C.    3:19-cv-10974



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 50 of 90 PageID:
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 5RZ         &DVH1DPH                    3ODLQWLII)LUP V         &XUUHQW&DXVH
  1816         Banta, Nancy         Gori Julian & Associates, P.C.    3:19-cv-06806

  1817        Beard, Danika         Gori Julian & Associates, P.C.    3:19-cv-08537

  1818        Benson, Rachel        Gori Julian & Associates, P.C.    3:19-cv-11987

  1819          Biltz, Judy         Gori Julian & Associates, P.C.    3:19-cv-08539

  1820       Blacconiere, Ann       Gori Julian & Associates, P.C.    3:19-cv-06773

  1821         Bosan, Diane         Gori Julian & Associates, P.C.    3:19-cv-00683

  1822       Breese, Jennifer       Gori Julian & Associates, P.C.    3:19-cv-20678

  1823        Brown, Annette        Gori Julian & Associates, P.C.    3:19-cv-18175

  1824         Brown, Tracy         Gori Julian & Associates, P.C.    3:19-cv-00890

  1825         Bueno, Karen         Gori Julian & Associates, P.C.    3:19-cv-00688

  1826       Bustos, Barbara        Gori Julian & Associates, P.C.    3:19-cv-15524

  1827        Calahan, Nancy        Gori Julian & Associates, P.C.    3:19-cv-17115

  1828      Campbell, William       Gori Julian & Associates, P.C.    3:19-cv-08532

  1829          Carr, Alexis        Gori Julian & Associates, P.C.    3:19-cv-15533

  1830       Chandler, James        Gori Julian & Associates, P.C.    3:19-cv-12897

  1831        Choiniere, Gary       Gori Julian & Associates, P.C.    3:19-cv-17110

  1832        Collins, Karmen       Gori Julian & Associates, P.C.    3:19-cv-18178

  1833         Cox, Teresa          Gori Julian & Associates, P.C.    3:19-cv-00689

  1834       Williams, Teonia       Gori Julian & Associates, P.C.    3:19-cv-18163

  1835         Duvall, Edith        Gori Julian & Associates, P.C.    3:19-cv-06768

  1836       Ferguson, Marie        Gori Julian & Associates, P.C.    3:19-cv-10968

  1837        Fischer, Susan        Gori Julian & Associates, P.C.    3:19-cv-17106

  1838       Fodrocy, Jeanne        Gori Julian & Associates, P.C.    3:19-cv-21621

  1839       Gaspard, Patricia      Gori Julian & Associates, P.C.    3:19-cv-14431

  1840        Gatliff, Brenda       Gori Julian & Associates, P.C.    3:19-cv-15526

  1841       George, Deborah        Gori Julian & Associates, P.C.    3:19-cv-21613

  1842         Graft, Diane         Gori Julian & Associates, P.C.    3:19-cv-21596

  1843        Hazen, Yvonne         Gori Julian & Associates, P.C.    3:19-cv-14306

  1844        Grant, Raquel         Gori Julian & Associates, P.C.    3:19-cv-15530

  1845        Hicks, Sharon         Gori Julian & Associates, P.C.    3:19-cv-12898

  1846        Hadad, Charles        Gori Julian & Associates, P.C.    3:19-cv-00695

  1847       Hough, Susanne         Gori Julian & Associates, P.C.    3:19-cv-10970

  1848         Houts, Dawn          Gori Julian & Associates, P.C.    3:19-cv-06803

  1849         Jakan, Janet         Gori Julian & Associates, P.C.    3:19-cv-14309

  1850       Johnson, Louise        Gori Julian & Associates, P.C.    3:19-cv-10760

  1851       Kandrach, Juliet       Gori Julian & Associates, P.C.    3:19-cv-00643

  1852     Karlson, Vanessa Erin    Gori Julian & Associates, P.C.    3:19-cv-15529

  1853        Kirkland, Lynne       Gori Julian & Associates, P.C.    3:19-cv-20675

  1854      Kissinger, Barbara      Gori Julian & Associates, P.C.    3:19-cv-10973

  1855        Lapointe, Patti       Gori Julian & Associates, P.C.    3:19-cv-00648

  1856       Lincoln, Kimberly      Gori Julian & Associates, P.C.    3:19-cv-08533

  1857        Maddox, Deana         Gori Julian & Associates, P.C.    3:19-cv-20681

  1858        McFall, Tasha         Gori Julian & Associates, P.C.    3:19-cv-18173

  1859        Meister, Karen        Gori Julian & Associates, P.C.    3:19-cv-17114

  1860         Mercer, Pier         Gori Julian & Associates, P.C.    3:19-cv-17120

  1861       Michaud, Nancy         Gori Julian & Associates, P.C.    3:19-cv-14434



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 51 of 90 PageID:
                                 177340

 5RZ          &DVH1DPH                   3ODLQWLII)LUP V         &XUUHQW&DXVH
  1862         Miller, David E      Gori Julian & Associates, P.C.    3:19-cv-21626

  1863        Mitchell, Patricia    Gori Julian & Associates, P.C.    3:19-cv-08538

  1864          Moore, April        Gori Julian & Associates, P.C.    3:19-cv-20671

  1865     Nalepinski, Mary Kim     Gori Julian & Associates, P.C.    3:19-cv-21592

  1866       Navarro, Mariam        Gori Julian & Associates, P.C.    3:19-cv-12899

  1867      Nicholson, Vanessa      Gori Julian & Associates, P.C.    3:19-cv-18170

  1868      Normandeau, Opal        Gori Julian & Associates, P.C.    3:19-cv-10971

  1869        Nunnery, Violet       Gori Julian & Associates, P.C.    3:19-cv-10773

  1870         O'Neill, Betty       Gori Julian & Associates, P.C.    3:19-cv-00682

  1871         Olsen, Sharon        Gori Julian & Associates, P.C.    3:19-cv-00698

  1872       Orlando, Maureen       Gori Julian & Associates, P.C.    3:19-cv-17123

  1873         Piech, Sandra        Gori Julian & Associates, P.C.    3:19-cv-00634

  1874    Rahming-Wade, Learlean    Gori Julian & Associates, P.C.    3:19-cv-00647

  1875         Taylor, Shane        Gori Julian & Associates, P.C.    3:19-cv-15535

  1876         Scott, Marina        Gori Julian & Associates, P.C.    3:19-cv-18152

  1877           Shaw, Ava          Gori Julian & Associates, P.C.    3:19-cv-10991

  1878        Shugert, Dawn         Gori Julian & Associates, P.C.    3:19-cv-20672

  1879         Sims, Tammy          Gori Julian & Associates, P.C.    3:19-cv-20690

  1880        Smith, Lee Ann        Gori Julian & Associates, P.C.    3:19-cv-18154

  1881       Somers, Deborah        Gori Julian & Associates, P.C.    3:19-cv-20683

  1882       Sondker, Michele       Gori Julian & Associates, P.C.    3:19-cv-20686

  1883       Stalker, Catherine     Gori Julian & Associates, P.C.    3:19-cv-17109

  1884     Swanager, Lewis Lee      Gori Julian & Associates, P.C.    3:19-cv-08531

  1885        Swanson, Joyce        Gori Julian & Associates, P.C.    3:19-cv-21608

  1886         Testa, Sarah         Gori Julian & Associates, P.C.    3:19-cv-20688

  1887        Tinney, Shirley       Gori Julian & Associates, P.C.    3:19-cv-06778

  1888        Tomlin, Dwenah        Gori Julian & Associates, P.C.    3:19-cv-18172

  1889      Watkins, Cassandra      Gori Julian & Associates, P.C.    3:19-cv-18171

  1890        Wheeler, Vickie       Gori Julian & Associates, P.C.    3:19-cv-17117

  1891        Williams, Janie       Gori Julian & Associates, P.C.    3:19-cv-21610

  1892        Williams, Joan        Gori Julian & Associates, P.C.    3:19-cv-17121

  1893        Williamson, Lori      Gori Julian & Associates, P.C.    3:19-cv-21619

  1894         Wright, Laurie       Gori Julian & Associates, P.C.    3:19-cv-17112

  1895       Babauta, Joseph            Goza & Honnold, LLC           3:18-cv-11691

  1896        Dennis, Charles           Goza & Honnold, LLC           3:18-cv-08061

  1897         Cramer, Dulsa            Goza & Honnold, LLC           3:19-cv-11819

  1898        Griffin, Amanda           Goza & Honnold, LLC           3:19-cv-12170

  1899        Hannah, Shirley           Goza & Honnold, LLC           3:19-cv-12158

  1900         Henry, Mildred           Goza & Honnold, LLC           3:19-cv-12142

  1901       Lathrop, Geraldine         Goza & Honnold, LLC           3:19-cv-12156

  1902        Moodt, Pamela             Goza & Honnold, LLC           3:19-cv-12145

  1903         Word, Crystal          Graham P. Carner, PLLC          3:18-cv-14353

  1904       Benedict, Steven         Grant & Eisenhofer P. A.        3:23-cv-21139

  1905           Gibb, Tara           Grant & Eisenhofer P. A.        3:23-cv-22343

  1906        Hailey, Deborah          Hannon Law Firm, LLC           3:19-cv-14744

  1907       Lumpkins, Camille         Heard Law Firm, PLLC           3:18-cv-13415



                                       46
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 52 of 90 PageID:
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  1908      Milliren, Sandra Jean                   Helmsdale Law, LLP                     3:18-cv-12164

  1909         Tagle, Tamra                               Hilliard Law                     3:23-cv-21394

  1910          Jones, Terri                   Hilliard Martinez Gonzales, LLP             3:19-cv-13518

  1911       Coston, Catherine                        Holland Law Firm                     3:18-cv-17079

  1912        Saflor, Edgard S                        Holland Law Firm                     3:18-cv-17381

  1913       McFarlin, Sabrina                        Holland Law Firm                     3:19-cv-20377

  1914         Davis, Shirley                         Holland Law Firm                     3:19-cv-21030

  1915         Bolin, Angela                          Holland Law Firm                     3:19-cv-14551

  1916        Callahan, Jasper                       Hossley Embry LLP                     3:19-cv-12601

  1917       Marciniak, Celina                    Hurley McKenna & Mertz                   3:18-cv-16964

  1918        Bryant, Timothy                     Hurley McKenna & Mertz                   3:19-cv-12051

  1919         Tse, Stephen                   Jason J. Joy & Assciates P.L.L.C.            3:23-cv-16061

  1920         Warren, Tara                        Johnson Becker, PLLC                    3:18-cv-02541

  1921         Gaskin, Sheryl                      Johnson Becker, PLLC                    3:19-cv-16072

  1922         Powers, Irene                       Johnson Becker, PLLC                    3:19-cv-12498
            Smith, Shirley Frank      Kapusta Deihl & Schweers, LLC // Motley Rice, LLC    3:19-cv-00104
  1923
  1924           Bury, Ann                          Karr Tuttle Campbell                   3:19-cv-17751

  1925          Allen, Ashley                       Keller Postman, LLC                    3:23-cv-18949

  1926         Foster, Andrea                       Keller Postman, LLC                    3:23-cv-18971

  1927        Lassiter, Brenda                      Keller Postman, LLC                    3:23-cv-19502

  1928         Lesney, Karen                        Keller Postman, LLC                    3:23-cv-18981

  1929         Ming, Cynthia                        Keller Postman, LLC                    3:23-cv-19005

  1930        Parker, Tanasha                       Keller Postman, LLC                    3:23-cv-19018

  1931        Quesada, Twana                        Keller Postman, LLC                    3:23-cv-19034

  1932       Trammell, Adrina                       Keller Postman, LLC                    3:23-cv-19056

  1933        Owens, Jasmine                   Kershaw, Cutter & Ratinoff, LLP             3:23-cv-17309

  1934         Marrache, Yvie                           Kiesel Law, LLP                    3:19-cv-14337

  1935   Medina, Rosa Monica Serna                      Kiesel Law, LLP                    3:19-cv-21076
             Callahan, Deborah       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-16382
  1936
               Reece, Shane          Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-17168
  1937                                            // Martinian & Associates, Inc.
              Corder, Jamie D        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-16476
  1938                                            // Martinian & Associates, Inc.
              Dazen, Jeanette        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-17587
  1939                                            // Martinian & Associates, Inc.
              Fulton, Deborah        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-13915
  1940                                            // Martinian & Associates, Inc.
               Pruitt, Jessica       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-17588
  1941                                            // Martinian & Associates, Inc.
               Hayes, Sharon         Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-13899
  1942                                            // Martinian & Associates, Inc.
               Hyland, Cheryl        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-18885
  1943                                            // Martinian & Associates, Inc.
              James, Rhonda          Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-14421
  1944                                            // Martinian & Associates, Inc.
               Ladner, Tonia         Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-13439
  1945                                            // Martinian & Associates, Inc.
            McClintock, Virginia     Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ        3:19-cv-15392
  1946                                            // Martinian & Associates, Inc.




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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 53 of 90 PageID:
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                Mitchell, Jane        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-15425
  1947                                             // Martinian & Associates, Inc.
                Moina, Janet          Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-17586
  1948                                             // Martinian & Associates, Inc.
                Otis, Barbara         Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-13913
  1949                                             // Martinian & Associates, Inc.
               Perez, Sylvia G        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-21337
  1950                                             // Martinian & Associates, Inc.
               Radbill, Natalie       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-16389
  1951                                             // Martinian & Associates, Inc.
              Sanchez, Yvonne         Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-14419
  1952                                             // Martinian & Associates, Inc.
          Sena-Hernandez, Christina   Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-16241
  1953                                             // Martinian & Associates, Inc.
              Simmons, Tammy          Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-17939
  1954                                             // Martinian & Associates, Inc.
               Wallace, Panilla       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-17589
  1955                                             // Martinian & Associates, Inc.
             Whitehead, Amelia        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-21318
  1956                                             // Martinian & Associates, Inc.
               Collins, Lynette       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-19264
  1957                                             // Martinian & Associates, Inc.
             Williams, Suzanna        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-13438
  1958                                             // Martinian & Associates, Inc.
               Worley, Dorothy        Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ             3:19-cv-17932
  1959                                             // Martinian & Associates, Inc.
               Linnebur, Karen         Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-18074
  1960                                             Law Offices of Haytham Faraj
               Gould, Dalphina         Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-06856
  1961                                             Law Offices of Haytham Faraj
               Lafrance, Eula          Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-06853
  1962                                             Law Offices of Haytham Faraj
                 Long, Linda           Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-17530
  1963                                             Law Offices of Haytham Faraj
               Mendoza, Maria          Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-17533
  1964                                             Law Offices of Haytham Faraj
                Vines, Teresa          Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-17534
  1965                                             Law Offices of Haytham Faraj
                Wilburn, Mela          Kiesel Law, LLP // Martinian & Associates, Inc. // The    3:19-cv-06857
  1966                                             Law Offices of Haytham Faraj
  1967         Buvinger, Linda                  Killian, Davis, Richter & Mayle, PC              3:19-cv-15825

  1968        Warren, Rebecca                   Killian, Davis, Richter & Mayle, PC              3:19-cv-17814

  1969        Harrington, Anna                        Kirkendall Dwyer LLP                       3:23-cv-21162

  1970          Pena, Amber                           Kirkendall Dwyer LLP                       3:23-cv-21165

  1971      Washingon, Veronica                      Kirtland & Packard, LLP                     3:23-cv-20723

  1972       Richardson, Valerie                     Kirtland & Packard, LLP                     3:23-cv-17123

  1973          Agasar, Mary                          Kline & Specter, P.C.                      3:23-cv-18883

  1974    Brennan, Cassandra Sue                      Kline & Specter, P.C.                      3:23-cv-19303

  1975        Brooks, Rosie P.                        Kline & Specter, P.C.                      3:23-cv-19320

  1976        Castellaneta, Ken                       Kline & Specter, P.C.                      3:23-cv-19450

  1977        Douglas, Karen S                        Kline & Specter, P.C.                      3:23-cv-19350

  1978         Fournier, Marc                         Kline & Specter, P.C.                      3:23-cv-19323

  1979          Garay, Aimee                          Kline & Specter, P.C.                      3:23-cv-19360

  1980       Grace, Catherine O.                      Kline & Specter, P.C.                      3:23-cv-19365

  1981          Hanson, Fred                          Kline & Specter, P.C.                      3:23-cv-19377

  1982       Holibaugh, Kristine                      Kline & Specter, P.C.                      3:23-cv-19385



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 54 of 90 PageID:
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 5RZ            &DVH1DPH                   3ODLQWLII)LUP V   &XUUHQW&DXVH
  1983       Manganaro, Vivian S         Kline & Specter, P.C.    3:23-cv-19397

  1984           Martin, Linda           Kline & Specter, P.C.    3:23-cv-19420

  1985          Martin, Nelda T          Kline & Specter, P.C.    3:23-cv-19412

  1986          Pedersen, Steve          Kline & Specter, P.C.    3:23-cv-19302

  1987         Plantone, Tiffany         Kline & Specter, P.C.    3:23-cv-19417
         Reynolds, Gaynellaus Reynolds   Kline & Specter, P.C.    3:23-cv-19452
  1988
  1989       Riegsecker, Lowell J.       Kline & Specter, P.C.    3:23-cv-19460

  1990       Walker, II, Richard E.      Kline & Specter, P.C.    3:23-cv-19465

  1991       Swaby-Smith, Julie G        Kline & Specter, P.C.    3:23-cv-19469

  1992          Taylor, Edward           Kline & Specter, P.C.    3:23-cv-19477

  1993         Traylor, Antonette        Kline & Specter, P.C.    3:23-cv-19482

  1994          White, Marlin E          Kline & Specter, P.C.    3:23-cv-19491

  1995          Williams, Edith          Kline & Specter, P.C.    3:23-cv-19499

  1996    Zambik-Simckowitz, Mary J      Kline & Specter, P.C.    3:23-cv-19504

  1997           Irving, Shelby          Kline & Specter, P.C.    3:23-cv-19958

  1998         Johnson, Karene           Kline & Specter, P.C.    3:23-cv-19956

  1999          Moody, William           Kline & Specter, P.C.    3:23-cv-19970

  2000            Lott, Steven           Kline & Specter, P.C.    3:23-cv-19950

  2001       Palmer-Watts, Carletta      Kline & Specter, P.C.    3:23-cv-19975

  2002         Shamsie, Candice          Kline & Specter, P.C.    3:23-cv-19962

  2003       Smith-Kurtbek, Dana         Kline & Specter, P.C.    3:23-cv-19988

  2004        Weiksner, Kenneth          Kline & Specter, P.C.    3:23-cv-19982

  2005            Bailey, Hilda          Kline & Specter, P.C.    3:23-cv-20056

  2006          Bolton, Dianne           Kline & Specter, P.C.    3:23-cv-20133

  2007          Brown, Darlene           Kline & Specter, P.C.    3:23-cv-20059

  2008           Bush, Agnes             Kline & Specter, P.C.    3:23-cv-20045

  2009           Callison, Doris         Kline & Specter, P.C.    3:23-cv-20055

  2010         Campbell, Tashia          Kline & Specter, P.C.    3:23-cv-20192

  2011            Cole, Mary             Kline & Specter, P.C.    3:23-cv-20109

  2012          Frazier, Brenda          Kline & Specter, P.C.    3:23-cv-20061

  2013       Gradington, Supapan         Kline & Specter, P.C.    3:23-cv-20209

  2014         Johnsen, Melissa          Kline & Specter, P.C.    3:23-cv-20064

  2015          Nothaft, Robert          Kline & Specter, P.C.    3:23-cv-20280

  2016           O'hara, Allen           Kline & Specter, P.C.    3:23-cv-20065

  2017         Perriciene, Joann         Kline & Specter, P.C.    3:23-cv-20274

  2018           Rarick, Nancy           Kline & Specter, P.C.    3:23-cv-20096

  2019          Roberts, Cellie          Kline & Specter, P.C.    3:23-cv-20088

  2020          Roman, Maritza           Kline & Specter, P.C.    3:23-cv-20252

  2021           Smith, Tracey           Kline & Specter, P.C.    3:23-cv-20136

  2022          Souza, Joanne            Kline & Specter, P.C.    3:23-cv-20184

  2023         Stewart, Alycefaye        Kline & Specter, P.C.    3:23-cv-20283

  2024          Daniel, Theresa          Kline & Specter, P.C.    3:18-cv-11798

  2025         Delman, Jacob A.          Kline & Specter, P.C.    3:18-cv-11797

  2026           Owens, Lena             Kline & Specter, P.C.    3:18-cv-08314

  2027       Vinciguerra, Susanna        Kline & Specter, P.C.    3:18-cv-13648




                                         49
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 55 of 90 PageID:
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  2028       Bramanti, Chelsea                 Kline & Specter, P.C.               3:19-cv-09160

  2029       Keeffe, Desiree D                 Kline & Specter, P.C.               3:19-cv-11730

  2030         Lacy, Kelly M                   Kline & Specter, P.C.               3:19-cv-19130

  2031        Polak, Cariamber                 Knapp & Roberts, P.C.               3:18-cv-12871

  2032            Hull, Erin                Law Office of Amanda Lewis             3:23-cv-11837

  2033        Johnson, Cecilia              Law Office of Amanda Lewis             3:23-cv-11852

  2034       Dockendorf, Maria          Law Office of Charles H Johnson, PA        3:19-cv-13624
               Galang, Audra         Law Office of Isaac Toveg Professional Law    3:20-cv-00166
  2035                                               Corporation
                Ogg, Karen           Law Office of Isaac Toveg Professional Law    3:20-cv-00126
  2036                                               Corporation
  2037      Tyson, Jacqueline M          Law Office of Paul H Bass, PLLC           3:19-cv-12229

  2038       Fulmore, Michelle            Law Offices of Donald G. Norris          3:23-cv-16972

  2039          Marlow, Tina              Law Offices of Donald G. Norris          3:23-cv-16957

  2040        Taylor, Michelle            Law Offices of Donald G. Norris          3:23-cv-16986

  2041        Robertson, Keja             Law Offices of Donald G. Norris          3:23-cv-18404

  2042         Alvarado, Ruth             Law Offices of Donald G. Norris          3:23-cv-19991

  2043        Almquist, Donald            Law Offices of Donald G. Norris          3:23-cv-19995

  2044          Avery, Olivia             Law Offices of Donald G. Norris          3:23-cv-20076

  2045         Carver, Lynda              Law Offices of Donald G. Norris          3:23-cv-20186

  2046         Dubon, Cindy               Law Offices of Donald G. Norris          3:23-cv-20190

  2047       Patridge, Thomas             Law Offices of Donald G. Norris          3:23-cv-20040

  2048         Patton, Evelyn             Law Offices of Donald G. Norris          3:23-cv-20207

  2049         Duran, Cergio              Law Offices of Donald G. Norris          3:23-cv-20355

  2050           Allen, Kim               Law Offices of Donald G. Norris          3:23-cv-20377

  2051         Himler, Brenda             Law Offices of Donald G. Norris          3:19-cv-16146

  2052        Rodriguez, Dora             Law Offices of Donald G. Norris          3:19-cv-05798

  2053        Wilder, Veronica           Law Offices of James Scott Farrin         3:18-cv-05705

  2054         Baney, Jeanna                Lenze Kamerrer Moss, PLC               3:18-cv-09912

  2055      Crimmins, Kathleen              Lenze Kamerrer Moss, PLC               3:18-cv-15697

  2056        Graham, Gloria                Lenze Kamerrer Moss, PLC               3:18-cv-12024

  2057      Moore, Annie Louise             Lenze Kamerrer Moss, PLC               3:18-cv-09924

  2058        Young, Louanne                Lenze Kamerrer Moss, PLC               3:18-cv-15486

  2059    Beczek, Barbara Apolonia          Lenze Kamerrer Moss, PLC               3:19-cv-14103

  2060         Davis, Charles               Lenze Kamerrer Moss, PLC               3:19-cv-12325

  2061        Esparza, Crystal              Lenze Kamerrer Moss, PLC               3:19-cv-04165

  2062        Monroe, Pamela                Lenze Kamerrer Moss, PLC               3:18-cv-13674

  2063     Rosarioereyes, Pamela            Lenze Kamerrer Moss, PLC               3:19-cv-14099

  2064       Lutcher, Jacqueline            Lenze Kamerrer Moss, PLC               3:19-cv-17136

  2065         Smith, Leanna                Lenze Kamerrer Moss, PLC               3:18-cv-09949

  2066          Lyles, Eddie                Lenze Kamerrer Moss, PLC               3:19-cv-09247

  2067         White, Michelle              Lenze Kamerrer Moss, PLC               3:19-cv-10423

  2068       Wainscott, Mayra               Lenze Kamerrer Moss, PLC               3:19-cv-18939

  2069          Bailey, Kelli                   Lenze Lawyers, PLC                 3:19-cv-22139

  2070      Collymore, Denique                  Lenze Lawyers, PLC                 3:19-cv-19787

  2071          Hoe, Nancy                      Lenze Lawyers, PLC                 3:19-cv-16227

  2072       King Sr., Nathaniel                Lenze Lawyers, PLC                 3:19-cv-19788



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 56 of 90 PageID:
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  2073       Kirschbaum, Lisa                         Lenze Lawyers, PLC                        3:19-cv-22141

  2074        Olivas, Melanie                         Lenze Lawyers, PLC                        3:19-cv-14163

  2075      Sambi, Gemma Dura                         Lenze Lawyers, PLC                        3:19-cv-18805

  2076         Curd, Barbara                       Levin Simes Abrams LLP                       3:23-cv-19248

  2077     Linquata, Jeanne Marie                  Levin Simes Abrams LLP                       3:23-cv-19229

  2078          Rose, W. V.                        Levin Simes Abrams LLP                       3:23-cv-19300

  2079        Johnston, Linda                            Levin Simes LLP                        3:18-cv-02364

  2080     Keleher, Jospeh John                          Levin Simes LLP                        3:18-cv-02561

  2081        Kelly, Geraldine                           Levin Simes LLP                        3:19-cv-08494
              Allen, Jessica L.      Levin, Papantonio, Thomas, Mitchell Rafferty & Proctor,    3:19-cv-01207
  2082                                                       P.A.
              Dunlap, Christy        Levin, Papantonio, Thomas, Mitchell Rafferty & Proctor,    3:19-cv-12103
  2083                                                       P.A.
  2084        Waters, Edward                  Levy Baldante Finney & Rubenstein                 3:19-cv-12594

  2085         Lee, Michelle                             Liakos Law APC                         3:23-cv-22008

  2086        Fletcher, Grace                            Liakos Law APC                         3:23-cv-22093

  2087          Labine, Jan                              Liakos Law APC                         3:23-cv-22092

  2088         Matson, Helen                             Liakos Law APC                         3:23-cv-22097

  2089         Duncan, Jane                              Liakos Law APC                         3:23-cv-22099

  2090      Harrison, Moquicha                       Ludwig Law Firm, PLC                       3:23-cv-18673

  2091       Steward, Donesha                        Ludwig Law Firm, PLC                       3:23-cv-18501

  2092        Walters, Dorothy                       Ludwig Law Firm, PLC                       3:23-cv-18639

  2093        Chance, Marsha                         Ludwig Law Firm, PLC                       3:23-cv-20306

  2094        McCraney, John                         Ludwig Law Firm, PLC                       3:23-cv-20301

  2095         Mahan, Larry                          Ludwig Law Firm, PLC                       3:23-cv-20304

  2096        Mixon, Tammie                          Ludwig Law Firm, PLC                       3:23-cv-20368

  2097        Cantrell, Charles                      Ludwig Law Firm, PLC                       3:23-cv-20481

  2098      Lindstrom, Candice                       Ludwig Law Firm, PLC                       3:23-cv-20482

  2099     Cross, Bernice Frazier                    Ludwig Law Firm, PLC                       3:23-cv-20498

  2100         Nowlin, James                         Ludwig Law Firm, PLC                       3:23-cv-20496

  2101       Johnson, Jerome                         Ludwig Law Firm, PLC                       3:23-cv-20492

  2102   Hampton, Caritha Robinson                   Ludwig Law Firm, PLC                       3:23-cv-20487

  2103           Smith, Hal                          Ludwig Law Firm, PLC                       3:23-cv-20489

  2104     Summerville, Precious                     Ludwig Law Firm, PLC                       3:23-cv-20484

  2105      Caballero, Margarita                     Ludwig Law Firm, PLC                       3:23-cv-20569

  2106        Kass, Mary Ann                         Ludwig Law Firm, PLC                       3:23-cv-17828

  2107        Bailey, Kimberly                       Ludwig Law Firm, PLC                       3:23-cv-18233

  2108        Butler, Rebecca                        Ludwig Law Firm, PLC                       3:23-cv-18131

  2109        Cesar, Karinna                         Ludwig Law Firm, PLC                       3:23-cv-18210

  2110        Harper, Debrah                         Ludwig Law Firm, PLC                       3:23-cv-18149

  2111         Kubik, Amber                          Ludwig Law Firm, PLC                       3:23-cv-18290

  2112       Melnyk, Concetta                        Ludwig Law Firm, PLC                       3:23-cv-18275

  2113        Renfroe, Shonna                        Ludwig Law Firm, PLC                       3:23-cv-18038

  2114        Smith, Maklisha                        Ludwig Law Firm, PLC                       3:23-cv-18021

  2115       Stockenauer, Codi                       Ludwig Law Firm, PLC                       3:23-cv-17956

  2116    Wagner-Chaffee, Wendy                      Ludwig Law Firm, PLC                       3:23-cv-18302

  2117      Steffy, Sr., David M.             Lundy, Lundy, Soileau & South, LLP                3:23-cv-19246



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 57 of 90 PageID:
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  2118    Mitchell Terry, Charlene         Lundy, Lundy, Soileau & South, LLP              3:18-cv-02564

  2119     Wardell Still, Valerie          Lundy, Lundy, Soileau & South, LLP              3:18-cv-02563

  2120     Bolin, Enedina Duran            Lundy, Lundy, Soileau & South, LLP              3:19-cv-06821

  2121     Mauro, Jimmy Tommy              Lundy, Lundy, Soileau & South, LLP              3:19-cv-07089

  2122      Miller, Elena Rose             Lundy, Lundy, Soileau & South, LLP              3:19-cv-06993

  2123    Trimble, Gwendolyn Ann           Lundy, Lundy, Soileau & South, LLP              3:19-cv-10315
            Soguilon, Ruthann        Martinian & Associates, Inc. // The Law Offices of    3:18-cv-03103
  2124                                               Haytham Faraj
             Roberts, Audrey         Martinian & Associates, Inc. // The Law Offices of    3:18-cv-03105
  2125                                               Haytham Faraj
  2126        Mount, Thomas                 Mary Alexander & Associates, P.C.              3:23-cv-18824

  2127       Oshetsky, Robert               Mary Alexander & Associates, P.C.              3:23-cv-20410

  2128        Hillyer, Richard                    McEwen Law Firm, Ltd.                    3:18-cv-11683

  2129       Tijerina, Claudia                    McEwen Law Firm, Ltd.                    3:18-cv-10830

  2130       Jones, Ralphael                   McGlynn, Glisson & Mouton                   3:19-cv-14279

  2131        Brown, Robert                     McSweeney/Langevin, LLC                    3:18-cv-11413

  2132        Davis, Audrey                     McSweeney/Langevin, LLC                    3:18-cv-13512

  2133      McDonald, James                     McSweeney/Langevin, LLC                    3:18-cv-13587

  2134      Pascucci, Beatrice                  McSweeney/Langevin, LLC                    3:18-cv-10726

  2135        Playford, Mytyl                   McSweeney/Langevin, LLC                    3:18-cv-10506

  2136       Sandeen, Lynnea                    McSweeney/Langevin, LLC                    3:18-cv-10416

  2137         Scifo, George                    McSweeney/Langevin, LLC                    3:18-cv-10607

  2138      Shevenock, Michael                  McSweeney/Langevin, LLC                    3:18-cv-13689

  2139         Sneed, Maria                     McSweeney/Langevin, LLC                    3:18-cv-10303

  2140         Fye, Dianna                      McSweeney/Langevin, LLC                    3:19-cv-18735

  2141        Johnson, Lydia                    McSweeney/Langevin, LLC                    3:19-cv-18199

  2142         Owens, Jack                      McSweeney/Langevin, LLC                    3:19-cv-19392

  2143          Jilek, Gary                    Meshbesher & Spence, Ltd.                   3:19-cv-14636

  2144      MacMullan, Diane                   Meshbesher & Spence, Ltd.                   3:19-cv-13920

  2145       Roberts, Debbra                   Meshbesher & Spence, Ltd.                   3:19-cv-13925

  2146        Rutten, Brenda                   Meshbesher & Spence, Ltd.                   3:19-cv-13933

  2147          Sostre, Rita                    Messa & Associates, P.C.                   3:19-cv-19540
           Prickett, Sandra Kopp     Milstein, Jackson, Fairchild & Wade, LLP // The       3:19-cv-20353
  2148                                           Michael Brady Lynch Firm
           Smith, Roberta Lynn       Milstein, Jackson, Fairchild & Wade, LLP // The       3:19-cv-20329
  2149                                           Michael Brady Lynch Firm
  2150       Villalobos, Maria                       Moll Law Group                        3:19-cv-01130

  2151       Williams, Gabriel                    Morelli Law Firm, PLLC                   3:23-cv-16975

  2152       Conklin, Charlene                    Morelli Law Firm, PLLC                   3:18-cv-15398

  2153      Hudson, Cassandra                     Morelli Law Firm, PLLC                   3:18-cv-00144

  2154        Martin, Joanne                      Morelli Law Firm, PLLC                   3:18-cv-17187

  2155      Waters, Joanna K                      Morelli Law Firm, PLLC                   3:18-cv-11399

  2156        Doherty, Mary                       Morelli Law Firm, PLLC                   3:19-cv-14692

  2157        Jones, Angela                       Morelli Law Firm, PLLC                   3:19-cv-08360

  2158       Battle, Benjamin                       Morgan & Morgan                        3:18-cv-03302

  2159         Lihte, Laraine                       Morgan & Morgan                        3:19-cv-22097

  2160       Wallace, Ana M                         Morgan & Morgan                        3:19-cv-20676

  2161      Johnson, Cleather                      Morris & Player PLLC                    3:18-cv-11261



                                                  52
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 58 of 90 PageID:
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  2162        Cobb, Catherine               Morris Bart, LLC     3:18-cv-08683

  2163        Dufrene, Carroll              Morris Bart, LLC     3:18-cv-10996

  2164          Estes, Toya                 Morris Bart, LLC     3:18-cv-14539

  2165         Fruge, Ashley                Morris Bart, LLC     3:18-cv-11003

  2166         Davis, Pamela                Morris Bart, LLC     3:18-cv-11914

  2167       Hardy, Shaphonia               Morris Bart, LLC     3:18-cv-08852

  2168        Hollman, Arzetta              Morris Bart, LLC     3:18-cv-15653

  2169      Moore, Barbara Bell             Morris Bart, LLC     3:18-cv-11421

  2170          Jones, Mable                Morris Bart, LLC     3:18-cv-09188

  2171          Landry, Delia               Morris Bart, LLC     3:18-cv-14543

  2172          Smith, Laura                Morris Bart, LLC     3:18-cv-10015

  2173          Latin, Loretta              Morris Bart, LLC     3:18-cv-11001

  2174        Lowrey, Bonnie                Morris Bart, LLC     3:18-cv-10999

  2175       Matherne, Patricia             Morris Bart, LLC     3:18-cv-14495

  2176          Scott, Judith               Morris Bart, LLC     3:18-cv-09700

  2177        Sonnier, Joseph               Morris Bart, LLC     3:18-cv-15972

  2178         Taylor Jr, Jack              Morris Bart, LLC     3:18-cv-09976

  2179        Williams, Wanda               Morris Bart, LLC     3:18-cv-09955

  2180        Williams, Marilyn             Morris Bart, LLC     3:19-cv-11856

  2181        Boswell, Verlinda             Morris Bart, LLC     3:19-cv-00946

  2182      Santemore, Tamika               Morris Bart, LLC     3:19-cv-00093

  2183       McLaughlin, Marie              Morris Bart, LLC     3:19-cv-14770

  2184     Anderson, Jr., Edward            Morris Law Firm      3:18-cv-00844

  2185      Tomaszek, Karen L.              Motley Rice, LLC     3:23-cv-15120

  2186        Perry, Melissa A.             Motley Rice, LLC     3:23-cv-16304

  2187        Brown, Betty Lee              Motley Rice, LLC     3:23-cv-18441

  2188      Opsoyan, Patricia L.            Motley Rice, LLC     3:23-cv-18198

  2189        Fasano, Georgia               Motley Rice, LLC     3:23-cv-18445

  2190       Simmons, Erin B.               Motley Rice, LLC     3:23-cv-17848

  2191      Spaulding, Doris M.             Motley Rice, LLC     3:23-cv-18437

  2192      Swanson, Marva M.               Motley Rice, LLC     3:23-cv-18427

  2193      Walker, Meta Louise             Motley Rice, LLC     3:23-cv-18406

  2194        Bomar, Susan J.               Motley Rice, LLC     3:23-cv-18655

  2195        Ford, Bessie N.               Motley Rice, LLC     3:23-cv-18921

  2196    Fuller-Pettingell, Georgia        Motley Rice, LLC     3:23-cv-18928

  2197       Hardwick, Lee M.               Motley Rice, LLC     3:23-cv-19151

  2198       Harris, Barbara J.             Motley Rice, LLC     3:23-cv-19159

  2199        Hayes, Gloria J.              Motley Rice, LLC     3:23-cv-19165

  2200        Levert, Debra E.              Motley Rice, LLC     3:23-cv-19171

  2201         Miller, Anita J.             Motley Rice, LLC     3:23-cv-19175

  2202          Mills, Rita M.              Motley Rice, LLC     3:23-cv-19179

  2203         Riley, Rosie L.              Motley Rice, LLC     3:23-cv-18936

  2204       Robbins, Karin A.              Motley Rice, LLC     3:23-cv-19183

  2205         Salinas, Rosa                Motley Rice, LLC     3:23-cv-18944

  2206         Scott, Eddie R.              Motley Rice, LLC     3:23-cv-18957

  2207        Scotton, Josie D.             Motley Rice, LLC     3:23-cv-19188



                                       53
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 59 of 90 PageID:
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  2208      Effingham, William             Motley Rice, LLC      3:23-cv-19306

  2209      Campbell, Deonna               Motley Rice, LLC      3:23-cv-19208

  2210      Grysban, Christine             Motley Rice, LLC      3:23-cv-19215

  2211       Foshee, Laura H.              Motley Rice, LLC      3:23-cv-19330

  2212     Penvose, Lorraine L.            Motley Rice, LLC      3:23-cv-19193

  2213      Rente, Jr., Henry L.           Motley Rice, LLC      3:23-cv-19419

  2214           Riley, Jon                Motley Rice, LLC      3:23-cv-19454

  2215      Bobersky, Albert F.            Motley Rice, LLC      3:23-cv-19946

  2216         Beltz, Lori A.              Motley Rice, LLC      3:23-cv-19892

  2217      Harris, Michelle N.            Motley Rice, LLC      3:23-cv-19903

  2218      Grandison, Thomas              Motley Rice, LLC      3:23-cv-19897

  2219      Jones, Pamela M.               Motley Rice, LLC      3:23-cv-19908

  2220         Schick, Diane               Motley Rice, LLC      3:23-cv-19947

  2221       Miller, Katrina R.            Motley Rice, LLC      3:23-cv-19913

  2222          Player, Ric                Motley Rice, LLC      3:23-cv-19957

  2223       Smith, Juanita R.             Motley Rice, LLC      3:23-cv-19926

  2224        Bostic, Gary R.              Motley Rice, LLC      3:23-cv-20079

  2225     Forrest, Betty Lowes            Motley Rice, LLC      3:23-cv-20129

  2226       Gordon, Danielle              Motley Rice, LLC      3:23-cv-20155

  2227     Suriel, Mauriceli Brito         Motley Rice, LLC      3:23-cv-20249

  2228       Adams, Maria A                Motley Rice, LLC      3:18-cv-10753

  2229       Adkins, Angela A              Motley Rice, LLC      3:18-cv-02159

  2230        Angilletta, Joan             Motley Rice, LLC      3:18-cv-08853

  2231       Arnold, Teresa D              Motley Rice, LLC      3:18-cv-01870

  2232     Beauchamp, Dianne J             Motley Rice, LLC      3:18-cv-01180

  2233     Berkey, Deborah Jean            Motley Rice, LLC      3:18-cv-17639

  2234         Bond, Marion                Motley Rice, LLC      3:18-cv-02160

  2235      Brodsky, Maxine N              Motley Rice, LLC      3:18-cv-15727

  2236     Brown, Helena Jean              Motley Rice, LLC      3:18-cv-02145

  2237      Burgess, Frances L             Motley Rice, LLC      3:18-cv-01739

  2238     Chappell, Morris Ray            Motley Rice, LLC      3:18-cv-03936

  2239       Combs, Cindy A                Motley Rice, LLC      3:18-cv-01595

  2240       Corley, Teresa A              Motley Rice, LLC      3:18-cv-01972

  2241       Cote, Tabatha S               Motley Rice, LLC      3:18-cv-01982

  2242        Cox, Roberta S               Motley Rice, LLC      3:18-cv-15293

  2243        Deffler, Sara E              Motley Rice, LLC      3:18-cv-01156

  2244       Dillard, Michelle             Motley Rice, LLC      3:18-cv-04400

  2245        Dixon, Janice E              Motley Rice, LLC      3:18-cv-02268

  2246       Dixon, Zelinda K              Motley Rice, LLC      3:18-cv-01105

  2247     Ducksworth, Sherron             Motley Rice, LLC      3:18-cv-10757

  2248     Durrance, Barbara E             Motley Rice, LLC      3:18-cv-16183

  2249     Fernandez, Baldonick            Motley Rice, LLC      3:18-cv-10755

  2250         Ferrell, Larry              Motley Rice, LLC      3:18-cv-00992

  2251      Flashman, Linda S              Motley Rice, LLC      3:18-cv-02607

  2252     Fuller, Robin Annette           Motley Rice, LLC      3:18-cv-02606

  2253         Giles, Clezell              Motley Rice, LLC      3:18-cv-10327



                                      54
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 60 of 90 PageID:
                                 177349

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  2254      Glover, Malinda Sue            Motley Rice, LLC      3:18-cv-16866

  2255    Golosewski, Mary Teresa          Motley Rice, LLC      3:18-cv-02152

  2256        Groff, Elmas F               Motley Rice, LLC      3:18-cv-02271

  2257        Hains, Nancy E               Motley Rice, LLC      3:18-cv-02127

  2258        Hander, David J              Motley Rice, LLC      3:18-cv-11522

  2259      Hartman, Marcella J            Motley Rice, LLC      3:18-cv-01351

  2260      Hernandez, Maria G             Motley Rice, LLC      3:18-cv-02277

  2261        Hubbard, Helen               Motley Rice, LLC      3:18-cv-08861

  2262      Johnson, Melissa T             Motley Rice, LLC      3:18-cv-09900

  2263       Kaufman, Susan                Motley Rice, LLC      3:18-cv-02864

  2264      Kurowski, Brenda L             Motley Rice, LLC      3:18-cv-09934

  2265        Land, Barbara A              Motley Rice, LLC      3:18-cv-02184

  2266      Lindgren, Kelly Rae            Motley Rice, LLC      3:18-cv-01170

  2267       Logozzo, Susan J              Motley Rice, LLC      3:18-cv-01873

  2268         Lund, Jane L                Motley Rice, LLC      3:18-cv-00950

  2269      McLaurin, Cynthia L            Motley Rice, LLC      3:18-cv-02266

  2270         Mendez, Nilda               Motley Rice, LLC      3:18-cv-02161

  2271       Mollere, Sr., Harry           Motley Rice, LLC      3:18-cv-02285

  2272         Moore, Duane                Motley Rice, LLC      3:18-cv-01655

  2273        Noullet, Betty J             Motley Rice, LLC      3:18-cv-02150

  2274         Ortiz, Gladys               Motley Rice, LLC      3:18-cv-17636

  2275       Park, Rosa Maria              Motley Rice, LLC      3:18-cv-01808

  2276         Patton, Penny               Motley Rice, LLC      3:18-cv-01163

  2277       Petersen, Judith I            Motley Rice, LLC      3:18-cv-00892

  2278     Raley, Johnnye Paula            Motley Rice, LLC      3:18-cv-17488

  2279         Rice, Carol J               Motley Rice, LLC      3:18-cv-01849

  2280     Rospond, Gabriela W             Motley Rice, LLC      3:18-cv-02600

  2281       Russell, Kathryn E            Motley Rice, LLC      3:18-cv-00979

  2282         Saucer, Lori S              Motley Rice, LLC      3:18-cv-02002

  2283       Scafuri, Anthony F            Motley Rice, LLC      3:18-cv-12240

  2284     Schiefer, Wendy Lee             Motley Rice, LLC      3:18-cv-10175

  2285      Schneck, Elizabeth             Motley Rice, LLC      3:18-cv-02609

  2286       Kayen, William B              Motley Rice, LLC      3:18-cv-12251

  2287       Simon, Barbara A              Motley Rice, LLC      3:18-cv-02727

  2288        Smith, Elizabeth             Motley Rice, LLC      3:18-cv-01298

  2289     Sommer-Kresse, Sue              Motley Rice, LLC      3:18-cv-02603

  2290        Theriot, Nancy J             Motley Rice, LLC      3:18-cv-01862

  2291       Tuleo, Michael C              Motley Rice, LLC      3:18-cv-01304

  2292       Upshur, Carolyn D             Motley Rice, LLC      3:18-cv-02119

  2293       Wallace, Wanda F              Motley Rice, LLC      3:18-cv-01391

  2294       Williams, Nadine              Motley Rice, LLC      3:18-cv-00995

  2295       Wilson, Beverly M             Motley Rice, LLC      3:18-cv-17652

  2296      Windham, Susan E               Motley Rice, LLC      3:18-cv-10212

  2297        Barnes, Juanita              Motley Rice, LLC      3:23-cv-21362

  2298       Agudelo, Marisol              Motley Rice, LLC      3:19-cv-18999

  2299     Thomason, George W              Motley Rice, LLC      3:19-cv-18254



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 61 of 90 PageID:
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  2300         Altman, Flora               Motley Rice, LLC      3:19-cv-18988

  2301       Applen, Virginia B            Motley Rice, LLC      3:19-cv-14140

  2302        Arnesen, Erna                Motley Rice, LLC      3:19-cv-16358

  2303       Begay, Sharon M               Motley Rice, LLC      3:19-cv-00530

  2304       Brown, Deborah E              Motley Rice, LLC      3:19-cv-06529

  2305         Brown, Glenn                Motley Rice, LLC      3:19-cv-16837

  2306       Cahoon, Debra J               Motley Rice, LLC      3:19-cv-18990

  2307       Calasara, Elma L              Motley Rice, LLC      3:19-cv-16232

  2308     Cobbs-Green, Andrea I           Motley Rice, LLC      3:19-cv-20216

  2309       Cole, Masheila W              Motley Rice, LLC      3:19-cv-19393

  2310      Crawford, Bernard E            Motley Rice, LLC      3:19-cv-20263

  2311     Dougherty, Roberta M            Motley Rice, LLC      3:19-cv-18587

  2312       Eldridge, Carol J             Motley Rice, LLC      3:19-cv-20127

  2313        Erskine, Jean L              Motley Rice, LLC      3:19-cv-20145

  2314      Farley, Elizabeth R            Motley Rice, LLC      3:19-cv-20499

  2315         Farr, Heidi R               Motley Rice, LLC      3:19-cv-19255

  2316         Fields, Van S               Motley Rice, LLC      3:19-cv-18895

  2317     Freeman, Donnarae L             Motley Rice, LLC      3:19-cv-16405

  2318       Gallegos, Teresa              Motley Rice, LLC      3:19-cv-19532

  2319       Ghafary, Maryam               Motley Rice, LLC      3:19-cv-17651

  2320         Cotta, Susan                Motley Rice, LLC      3:19-cv-11719

  2321       Groover, Penny H              Motley Rice, LLC      3:19-cv-20411

  2322         Gunter, Tanya               Motley Rice, LLC      3:19-cv-17649

  2323        Hicks, Vivian C              Motley Rice, LLC      3:19-cv-20580

  2324       Thomas, Timothy               Motley Rice, LLC      3:19-cv-20506

  2325         Kirby, Lauren               Motley Rice, LLC      3:19-cv-04775

  2326        Large, Wanda J               Motley Rice, LLC      3:20-cv-00071

  2327     Lewandowski, Royal L            Motley Rice, LLC      3:19-cv-18342

  2328        Long, Virginia R             Motley Rice, LLC      3:19-cv-13783

  2329         Maxson, Jill M              Motley Rice, LLC      3:19-cv-04777

  2330        McCoy, Tracy L               Motley Rice, LLC      3:19-cv-19614

  2331      McEndree, Connie L             Motley Rice, LLC      3:19-cv-19616

  2332     Millwood, Patricia Kay          Motley Rice, LLC      3:19-cv-04819

  2333        Nolan, Veronica              Motley Rice, LLC      3:19-cv-15350

  2334         Page, Tina L                Motley Rice, LLC      3:19-cv-20482

  2335         Knight, Gloria              Motley Rice, LLC      3:19-cv-19376

  2336       Rowland, Susan B              Motley Rice, LLC      3:19-cv-05852

  2337     Simpkins, Suzanne P             Motley Rice, LLC      3:19-cv-20548

  2338          Sosa, Maria                Motley Rice, LLC      3:19-cv-00521

  2339       Dominski, Jason               Motley Rice, LLC      3:19-cv-21679

  2340     Summerset, Bobby R              Motley Rice, LLC      3:19-cv-18659

  2341        Tates, Tierre T              Motley Rice, LLC      3:19-cv-07782

  2342     Terrebonne, Joycelyn            Motley Rice, LLC      3:19-cv-19262

  2343         Todd, James                 Motley Rice, LLC      3:19-cv-21461

  2344      Tomesch, Edwina L              Motley Rice, LLC      3:19-cv-22235

  2345       Toney, Helene M               Motley Rice, LLC      3:19-cv-16357



                                      56
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 62 of 90 PageID:
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 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2346       Vantell, Alberta M            Motley Rice, LLC      3:19-cv-21078

  2347        Walton, Mary N               Motley Rice, LLC      3:19-cv-00707

  2348     Youngblood, Doris M             Motley Rice, LLC      3:19-cv-18275

  2349       Brown, Joanna J               Murray Law Firm       3:18-cv-09278

  2350     Campbell, Eugene W              Murray Law Firm       3:18-cv-09679

  2351        Maier, Kenneth               Murray Law Firm       3:18-cv-16296

  2352         Burns, Martha               Murray Law Firm       3:18-cv-11217

  2353         Ede, Barbara                Murray Law Firm       3:19-cv-01570

  2354          Darter, Jodi               Murray Law Firm       3:19-cv-15179

  2355        Herbert, Doreen              Murray Law Firm       3:19-cv-04888

  2356        Hieye, Elizabeth             Murray Law Firm       3:19-cv-15539

  2357       Hoffman, Nancy L              Murray Law Firm       3:19-cv-01137

  2358        Luman, Patricia              Murray Law Firm       3:19-cv-04440

  2359        Griffin, Kenneth             Murray Law Firm       3:19-cv-05961

  2360     Thompson, Christiana            Murray Law Firm       3:19-cv-13320

  2361        Webb, Deborah                Murray Law Firm       3:19-cv-07513

  2362          Ellis, Linda          Nachawati Law Group        3:23-cv-20528

  2363         Dixson, Jerry          Nachawati Law Group        3:23-cv-20614

  2364       Evans, William C.        Nachawati Law Group        3:23-cv-20747

  2365        Shannon, Kevin          Nachawati Law Group        3:23-cv-20767

  2366         Thomas, Jerry          Nachawati Law Group        3:23-cv-20803

  2367        Sicotte, James          Nachawati Law Group        3:23-cv-20844

  2368         Smith, Rosie           Nachawati Law Group        3:23-cv-20825

  2369        Walker, Bobbie          Nachawati Law Group        3:23-cv-20832

  2370       Yzaguirre, Leticia       Nachawati Law Group        3:23-cv-20835

  2371     Bamulumbye, Benedict       Nachawati Law Group        3:23-cv-14679

  2372          Bryant, Fred          Nachawati Law Group        3:23-cv-14586

  2373       Calabria, Michael        Nachawati Law Group        3:23-cv-15020

  2374        Cheney, Brenda          Nachawati Law Group        3:23-cv-15024

  2375       Bingaman, Brooke         Nachawati Law Group        3:23-cv-14684

  2376        Delaney, Steve          Nachawati Law Group        3:23-cv-14686

  2377         Drake, Curtis          Nachawati Law Group        3:23-cv-14687

  2378     Freeborn, Emily Aileen     Nachawati Law Group        3:23-cv-15027

  2379        Fulton, Brandon         Nachawati Law Group        3:23-cv-15033

  2380        Garbeck, Ruriko         Nachawati Law Group        3:23-cv-15037

  2381      Geigenmiller, Ernest      Nachawati Law Group        3:23-cv-15044

  2382       Gonzalez, Miguel         Nachawati Law Group        3:23-cv-14693

  2383        Hackett, Robert         Nachawati Law Group        3:23-cv-15050

  2384      Thompson, Raquel          Nachawati Law Group        3:23-cv-14696

  2385         Hanks, Donna           Nachawati Law Group        3:23-cv-14726

  2386         Harris, Frank          Nachawati Law Group        3:23-cv-14737

  2387      Hartmayer, Warren         Nachawati Law Group        3:23-cv-14749

  2388        Branch, Gerald          Nachawati Law Group        3:23-cv-14753

  2389         Hilerio, Kama          Nachawati Law Group        3:23-cv-15053

  2390       Gardner, Shannon         Nachawati Law Group        3:23-cv-14754

  2391      Hopkins, Sheila Kay       Nachawati Law Group        3:23-cv-15059



                                      57
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 63 of 90 PageID:
                                 177352

 5RZ           &DVH1DPH                  3ODLQWLII)LUP V    &XUUHQW&DXVH
  2392         Huffman, Gary           Nachawati Law Group       3:23-cv-14755

  2393           Aten, Leigh           Nachawati Law Group       3:23-cv-14756

  2394         Johnson, Derek          Nachawati Law Group       3:23-cv-14757

  2395        Joslin, Tammie L         Nachawati Law Group       3:23-cv-15066

  2396         Kearns, Lisa M          Nachawati Law Group       3:23-cv-15072

  2397          Kiewitt, Brian         Nachawati Law Group       3:23-cv-14966

  2398      Lauerman, Daniel P.        Nachawati Law Group       3:23-cv-14987

  2399         Suydam, Adam            Nachawati Law Group       3:23-cv-20872

  2400      Bittner, Melissa Marie     Nachawati Law Group       3:23-cv-15415

  2401         Collins, Carmen         Nachawati Law Group       3:23-cv-15084

  2402           Cook, Maria           Nachawati Law Group       3:23-cv-15102

  2403     Cribben, Linda Frances      Nachawati Law Group       3:23-cv-15104

  2404         Deane, Donna            Nachawati Law Group       3:23-cv-15090

  2405          Diaz, Belinda          Nachawati Law Group       3:23-cv-15107

  2406         Dodson, Allison         Nachawati Law Group       3:23-cv-15112

  2407    Donahoe, Laureen Carol       Nachawati Law Group       3:23-cv-15428

  2408           Drew, Julie           Nachawati Law Group       3:23-cv-15119

  2409    Dugger, Melissa Christine    Nachawati Law Group       3:23-cv-15125

  2410        Evans, Lashandra         Nachawati Law Group       3:23-cv-15129

  2411       Galanos, Tiffany Bo       Nachawati Law Group       3:23-cv-15133

  2412         Garcia, Jennifer        Nachawati Law Group       3:23-cv-15441

  2413    Giordano, Marcella Marie     Nachawati Law Group       3:23-cv-15140

  2414        Goodman, Arlene          Nachawati Law Group       3:23-cv-15156

  2415    Hankins, Donna Lorraine      Nachawati Law Group       3:23-cv-15456

  2416         Hart, Jo Lanell         Nachawati Law Group       3:23-cv-15473

  2417          Heflin, Christa        Nachawati Law Group       3:23-cv-15161

  2418      Heitzke, Jennifer Lee      Nachawati Law Group       3:23-cv-15484

  2419       Henry, Karen Lynn         Nachawati Law Group       3:23-cv-15169

  2420           Hill, Cecilia         Nachawati Law Group       3:23-cv-15199

  2421    Hofacket, Rebecca Diane      Nachawati Law Group       3:23-cv-15497

  2422       Houston, Elizabeth        Nachawati Law Group       3:23-cv-15221

  2423      Hume, Michele Lynn         Nachawati Law Group       3:23-cv-15248

  2424     Jennings, Amy Suzanne       Nachawati Law Group       3:23-cv-15259

  2425         Johnston, Kelly         Nachawati Law Group       3:23-cv-15278

  2426       Justice, Cari Joyce       Nachawati Law Group       3:23-cv-15330

  2427     Khachatryan, Ruzanna        Nachawati Law Group       3:23-cv-15097

  2428       Knox, Sawanda K.          Nachawati Law Group       3:23-cv-15506

  2429      Langill, Ashley Brooke     Nachawati Law Group       3:23-cv-15361

  2430   Laport, Marie-France Helene   Nachawati Law Group       3:23-cv-15375

  2431     Quinn-Allen, Denise L.      Nachawati Law Group       3:23-cv-15556

  2432         Roche, Regine           Nachawati Law Group       3:23-cv-15564

  2433      Rodriguez, Josephine       Nachawati Law Group       3:23-cv-15579

  2434     Roggenbuck, Janel Lea       Nachawati Law Group       3:23-cv-15587

  2435        Biscoe, Beatrice         Nachawati Law Group       3:23-cv-16260

  2436        Burgoyne, Lewis          Nachawati Law Group       3:23-cv-16279

  2437        Furnbach, Joseph         Nachawati Law Group       3:23-cv-15961



                                       58
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 64 of 90 PageID:
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  2438         Gaupp, Larry           Nachawati Law Group        3:23-cv-15876

  2439     Mcnamara, Raymond          Nachawati Law Group        3:23-cv-16293

  2440     Sammon, Patricia Mary      Nachawati Law Group        3:23-cv-16025

  2441         Secord, Debra          Nachawati Law Group        3:23-cv-16078

  2442         Selby, Sharon          Nachawati Law Group        3:23-cv-16121

  2443       Shepard, Rebecca         Nachawati Law Group        3:23-cv-16236

  2444        Simon, Rachel           Nachawati Law Group        3:23-cv-16318

  2445        Smith, Margaret         Nachawati Law Group        3:23-cv-16333

  2446       Smith, Mary Ellen        Nachawati Law Group        3:23-cv-16390

  2447         Ulrich, Sandra         Nachawati Law Group        3:23-cv-15992

  2448        Brooks, Kathy M         Nachawati Law Group        3:23-cv-17007

  2449         Givens, Glen           Nachawati Law Group        3:23-cv-17046

  2450         Steidl, Tammy          Nachawati Law Group        3:23-cv-16479

  2451          Still, Clifford       Nachawati Law Group        3:23-cv-17095

  2452         Sweeney, Lisa          Nachawati Law Group        3:23-cv-17113

  2453         Tarbor, Daree          Nachawati Law Group        3:23-cv-16511

  2454         Tyson, Sharon          Nachawati Law Group        3:23-cv-16527

  2455          Veber, Lori           Nachawati Law Group        3:23-cv-16650

  2456        Webster, Janet          Nachawati Law Group        3:23-cv-16683

  2457        Wheeler, Oneta          Nachawati Law Group        3:23-cv-16694

  2458       White, Margaret E.       Nachawati Law Group        3:23-cv-16736

  2459        Williams, Karen         Nachawati Law Group        3:23-cv-16774

  2460          Wood, Ellen           Nachawati Law Group        3:23-cv-16828

  2461        Abraham, Sheila         Nachawati Law Group        3:23-cv-19763

  2462         Acosta, Emily          Nachawati Law Group        3:23-cv-18479

  2463         Alicea, Sarita         Nachawati Law Group        3:23-cv-18964

  2464         Avagyn, Nona           Nachawati Law Group        3:23-cv-18486

  2465        Battisti, William       Nachawati Law Group        3:23-cv-18493

  2466         Bellow, Alexis         Nachawati Law Group        3:23-cv-19145

  2467        Bouffard, Robert        Nachawati Law Group        3:23-cv-19623

  2468        Breier, Andrew          Nachawati Law Group        3:23-cv-19522

  2469        Bridges, Amber          Nachawati Law Group        3:23-cv-19483

  2470         Brown, Anna            Nachawati Law Group        3:23-cv-19668

  2471       Caldwell, Amber J        Nachawati Law Group        3:23-cv-19573

  2472        Carlson, Cristen        Nachawati Law Group        3:23-cv-18455

  2473        Moore, Derrick          Nachawati Law Group        3:23-cv-19404

  2474        Clayton, Kindry         Nachawati Law Group        3:23-cv-18826

  2475        Coleman, Laura          Nachawati Law Group        3:23-cv-19311

  2476        Dancy, Rhonda           Nachawati Law Group        3:23-cv-19493

  2477       Davis, Christopher       Nachawati Law Group        3:23-cv-18841

  2478         Deean, Donna           Nachawati Law Group        3:23-cv-19007

  2479         Desole, Linda          Nachawati Law Group        3:23-cv-19739

  2480      Woodland, Matthew         Nachawati Law Group        3:23-cv-19318

  2481       Dyckman, Susan           Nachawati Law Group        3:23-cv-19424

  2482      Flannigan, Kimberly       Nachawati Law Group        3:23-cv-19631

  2483       Flansburg, Nedra         Nachawati Law Group        3:23-cv-19081



                                      59
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 65 of 90 PageID:
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 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2484     Fluharty, Ida Elizabeth    Nachawati Law Group        3:23-cv-19774

  2485      Freeman, Amanda           Nachawati Law Group        3:23-cv-19475

  2486        George, Melvin          Nachawati Law Group        3:23-cv-19720

  2487      Gonzales, Pauline J       Nachawati Law Group        3:23-cv-19773

  2488        Grant, Barbara          Nachawati Law Group        3:23-cv-19724

  2489         Green, Ashley          Nachawati Law Group        3:23-cv-19715

  2490         Grove, Trudy           Nachawati Law Group        3:23-cv-19538

  2491        Helley, Patricia        Nachawati Law Group        3:23-cv-19177

  2492        Hodges, Angelia         Nachawati Law Group        3:23-cv-19653

  2493      Holmes, Brenda L.         Nachawati Law Group        3:23-cv-19510

  2494         Reed, Pamela           Nachawati Law Group        3:23-cv-19772

  2495       Ingram, Benjamin         Nachawati Law Group        3:23-cv-19705

  2496        Johnston, Jack          Nachawati Law Group        3:23-cv-19711

  2497        Justice, Sandra         Nachawati Law Group        3:23-cv-19519

  2498        Keller, Richard         Nachawati Law Group        3:23-cv-19729

  2499         Kelley, Diana          Nachawati Law Group        3:23-cv-19735

  2500       Lafayette, Wesley        Nachawati Law Group        3:23-cv-19656

  2501          Lewis, John           Nachawati Law Group        3:23-cv-19349

  2502         Lind, Pamela           Nachawati Law Group        3:23-cv-19768

  2503        George, Harriet         Nachawati Law Group        3:23-cv-19782

  2504        Mosley, Antonio         Nachawati Law Group        3:23-cv-19771

  2505     Merriweather, Andrea       Nachawati Law Group        3:23-cv-19590

  2506        Miakos, Darlene         Nachawati Law Group        3:23-cv-19545

  2507       Mosley, Ashleigh         Nachawati Law Group        3:23-cv-19674

  2508         Mullinax, April        Nachawati Law Group        3:23-cv-19693

  2509         Nash, Georgia          Nachawati Law Group        3:23-cv-19723

  2510       Billy, Thomas M.         Nachawati Law Group        3:23-cv-19370

  2511        Poe, II, Charles        Nachawati Law Group        3:23-cv-19727

  2512         Pruitt, Charles        Nachawati Law Group        3:23-cv-19432

  2513        Ramirez, Toshia         Nachawati Law Group        3:23-cv-19382

  2514      Richardson, Jo'anne       Nachawati Law Group        3:23-cv-19677

  2515        Rose, Chris La          Nachawati Law Group        3:23-cv-19295

  2516        Harris, Melanie         Nachawati Law Group        3:23-cv-19286

  2517        Sadler, Angela          Nachawati Law Group        3:23-cv-19610

  2518        Satnick, Richard        Nachawati Law Group        3:23-cv-17913

  2519      Schroeder, Steven         Nachawati Law Group        3:23-cv-19480

  2520        Shelden, Hilary         Nachawati Law Group        3:23-cv-19581

  2521         Price, Carolyn         Nachawati Law Group        3:23-cv-19361

  2522         Smith, Gordon          Nachawati Law Group        3:23-cv-19133

  2523         Repicky, Rory          Nachawati Law Group        3:23-cv-19688

  2524       Goodson, Rodney          Nachawati Law Group        3:23-cv-18452

  2525     Smith-Fanner, Pansy        Nachawati Law Group        3:23-cv-19008

  2526         Jordan, Jack           Nachawati Law Group        3:23-cv-18456

  2527        Mckeag, David           Nachawati Law Group        3:23-cv-19741

  2528       Spangler, Rhonda         Nachawati Law Group        3:23-cv-19786

  2529        Sparks, Queen           Nachawati Law Group        3:23-cv-19749



                                      60
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 66 of 90 PageID:
                                 177355

 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
  2530      Spehar, Anne Marie        Nachawati Law Group        3:23-cv-18457

  2531       Stanley, Michael         Nachawati Law Group        3:23-cv-19102

  2532         Posey, Leah            Nachawati Law Group        3:23-cv-18453

  2533     Stomierosky, Robert        Nachawati Law Group        3:23-cv-19756

  2534        Sullivan, Gloria        Nachawati Law Group        3:23-cv-19728

  2535       Hightower, Tonya         Nachawati Law Group        3:23-cv-18801

  2536       Thomas, Audrey           Nachawati Law Group        3:23-cv-19767

  2537       Torres, Deborah          Nachawati Law Group        3:23-cv-19745

  2538       Trauber, Charles         Nachawati Law Group        3:23-cv-17715

  2539        Trevas, Arthur          Nachawati Law Group        3:23-cv-18454

  2540      Vansickle, Teresa         Nachawati Law Group        3:23-cv-18458

  2541      Vega-Wells, Maria         Nachawati Law Group        3:23-cv-18459

  2542        Velonza, Laura          Nachawati Law Group        3:23-cv-17748

  2543     Vonfricken, Deborah        Nachawati Law Group        3:23-cv-18897

  2544     Waddell-Salib, Laura       Nachawati Law Group        3:23-cv-18460

  2545        Wald, Melissa           Nachawati Law Group        3:23-cv-19011

  2546      Waldrop, Lindsey J        Nachawati Law Group        3:23-cv-17811

  2547        Walker, Peggie          Nachawati Law Group        3:23-cv-19777

  2548         Wall, Angela           Nachawati Law Group        3:23-cv-18461

  2549        Weeks, Kayla            Nachawati Law Group        3:23-cv-19612

  2550        Welch, Diane            Nachawati Law Group        3:23-cv-19500

  2551       Whitaker, Valerie        Nachawati Law Group        3:23-cv-18462

  2552      White, Jacqueline         Nachawati Law Group        3:23-cv-19637

  2553      Wilcox, Georgette         Nachawati Law Group        3:23-cv-19716

  2554       Willadsen, Ellen         Nachawati Law Group        3:23-cv-19576

  2555      Wilson, Darlene L         Nachawati Law Group        3:23-cv-17861

  2556      Ainsworth, Robert         Nachawati Law Group        3:23-cv-19854

  2557       Anderson, Evelyn         Nachawati Law Group        3:23-cv-19927

  2558        Deaton, Erica           Nachawati Law Group        3:23-cv-19881

  2559       Bates, Elizabeth         Nachawati Law Group        3:23-cv-19893

  2560         Beach, Mary            Nachawati Law Group        3:23-cv-19856

  2561      Bradley, Brittanee        Nachawati Law Group        3:23-cv-19919

  2562        Brown, Stanley          Nachawati Law Group        3:23-cv-19931

  2563      Bussell, Bonnie C         Nachawati Law Group        3:23-cv-19889

  2564        Cannone, John           Nachawati Law Group        3:23-cv-19942

  2565     Cardenas, Humberto         Nachawati Law Group        3:23-cv-19899

  2566        Caruso, David           Nachawati Law Group        3:23-cv-19884

  2567        Casey, Ludella          Nachawati Law Group        3:23-cv-19871

  2568     Chamberlain, Michael       Nachawati Law Group        3:23-cv-19875

  2569        Jordan, Sandra          Nachawati Law Group        3:23-cv-19983

  2570      Crawford, Tanisha         Nachawati Law Group        3:23-cv-19818

  2571         Mills, Robert          Nachawati Law Group        3:23-cv-19968

  2572     Campbell, Lawrence         Nachawati Law Group        3:23-cv-19954

  2573         Davies, Jeff           Nachawati Law Group        3:23-cv-19990

  2574       Delacruz, Clelia         Nachawati Law Group        3:23-cv-19887

  2575         Douglas, Joy           Nachawati Law Group        3:23-cv-19879



                                      61
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 67 of 90 PageID:
                                 177356

 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
  2576       Eschbach, Elton          Nachawati Law Group        3:23-cv-19891

  2577       Floyd, Bridigette        Nachawati Law Group        3:23-cv-19912

  2578        Gaines, Tierra          Nachawati Law Group        3:23-cv-19972

  2579      Gardner, Rosa Lee         Nachawati Law Group        3:23-cv-19808

  2580     Gottfried, Bridgett M      Nachawati Law Group        3:23-cv-19901

  2581        Grover, Ebony           Nachawati Law Group        3:23-cv-19902

  2582      Hammons, Howard           Nachawati Law Group        3:23-cv-19924

  2583      Harkins, Elizabeth        Nachawati Law Group        3:23-cv-19890

  2584     Heathcock, Dora Lynn       Nachawati Law Group        3:23-cv-19878

  2585      Heest, Timothy Van        Nachawati Law Group        3:23-cv-19861

  2586      Hollenbach, Melody        Nachawati Law Group        3:23-cv-19993

  2587       Sawicki, Richard         Nachawati Law Group        3:23-cv-19905

  2588       Howard, Rhonda           Nachawati Law Group        3:23-cv-19877

  2589       Howard, Helene           Nachawati Law Group        3:23-cv-19827

  2590        Shaw, Martha            Nachawati Law Group        3:23-cv-19850

  2591        Trillo, Staycee         Nachawati Law Group        3:23-cv-19933

  2592        Johnson, Erica          Nachawati Law Group        3:23-cv-19885

  2593       Kleckner, Marvin         Nachawati Law Group        3:23-cv-19870

  2594        Keith, Dianne           Nachawati Law Group        3:23-cv-19934

  2595          Lee, David            Nachawati Law Group        3:23-cv-19909

  2596       Maiden, Brittany         Nachawati Law Group        3:23-cv-19923

  2597       Mccrobie, Ronda          Nachawati Law Group        3:23-cv-19797

  2598        Welch, Patricia         Nachawati Law Group        3:23-cv-19869

  2599         Murray, Ruth           Nachawati Law Group        3:23-cv-19860

  2600        Napier, Brenda          Nachawati Law Group        3:23-cv-19896

  2601         Obi, Natasha           Nachawati Law Group        3:23-cv-19846

  2602         Payne, Ellen           Nachawati Law Group        3:23-cv-19888

  2603     Peterson, Gwendolyn        Nachawati Law Group        3:23-cv-19936

  2604       Powell, Gabrielle        Nachawati Law Group        3:23-cv-19916

  2605      Saunders, Tonirae         Nachawati Law Group        3:23-cv-19895

  2606       Roberts, Leonard         Nachawati Law Group        3:23-cv-19872

  2607         Scott, Willie          Nachawati Law Group        3:23-cv-19986

  2608     Cunningham, Donna          Nachawati Law Group        3:23-cv-19874

  2609        Serrano, Tami           Nachawati Law Group        3:23-cv-19873

  2610          Sink, John            Nachawati Law Group        3:23-cv-19939

  2611      Snelson, Rosanne          Nachawati Law Group        3:23-cv-19803

  2612        Talavera, Nisa          Nachawati Law Group        3:23-cv-19823

  2613       Jafirsteine, Peter       Nachawati Law Group        3:23-cv-19862

  2614         Sybert, John           Nachawati Law Group        3:23-cv-19914

  2615        Taylor, Brittany        Nachawati Law Group        3:23-cv-19930

  2616      Thomas, Ernestine         Nachawati Law Group        3:23-cv-19876

  2617     Van Winkle, Robyn M        Nachawati Law Group        3:23-cv-19792

  2618       Velazquez, Jean          Nachawati Law Group        3:23-cv-19978

  2619         Watts, Erika           Nachawati Law Group        3:23-cv-19886

  2620      Williams, Yolanda         Nachawati Law Group        3:23-cv-19843

  2621        Andrew, Susan           Nachawati Law Group        3:23-cv-20102



                                      62
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 68 of 90 PageID:
                                 177357

 5RZ             &DVH1DPH                      3ODLQWLII)LUP V   &XUUHQW&DXVH
  2622           Dobson, Kristen             Nachawati Law Group      3:23-cv-20244

  2623            Yarger, Llyod              Nachawati Law Group      3:23-cv-20214

  2624           Baker, Shannell             Nachawati Law Group      3:23-cv-20001

  2625            Dixon, Sandra              Nachawati Law Group      3:23-cv-20000

  2626            Banks, Gerald              Nachawati Law Group      3:23-cv-20245

  2627            Barlow, Lisa M             Nachawati Law Group      3:23-cv-20066

  2628             Barnett, Guy              Nachawati Law Group      3:23-cv-20202

  2629       Barton-Holmes, Christine        Nachawati Law Group      3:23-cv-20017

  2630            Becker, Evelyn             Nachawati Law Group      3:23-cv-20195

  2631             Bell, Angela              Nachawati Law Group      3:23-cv-20007

  2632             Beck, Randy               Nachawati Law Group      3:23-cv-20273

  2633          Breedlove, Randy             Nachawati Law Group      3:23-cv-20171

  2634           Brown, Keyonna              Nachawati Law Group      3:23-cv-20121

  2635            Brown, Mary L              Nachawati Law Group      3:23-cv-20034

  2636            Burch, Deidra              Nachawati Law Group      3:23-cv-20233

  2637           Burke, Kiaranae             Nachawati Law Group      3:23-cv-20227

  2638           Campbell, Diedre            Nachawati Law Group      3:23-cv-20228

  2639           Cabrera, Jessica            Nachawati Law Group      3:23-cv-20236

  2640            Chapin, Kristin            Nachawati Law Group      3:23-cv-20072

  2641             Charles, Mia              Nachawati Law Group      3:23-cv-20020
         Chastain-Wilson, Michelle Catrina   Nachawati Law Group      3:23-cv-20097
  2642
  2643           Chhugani, Vinita            Nachawati Law Group      3:23-cv-20008

  2644             Kinne, Jane               Nachawati Law Group      3:23-cv-20091

  2645            Cuffee, Robert             Nachawati Law Group      3:23-cv-20099

  2646            Melton, Mack               Nachawati Law Group      3:23-cv-20074

  2647           Davis, Kimberlyn            Nachawati Law Group      3:23-cv-20215

  2648           Dearmon, Calvin             Nachawati Law Group      3:23-cv-20022

  2649           Donnellan, Paul             Nachawati Law Group      3:23-cv-20046

  2650            Duilio, Kenneth            Nachawati Law Group      3:23-cv-20114

  2651            Romo, Daniel               Nachawati Law Group      3:23-cv-20235

  2652             Carter, Mark              Nachawati Law Group      3:23-cv-20177

  2653         Folashade, Somalia            Nachawati Law Group      3:23-cv-19998

  2654            Nelson, Melvin             Nachawati Law Group      3:23-cv-20198

  2655             Freda, Lynn               Nachawati Law Group      3:23-cv-20080

  2656           Gervase, David              Nachawati Law Group      3:23-cv-20028

  2657          Giddings, Spencer            Nachawati Law Group      3:23-cv-20251

  2658           Loonstyn, Marie             Nachawati Law Group      3:23-cv-20071

  2659            Davaloz, Alma              Nachawati Law Group      3:23-cv-20229

  2660            Dame, Lorena               Nachawati Law Group      3:23-cv-20257

  2661          Hazlewood, Steve             Nachawati Law Group      3:23-cv-20049

  2662            Heimberg, Jim              Nachawati Law Group      3:23-cv-20004

  2663           Magness, Maria              Nachawati Law Group      3:23-cv-20240

  2664            Goble, Garland             Nachawati Law Group      3:23-cv-20183

  2665          Heckathorn, Mike             Nachawati Law Group      3:23-cv-20130

  2666           Jackson, Debra              Nachawati Law Group      3:23-cv-20145




                                             63
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 69 of 90 PageID:
                                 177358

 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2667         Jackson, Garry         Nachawati Law Group        3:23-cv-20165

  2668          Diaz, Carole          Nachawati Law Group        3:23-cv-20137

  2669        Johnson, Dennis         Nachawati Law Group        3:23-cv-20189

  2670        Johnson, Gregory        Nachawati Law Group        3:23-cv-20230

  2671          Johnson, Ty           Nachawati Law Group        3:23-cv-19997

  2672        Jones, Laquinta         Nachawati Law Group        3:23-cv-20041

  2673         Jones, Timothy         Nachawati Law Group        3:23-cv-20123

  2674          Kifer, Robert         Nachawati Law Group        3:23-cv-20027

  2675         Kirkland, Kayla        Nachawati Law Group        3:23-cv-20113

  2676    Koempel, Chrystol Clemen    Nachawati Law Group        3:23-cv-20156

  2677         Christie, Mary         Nachawati Law Group        3:23-cv-20095

  2678        Koolman, Sandra         Nachawati Law Group        3:23-cv-20219

  2679       Lapointe, Deborah        Nachawati Law Group        3:23-cv-20224

  2680        Leary, Catherine        Nachawati Law Group        3:23-cv-20002

  2681       Williams, Anthony        Nachawati Law Group        3:23-cv-20053

  2682            Li, Erica           Nachawati Law Group        3:23-cv-20269

  2683          Lockett, Ella         Nachawati Law Group        3:23-cv-20009

  2684         Martinez, Paula        Nachawati Law Group        3:23-cv-20181

  2685         Mchugh, Karen          Nachawati Law Group        3:23-cv-20108

  2686         Compton, Juli          Nachawati Law Group        3:23-cv-20246

  2687        Mckay, Thomas           Nachawati Law Group        3:23-cv-20216

  2688          Hall, Shirley         Nachawati Law Group        3:23-cv-20024

  2689          Vega, Aaron           Nachawati Law Group        3:23-cv-20174

  2690       Ethridge, Sherman        Nachawati Law Group        3:23-cv-20146

  2691        Kinder, Maurice         Nachawati Law Group        3:23-cv-20200

  2692         Nevarez, Irma          Nachawati Law Group        3:23-cv-20152

  2693         Dias, Beverley         Nachawati Law Group        3:23-cv-20015

  2694         O'kane, Henry          Nachawati Law Group        3:23-cv-20052

  2695         Niemann, Erica         Nachawati Law Group        3:23-cv-20054

  2696       Breneman, Bonnie         Nachawati Law Group        3:23-cv-20013

  2697          Oneal, Albert         Nachawati Law Group        3:23-cv-20012

  2698        Richards, William       Nachawati Law Group        3:23-cv-20148

  2699        Perinal, Reydante       Nachawati Law Group        3:23-cv-20254

  2700        Armstrong, Betty        Nachawati Law Group        3:23-cv-20264

  2701        Rogers, Christine       Nachawati Law Group        3:23-cv-19994

  2702        Phillips, Cherish       Nachawati Law Group        3:23-cv-20105

  2703          Dupont, Polly         Nachawati Law Group        3:23-cv-20267

  2704         Brooks, Rosie          Nachawati Law Group        3:23-cv-20194

  2705        Riccio, Giovanni        Nachawati Law Group        3:23-cv-20204

  2706       Rogers, Roosevelt        Nachawati Law Group        3:23-cv-20213

  2707        Rowland, Sabrina        Nachawati Law Group        3:23-cv-20048

  2708         Sahwani, Diana         Nachawati Law Group        3:23-cv-20188

  2709        Salera, Danielle        Nachawati Law Group        3:23-cv-20212

  2710          Rau, Steven           Nachawati Law Group        3:23-cv-20271

  2711       Scott, Lashawnda         Nachawati Law Group        3:23-cv-20057

  2712       Scurlock, Marcella       Nachawati Law Group        3:23-cv-20039



                                      64
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 70 of 90 PageID:
                                 177359

 5RZ         &DVH1DPH                         3ODLQWLII)LUP V                &XUUHQW&DXVH
  2713        Sexauer, Karen                 Nachawati Law Group                  3:23-cv-20070

  2714        Showell, Pedro                 Nachawati Law Group                  3:23-cv-20262

  2715       Silverman, Barry                Nachawati Law Group                  3:23-cv-20098

  2716      Simons, Katharine                Nachawati Law Group                  3:23-cv-20078

  2717          Sirk, Janet                  Nachawati Law Group                  3:23-cv-20081

  2718        Stallard, Hilda                Nachawati Law Group                  3:23-cv-20187

  2719       Staples, Christina              Nachawati Law Group                  3:23-cv-20127

  2720      Stevens, Deborah                 Nachawati Law Group                  3:23-cv-20168

  2721        Stites, Kenneth                Nachawati Law Group                  3:23-cv-20042

  2722         Sturgill, Rita                Nachawati Law Group                  3:23-cv-20003

  2723         Styles, Dana                  Nachawati Law Group                  3:23-cv-20206

  2724      Swedberg, Stephen                Nachawati Law Group                  3:23-cv-20106

  2725     Broadwater, Anthony               Nachawati Law Group                  3:23-cv-20082

  2726        Tate, Margaret                 Nachawati Law Group                  3:23-cv-20038

  2727       Tennyson, Katara                Nachawati Law Group                  3:23-cv-20111

  2728         Thomas, Ray                   Nachawati Law Group                  3:23-cv-20185

  2729     Valverde, Josephine               Nachawati Law Group                  3:23-cv-20237

  2730       Vargas, Christina               Nachawati Law Group                  3:23-cv-20141

  2731       Virden, Charlotte               Nachawati Law Group                  3:23-cv-20021

  2732       Volner, Kimberly                Nachawati Law Group                  3:23-cv-20265

  2733     Washington, Janice M              Nachawati Law Group                  3:23-cv-20222

  2734         Dickens, Teia                 Nachawati Law Group                  3:23-cv-20210

  2735      Clausen, Deborah                 Nachawati Law Group                  3:23-cv-20153

  2736       White, Shontaria                Nachawati Law Group                  3:23-cv-19999

  2737        Whitlock, Jada                 Nachawati Law Group                  3:23-cv-20248

  2738        Wicks, Donald                  Nachawati Law Group                  3:23-cv-20126

  2739        Holland, Gloria                Nachawati Law Group                  3:23-cv-20179

  2740        Wilson, Sherry                 Nachawati Law Group                  3:23-cv-20090

  2741     Winchester, Chemaria              Nachawati Law Group                  3:23-cv-20094

  2742        Davis, Christy                 Nachawati Law Group                  3:23-cv-20253

  2743        Thomas, Irma                   Nachawati Law Group                  3:23-cv-20176

  2744        Austin, Carolyn     Napoli Bern Ripka Shkolnik & Associates, LLP    3:18-cv-14384

  2745         Battle, Byron      Napoli Bern Ripka Shkolnik & Associates, LLP    3:18-cv-13003

  2746         Cooper, Mary       Napoli Bern Ripka Shkolnik & Associates, LLP    3:18-cv-14537

  2747        Jacobson, Lori      Napoli Bern Ripka Shkolnik & Associates, LLP    3:18-cv-11416

  2748        DiGiosio, Dino      Napoli Bern Ripka Shkolnik & Associates, LLP    3:19-cv-19381

  2749     Caldwell, Charles E.   Napoli Bern Ripka Shkolnik & Associates, LLP    3:19-cv-04760

  2750        Prete, Richard      Napoli Bern Ripka Shkolnik & Associates, LLP    3:19-cv-00322

  2751       Ross, Frances E                  Napoli Shkolnik LLC                 3:18-cv-14257

  2752         Azzari, Kelly                 Napoli Shkolnik, PLLC                3:18-cv-01166

  2753        Black, Wanda                   Napoli Shkolnik, PLLC                3:18-cv-10836

  2754         Brazell, Joan                 Napoli Shkolnik, PLLC                3:18-cv-00413

  2755        Brown, Sharon                  Napoli Shkolnik, PLLC                3:18-cv-14763

  2756        France, Patrick                Napoli Shkolnik, PLLC                3:18-cv-00507

  2757        Click, Margaret                Napoli Shkolnik, PLLC                3:18-cv-01016

  2758        Cohen, Minnie                  Napoli Shkolnik, PLLC                3:18-cv-08183



                                            65
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 71 of 90 PageID:
                                 177360

 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2759         Cortez, Shelly         Napoli Shkolnik, PLLC      3:18-cv-14921

  2760        Darcey, Eleanor         Napoli Shkolnik, PLLC      3:18-cv-15034

  2761       Jamerson, Carolyn        Napoli Shkolnik, PLLC      3:18-cv-13978

  2762          Dugan, Kathy          Napoli Shkolnik, PLLC      3:18-cv-09726

  2763        Dykeman, Amber          Napoli Shkolnik, PLLC      3:18-cv-00411

  2764          Fardig, Coral         Napoli Shkolnik, PLLC      3:18-cv-13990

  2765        Findlay, Rachael        Napoli Shkolnik, PLLC      3:18-cv-13470

  2766        Franklin, Angela        Napoli Shkolnik, PLLC      3:18-cv-11260

  2767         Gibbons, John          Napoli Shkolnik, PLLC      3:18-cv-09118

  2768          Greer, Latisia        Napoli Shkolnik, PLLC      3:18-cv-17148

  2769          Griffin, Helen        Napoli Shkolnik, PLLC      3:18-cv-17145

  2770          Hadnot, Jana          Napoli Shkolnik, PLLC      3:18-cv-16880

  2771         Haines, Shawn          Napoli Shkolnik, PLLC      3:18-cv-17151

  2772         Hamilton, Rita         Napoli Shkolnik, PLLC      3:18-cv-16890

  2773        Harris, Delores A       Napoli Shkolnik, PLLC      3:18-cv-16523

  2774          Harris, Erika         Napoli Shkolnik, PLLC      3:18-cv-08182

  2775        Sandoval, Sylvia        Napoli Shkolnik, PLLC      3:18-cv-16735

  2776         Hitchcock, Jeff        Napoli Shkolnik, PLLC      3:18-cv-16864

  2777       Humphrey, Queen          Napoli Shkolnik, PLLC      3:18-cv-16544

  2778           Innis, Linda         Napoli Shkolnik, PLLC      3:18-cv-01969

  2779        Jackson, Wanda          Napoli Shkolnik, PLLC      3:18-cv-08513

  2780         Longo, Bernice         Napoli Shkolnik, PLLC      3:18-cv-02130

  2781          Lunn, Diane           Napoli Shkolnik, PLLC      3:18-cv-00596

  2782         Mallett, Diane         Napoli Shkolnik, PLLC      3:18-cv-14646

  2783        Martinez, Sybil A       Napoli Shkolnik, PLLC      3:18-cv-12453

  2784       McDonald, Lyndell        Napoli Shkolnik, PLLC      3:18-cv-04959

  2785         Miller, Lindsay        Napoli Shkolnik, PLLC      3:18-cv-13060

  2786          Muller, Cecila        Napoli Shkolnik, PLLC      3:18-cv-01388

  2787       Nichols, Henriette       Napoli Shkolnik, PLLC      3:18-cv-09460

  2788         Parsley, Mary          Napoli Shkolnik, PLLC      3:18-cv-16530

  2789           Prosa, Julie         Napoli Shkolnik, PLLC      3:18-cv-10340

  2790         Ritzen, Susan          Napoli Shkolnik, PLLC      3:18-cv-16481

  2791       Rutledge, Janell P       Napoli Shkolnik, PLLC      3:18-cv-12878

  2792         Sanders, Anna          Napoli Shkolnik, PLLC      3:18-cv-10235

  2793      Seguin, Stephanie A       Napoli Shkolnik, PLLC      3:18-cv-13080

  2794        Seiffert, Siegrid L     Napoli Shkolnik, PLLC      3:18-cv-12885

  2795       Shumake, Deborah         Napoli Shkolnik, PLLC      3:18-cv-08151

  2796         Smith, Terence         Napoli Shkolnik, PLLC      3:18-cv-08161

  2797          White, Robin          Napoli Shkolnik, PLLC      3:18-cv-12452

  2798        Manigo, Gregory         Napoli Shkolnik, PLLC      3:18-cv-12957

  2799        Winters, Shavon         Napoli Shkolnik, PLLC      3:18-cv-12447

  2800    Wright-Laurent, Katherine   Napoli Shkolnik, PLLC      3:18-cv-16531

  2801        Addison, Teresa         Napoli Shkolnik, PLLC      3:19-cv-05427

  2802          Amin, Saket           Napoli Shkolnik, PLLC      3:19-cv-06902

  2803         Bagby, Wesley          Napoli Shkolnik, PLLC      3:19-cv-05518

  2804           Bolt, Colin          Napoli Shkolnik, PLLC      3:19-cv-05549



                                      66
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 72 of 90 PageID:
                                 177361

 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2805       Holdcroft, Carmelita     Napoli Shkolnik, PLLC      3:19-cv-05565

  2806        Caldwell, Le-Toria      Napoli Shkolnik, PLLC      3:18-cv-12098

  2807       Callahan, Michelle       Napoli Shkolnik, PLLC      3:19-cv-05677

  2808       Campus, Eleanor J.       Napoli Shkolnik, PLLC      3:19-cv-05680

  2809      Thompson, Jeffrey L.      Napoli Shkolnik, PLLC      3:19-cv-05688

  2810         Chubb, Teresa          Napoli Shkolnik, PLLC      3:19-cv-05692

  2811        D'Amico, Heather        Napoli Shkolnik, PLLC      3:19-cv-05855

  2812       Deimler, Elizabeth       Napoli Shkolnik, PLLC      3:19-cv-05875

  2813       Doyle-Long, Janice       Napoli Shkolnik, PLLC      3:19-cv-05827

  2814      Durante, Christopher      Napoli Shkolnik, PLLC      3:19-cv-05839

  2815      Ferguson, Princess D      Napoli Shkolnik, PLLC      3:19-cv-05880

  2816          Garcia, Lucy          Napoli Shkolnik, PLLC      3:19-cv-18341

  2817         Gautier, Mona          Napoli Shkolnik, PLLC      3:19-cv-09568

  2818           Price, Carol         Napoli Shkolnik, PLLC      3:19-cv-10014

  2819         Groves, Linda J        Napoli Shkolnik, PLLC      3:19-cv-06257

  2820        Williams, Predolia      Napoli Shkolnik, PLLC      3:19-cv-06270

  2821         Hampton, Judy          Napoli Shkolnik, PLLC      3:19-cv-06272

  2822      Hayden, Corissa Ann       Napoli Shkolnik, PLLC      3:19-cv-06390

  2823      Hearn Sr., Thomas E.      Napoli Shkolnik, PLLC      3:19-cv-06398

  2824        Carswell, Janet N       Napoli Shkolnik, PLLC      3:19-cv-11480

  2825         Myers, Lakesha         Napoli Shkolnik, PLLC      3:19-cv-06368

  2826       Hornbacher, Craig        Napoli Shkolnik, PLLC      3:19-cv-06371

  2827       Wright, Charlette H.     Napoli Shkolnik, PLLC      3:19-cv-06415

  2828           Jones, Lula          Napoli Shkolnik, PLLC      3:19-cv-08910

  2829        Jones, Phyllis M        Napoli Shkolnik, PLLC      3:19-cv-12510

  2830       Katalinas, Margaret      Napoli Shkolnik, PLLC      3:19-cv-21028

  2831           Ellis, Joy C.        Napoli Shkolnik, PLLC      3:19-cv-06427

  2832       Lambert, Gaston J        Napoli Shkolnik, PLLC      3:19-cv-06791

  2833      Lansdowne, Carolyn        Napoli Shkolnik, PLLC      3:19-cv-06795

  2834          Lash, Anne M          Napoli Shkolnik, PLLC      3:19-cv-06798

  2835         Carlile, Patrick       Napoli Shkolnik, PLLC      3:19-cv-18244

  2836        Lockhart, Barbara       Napoli Shkolnik, PLLC      3:19-cv-06430

  2837         Mack, Barbara          Napoli Shkolnik, PLLC      3:19-cv-06763

  2838         McCluer, Stacy         Napoli Shkolnik, PLLC      3:19-cv-06420

  2839           Miles, Linda         Napoli Shkolnik, PLLC      3:19-cv-06314

  2840    Morton-Maultsby, Rosie V.   Napoli Shkolnik, PLLC      3:19-cv-06309

  2841          Duren, Frank          Napoli Shkolnik, PLLC      3:19-cv-06306

  2842         Penley, Brittany       Napoli Shkolnik, PLLC      3:19-cv-08914

  2843         Pesicka, Ernest        Napoli Shkolnik, PLLC      3:19-cv-05956

  2844         Powell, Marsha         Napoli Shkolnik, PLLC      3:19-cv-16466

  2845        Prince Sr., Santo       Napoli Shkolnik, PLLC      3:19-cv-05940

  2846        Sandoval, Denice        Napoli Shkolnik, PLLC      3:19-cv-05934

  2847        Sotelo Jr., Santos      Napoli Shkolnik, PLLC      3:19-cv-05748

  2848         Sawez, Ehsan           Napoli Shkolnik, PLLC      3:19-cv-05932

  2849       Simmons, Kenneth         Napoli Shkolnik, PLLC      3:19-cv-05925

  2850         Hayes, Demrice         Napoli Shkolnik, PLLC      3:19-cv-05757



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 73 of 90 PageID:
                                 177362

 5RZ         &DVH1DPH                   3ODLQWLII)LUP V     &XUUHQW&DXVH
  2851       Smith, Jamie M.          Napoli Shkolnik, PLLC      3:19-cv-05752

  2852       Strojek, Dennis          Napoli Shkolnik, PLLC      3:19-cv-05627

  2853      Syndor, Stephanie         Napoli Shkolnik, PLLC      3:19-cv-05624

  2854       Tetreault, Cheryl        Napoli Shkolnik, PLLC      3:19-cv-05618

  2855      Thrash, Syrenthia         Napoli Shkolnik, PLLC      3:19-cv-05614

  2856        Uken, Darlene           Napoli Shkolnik, PLLC      3:19-cv-05581

  2857         Delisle, Ellen        NS PR Law Services LLC      3:23-cv-14653

  2858         Otis, Roberta         NS PR Law Services LLC      3:23-cv-14662

  2859       Rojas, Stephanie        NS PR Law Services LLC      3:23-cv-14665

  2860      Starks, Sharonda         NS PR Law Services LLC      3:23-cv-14625

  2861       Waite, Kimberly         NS PR Law Services LLC      3:23-cv-14622

  2862     Martin, Brittany Terry    NS PR Law Services LLC      3:23-cv-14806

  2863      Daunhauer, Sandra        NS PR Law Services LLC      3:23-cv-15734

  2864        Davis, Pamela          NS PR Law Services LLC      3:23-cv-15753

  2865       Glasper, Lutosha        NS PR Law Services LLC      3:23-cv-16253

  2866         Glass, Lillian        NS PR Law Services LLC      3:23-cv-16237

  2867        Graham, John           NS PR Law Services LLC      3:23-cv-16011

  2868       Hamilton, James         NS PR Law Services LLC      3:23-cv-15926

  2869        Wilson, Peggy          NS PR Law Services LLC      3:23-cv-15975

  2870        Trybula, Anna          NS PR Law Services LLC      3:23-cv-16272

  2871        Warner, Darla          NS PR Law Services LLC      3:23-cv-16089

  2872        Warren, Dawn           NS PR Law Services LLC      3:23-cv-16068

  2873     Watson, Linda Joyce       NS PR Law Services LLC      3:23-cv-16042

  2874         Baetge, Kelly         NS PR Law Services LLC      3:23-cv-16501

  2875        Bear, Rosanna          NS PR Law Services LLC      3:23-cv-16512

  2876       Bishop, Johanna         NS PR Law Services LLC      3:23-cv-16724

  2877        Bonilla, Jadila        NS PR Law Services LLC      3:23-cv-16793

  2878        Brewer, Marilu         NS PR Law Services LLC      3:23-cv-16475

  2879        Frett, Richard         NS PR Law Services LLC      3:23-cv-16947

  2880       Gaskin, Angela          NS PR Law Services LLC      3:23-cv-17290

  2881          Millar, Gary         NS PR Law Services LLC      3:23-cv-16728

  2882       Nordberg, Penny         NS PR Law Services LLC      3:23-cv-16869

  2883       Obremski, John          NS PR Law Services LLC      3:23-cv-16898

  2884         Swain, Holly          NS PR Law Services LLC      3:23-cv-16505

  2885        Bradford, Earl         NS PR Law Services LLC      3:23-cv-18086

  2886      Crockett, Rochelle       NS PR Law Services LLC      3:23-cv-18391

  2887       Ferguson, Jack          NS PR Law Services LLC      3:23-cv-18176

  2888        Ferreira, Maria        NS PR Law Services LLC      3:23-cv-18218

  2889       Ferrera, Alyssa         NS PR Law Services LLC      3:23-cv-18304

  2890       Figueroa, David         NS PR Law Services LLC      3:23-cv-17993

  2891       Finger, Herschel        NS PR Law Services LLC      3:23-cv-17931

  2892       Fisher, Kenneth         NS PR Law Services LLC      3:23-cv-18002

  2893       Flaherty, James         NS PR Law Services LLC      3:23-cv-18335

  2894       Garcia, Deborah         NS PR Law Services LLC      3:23-cv-18381

  2895         Garcia, Luz           NS PR Law Services LLC      3:23-cv-18386

  2896      Glogowski, Karen         NS PR Law Services LLC      3:23-cv-18397



                                      68
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 74 of 90 PageID:
                                 177363

 5RZ          &DVH1DPH                  3ODLQWLII)LUP V     &XUUHQW&DXVH
  2897         Gold, Susan           NS PR Law Services LLC      3:23-cv-18400

  2898       Jackson, Tammy          NS PR Law Services LLC      3:23-cv-17765

  2899          King, Wade           NS PR Law Services LLC      3:23-cv-18101

  2900         Knight, Kristal       NS PR Law Services LLC      3:23-cv-18166

  2901        Martin, Pamela         NS PR Law Services LLC      3:23-cv-18045

  2902        Phillips, Robert       NS PR Law Services LLC      3:23-cv-17974

  2903      Southerland, Shirley     NS PR Law Services LLC      3:23-cv-17690

  2904         Rojas, Rachel         NS PR Law Services LLC      3:23-cv-18031

  2905       Benolkin, Amanda        NS PR Law Services LLC      3:23-cv-18748

  2906        Bertola, Michael       NS PR Law Services LLC      3:23-cv-18708

  2907         Carter, John          NS PR Law Services LLC      3:23-cv-18885

  2908        Celaya, Marne          NS PR Law Services LLC      3:23-cv-18738

  2909       Cooper, Pamela          NS PR Law Services LLC      3:23-cv-18728

  2910         Davis, Wanda          NS PR Law Services LLC      3:23-cv-18721

  2911      Dickson, Lesdreka        NS PR Law Services LLC      3:23-cv-18714

  2912          Ellis, Robin         NS PR Law Services LLC      3:23-cv-18497

  2913      Flores-O'toole, Gina     NS PR Law Services LLC      3:23-cv-18496

  2914      Grimes, Sharmaine        NS PR Law Services LLC      3:23-cv-18643

  2915        Hayes, James           NS PR Law Services LLC      3:23-cv-18831

  2916       Holman, Richard         NS PR Law Services LLC      3:23-cv-18889

  2917       Ivey, Kimberly A.       NS PR Law Services LLC      3:23-cv-18778

  2918        Melton, Ranelle        NS PR Law Services LLC      3:23-cv-18480

  2919         Mills, Jessica        NS PR Law Services LLC      3:23-cv-18557

  2920        Muradyan, Leya         NS PR Law Services LLC      3:23-cv-18719

  2921          Otis, Maree          NS PR Law Services LLC      3:23-cv-18700

  2922   Southwell-Redmond, Susan    NS PR Law Services LLC      3:23-cv-18661

  2923        Webster, Irena         NS PR Law Services LLC      3:23-cv-18899

  2924       Wheeler, Victoria       NS PR Law Services LLC      3:23-cv-18483

  2925        Drays, Michael         NS PR Law Services LLC      3:23-cv-19474

  2926      Ellison, Rhoygnette      NS PR Law Services LLC      3:23-cv-19488

  2927        Maloy, Tammy           NS PR Law Services LLC      3:23-cv-20124

  2928        Murray, Ernest         NS PR Law Services LLC      3:23-cv-20030

  2929       Vandorn, Melody         NS PR Law Services LLC      3:23-cv-20117

  2930       James, Jackylen         NS PR Law Services LLC      3:23-cv-20293

  2931        Sanders, Nancy         NS PR Law Services LLC      3:23-cv-20294

  2932       Williams, Lindsey       NS PR Law Services LLC      3:23-cv-20297

  2933       Hemsath, Michael        NS PR Law Services LLC      3:23-cv-20509

  2934       Lawless, Colleen        NS PR Law Services LLC      3:23-cv-20598

  2935        Kirtland, Mona         NS PR Law Services LLC      3:23-cv-20576

  2936         Moore, Diane          NS PR Law Services LLC      3:23-cv-20640

  2937        Norris, Patrick        NS PR Law Services LLC      3:23-cv-20697

  2938        McDowell, Cleo         NS PR Law Services LLC      3:23-cv-13213

  2939        Peters, Amanda         NS PR Law Services LLC      3:23-cv-20824

  2940         Pietras, Lisa         NS PR Law Services LLC      3:23-cv-20858

  2941         Valdez, Maria         NS PR Law Services LLC      3:23-cv-11847

  2942     Shaull, Rachel Nicole     NS PR Law Services LLC      3:23-cv-20982



                                      69
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 75 of 90 PageID:
                                 177364

 5RZ          &DVH1DPH                      3ODLQWLII)LUP V      &XUUHQW&DXVH
  2943        St. George, Lisa            NS PR Law Services LLC      3:23-cv-21050

  2944      Streetman, Theresa            NS PR Law Services LLC      3:23-cv-21066

  2945       Williams, Barbara            NS PR Law Services LLC      3:23-cv-21215

  2946        Reeder, Tara S.             NS PR Law Services LLC      3:23-cv-21265

  2947         Okeefe, Janice             NS PR Law Services LLC      3:23-cv-21466

  2948       Hazlett, Betty Viola    PIERCE SKRABANEK BRUERA, PLLC    3:18-cv-11628

  2949         Lane, Renada          PIERCE SKRABANEK BRUERA, PLLC    3:18-cv-11827

  2950       Slusher, Theresa        PIERCE SKRABANEK BRUERA, PLLC    3:18-cv-11632

  2951       Bernstein, Leonard                Potts Law Firm         3:18-cv-00157

  2952     Kellar Walker, Sandra               Potts Law Firm         3:18-cv-00799

  2953      MacIas, George Luis                Potts Law Firm         3:18-cv-01309

  2954        McCurty, Corine                  Potts Law Firm         3:18-cv-00783

  2955         Motes, Alisha                   Potts Law Firm         3:18-cv-00189

  2956          Price, Ginger                  Potts Law Firm         3:18-cv-04721

  2957         Resua, Nancy                    Potts Law Firm         3:18-cv-17018

  2958         Davie, Celeste                  Potts Law Firm         3:18-cv-16869

  2959         Smardo, Kerry                   Potts Law Firm         3:18-cv-15384

  2960       Stewart, Candace                  Potts Law Firm         3:18-cv-00771

  2961       Stockton, Stephani                Potts Law Firm         3:18-cv-00578

  2962           Thai, David                   Potts Law Firm         3:18-cv-00595

  2963       Thomas, Nicanora                  Potts Law Firm         3:18-cv-14391

  2964     Bardsley, Christopher               Potts Law Firm         3:19-cv-00137

  2965        Barnes, Lauren                   Potts Law Firm         3:19-cv-00297

  2966       Bartosiak, Audrey                 Potts Law Firm         3:19-cv-00339

  2967        McGuire, Glenda                  Potts Law Firm         3:19-cv-16500

  2968         Butler, Charles                 Potts Law Firm         3:19-cv-14504

  2969        Barr, Jimmy Lee                  Potts Law Firm         3:19-cv-00676

  2970         Toles, Mandrill                 Potts Law Firm         3:19-cv-18048

  2971     Collins, Garrett George             Potts Law Firm         3:19-cv-09951

  2972          Davis, Fern                    Potts Law Firm         3:19-cv-00699

  2973          Dirico, Silvio                 Potts Law Firm         3:19-cv-01012

  2974     Doty, Therese Corbin                Potts Law Firm         3:19-cv-01039

  2975        Graham, Carrie                   Potts Law Firm         3:19-cv-13015

  2976        Hayman, Shelia                   Potts Law Firm         3:19-cv-00038

  2977           Hill, Rachel                  Potts Law Firm         3:19-cv-01236

  2978        Johnson, Debra                   Potts Law Firm         3:19-cv-01500

  2979          Keen, Phyllis                  Potts Law Firm         3:19-cv-04654

  2980       Longberry, Autumn                 Potts Law Firm         3:19-cv-21439

  2981        Martinez, Diane                  Potts Law Firm         3:19-cv-06941

  2982         Marty, Tammy                    Potts Law Firm         3:19-cv-04940

  2983       McManus, Susan                    Potts Law Firm         3:19-cv-12128

  2984          Patton, Linda                  Potts Law Firm         3:19-cv-05129

  2985        Renwand, Carla                   Potts Law Firm         3:19-cv-05329

  2986       Swets, Linda Jean                 Potts Law Firm         3:19-cv-05540

  2987       Thompson, Terry                   Potts Law Firm         3:19-cv-21504

  2988        Vaughan, Sandi                   Potts Law Firm         3:19-cv-05681



                                          70
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 76 of 90 PageID:
                                 177365

 5RZ          &DVH1DPH                             3ODLQWLII)LUP V                  &XUUHQW&DXVH
  2989         Warner, Carlee                         Potts Law Firm                     3:19-cv-05877

  2990        Rafferty, Thomas                 Powers Rogers & Smith LLP                 3:18-cv-14659

  2991         Gould, William                    Pribanic & Pribanic, LLC                3:19-cv-08977

  2992         Grinage, Leon                     Pribanic & Pribanic, LLC                3:19-cv-08973

  2993          Kelley, Laura                              Pro se                        3:18-cv-15734
            Barnhouse, Loretta D     Reeves & Goff, P.C. // The Dreesen Law Firm, LLC    3:19-cv-21273
  2994
  2995        Grenier, Ronald                     Reich & Binstock, LLP                  3:18-cv-14809

  2996        Lopatka, Victoria                   Reich & Binstock, LLP                  3:18-cv-10729

  2997        Aberbom, Debra                      Reich & Binstock, LLP                  3:19-cv-18013

  2998       Alorsan, Deborah                     Reich & Binstock, LLP                  3:19-cv-13192

  2999        Blaylock, Shonna                    Reich & Binstock, LLP                  3:19-cv-13195

  3000        Bowman, Paula                       Reich & Binstock, LLP                  3:19-cv-13212

  3001        Boylan, Dee Ann                     Reich & Binstock, LLP                  3:19-cv-19373

  3002       Browning, Teresa                     Reich & Binstock, LLP                  3:19-cv-13218

  3003       Bruckner, Norman                     Reich & Binstock, LLP                  3:19-cv-21713

  3004       Canaday, Pamela                      Reich & Binstock, LLP                  3:19-cv-13197

  3005        Contreras, Sonia                    Reich & Binstock, LLP                  3:19-cv-13253

  3006         Etsitty, Darlene                   Reich & Binstock, LLP                  3:19-cv-19382

  3007     Florence-Skipper, Ann                  Reich & Binstock, LLP                  3:19-cv-13200

  3008        Fracasse, Annie                     Reich & Binstock, LLP                  3:19-cv-13223

  3009         Heffern, Joyce                     Reich & Binstock, LLP                  3:19-cv-13201

  3010       Hendrix, Jacquelyn                   Reich & Binstock, LLP                  3:19-cv-13203

  3011        Hochberg, Sylvia                    Reich & Binstock, LLP                  3:19-cv-13220

  3012        Kloock, Jennifer                    Reich & Binstock, LLP                  3:19-cv-18016

  3013      McCarrell, Samantha                   Reich & Binstock, LLP                  3:19-cv-18014

  3014          Ness, Joleen                      Reich & Binstock, LLP                  3:19-cv-13205

  3015      Parkers, Asmodeus                     Reich & Binstock, LLP                  3:19-cv-17812

  3016     Parks-Friskey, Geannie                 Reich & Binstock, LLP                  3:19-cv-19378

  3017         Shabazz, Edith                     Reich & Binstock, LLP                  3:19-cv-18012

  3018         Vazquez, Dalia                     Reich & Binstock, LLP                  3:19-cv-13230

  3019      Williams, Catherine                   Reich & Binstock, LLP                  3:19-cv-18011

  3020         Wood, Tammie                       Reich & Binstock, LLP                  3:19-cv-18010

  3021       Campbell, Shanna                  Robert J. DeBry & Associates              3:19-cv-05913

  3022      Frankel, Cheryl Tzirel                    Rodal Law, P.A.                    3:18-cv-14684

  3023         Graley, Kathy                     Ross Feller Casey, LLP                  3:18-cv-11492

  3024           Guy, Karen                      Ross Feller Casey, LLP                  3:18-cv-16343

  3025         Kerwin, Jason                     Ross Feller Casey, LLP                  3:18-cv-02739

  3026        Ney, Mary Alice                    Ross Feller Casey, LLP                  3:18-cv-04572

  3027           Ogle, Lisa                      Ross Feller Casey, LLP                  3:18-cv-09094

  3028          Giroux, Paul                     Ross Feller Casey, LLP                  3:19-cv-14369

  3029       Chatfield, Candida                  Ross Feller Casey, LLP                  3:19-cv-08630

  3030          Clark, Carroll                   Ross Feller Casey, LLP                  3:19-cv-08055

  3031         Marti, Zachary                    Ross Feller Casey, LLP                  3:19-cv-00918

  3032       Hubbert, Deborah                    Ross Feller Casey, LLP                  3:19-cv-17764

  3033          Wallace, Lori                    Ross Feller Casey, LLP                  3:19-cv-17749




                                                 71
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 77 of 90 PageID:
                                 177366

 5RZ          &DVH1DPH                     3ODLQWLII)LUP V        &XUUHQW&DXVH
  3034       Moore, Richard A            Ross Feller Casey, LLP        3:19-cv-06564

  3035        Nicastro, Tammy            Ross Feller Casey, LLP        3:19-cv-17915

  3036        Orovet, Pamela             Ross Feller Casey, LLP        3:19-cv-06559

  3037          Levitus, Lisa            Ross Feller Casey, LLP        3:19-cv-09376

  3038       Stevens, Margaret           Ross Feller Casey, LLP        3:19-cv-15730

  3039       Suonpera, Cynthia           Ross Law Offices, P.C.        3:19-cv-18393

  3040     Coakley, Darlene Mae        Rourke and Blumenthal, LLP      3:19-cv-00022

  3041     Abercrombie, Beverly      Saltz Mongeluzzi & Bendesky PC    3:23-cv-14634

  3042        Hinton, Azolarie       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14718

  3043      Ellington, Micheleen     Saltz Mongeluzzi & Bendesky PC    3:23-cv-14643

  3044         Sciter, Shirley       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14728

  3045        Phelps, Deborah        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14752

  3046        Haynes, James          Saltz Mongeluzzi & Bendesky PC    3:23-cv-14677

  3047          Post, Kristi         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14705

  3048        Baxter, Michelle       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15028

  3049          Brill, Laura         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14872

  3050         Daggs, Terry          Saltz Mongeluzzi & Bendesky PC    3:23-cv-14815

  3051       Wasson, Julia Ann       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15039

  3052        Dotson, Somer          Saltz Mongeluzzi & Bendesky PC    3:23-cv-14825

  3053          Ehle, Laura          Saltz Mongeluzzi & Bendesky PC    3:23-cv-14836

  3054          Faison, Lori         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14839

  3055         Gasery, Elaina        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14828

  3056         Grosch, Mark          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15043

  3057         Hart, Patricia        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14824

  3058        Hearts, Pauline        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14838

  3059          Horta, Maria         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14996

  3060         Ingram, Keena         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15025

  3061       Jennings, Dianna        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14834

  3062        Johnson, Elisha        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14826

  3063        Malgieri, Carmen       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14852

  3064        Martin, Kathleen       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14833

  3065        Martinez, Karina       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15016

  3066         May, Tammy            Saltz Mongeluzzi & Bendesky PC    3:23-cv-15040

  3067      Mcclendon, Cherelle      Saltz Mongeluzzi & Bendesky PC    3:23-cv-14945

  3068        McCloud, Shona         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14981

  3069     Mcconnell, Lolita Ann     Saltz Mongeluzzi & Bendesky PC    3:23-cv-14968

  3070        Mcneans, Betty         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14850

  3071        Millero, Michelle      Saltz Mongeluzzi & Bendesky PC    3:23-cv-15022

  3072      Mitchell, Daisyanna      Saltz Mongeluzzi & Bendesky PC    3:23-cv-14842

  3073          Neal, Cheryl         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14812

  3074        Ortega, Odalys         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14875

  3075    Osio, Stephany Miquileno   Saltz Mongeluzzi & Bendesky PC    3:23-cv-14856

  3076       Parker, Elizabeth       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14844

  3077        Pennyman, Dina         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14868

  3078     Perkins, Victoria Lynn    Saltz Mongeluzzi & Bendesky PC    3:23-cv-15031

  3079         Pope, Tomeco          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15035



                                         72
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 78 of 90 PageID:
                                 177367

 5RZ          &DVH1DPH                     3ODLQWLII)LUP V        &XUUHQW&DXVH
  3080         Pruyn, Noreen         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15019

  3081       Ritchie, Stephanie      Saltz Mongeluzzi & Bendesky PC    3:23-cv-14808

  3082        Rivera, Jeanette       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14999

  3083       Roberts, Deborah        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14832

  3084      Rodriguez, Brenda        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14831

  3085       Roilton, Precious       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14865

  3086         Smith, Donna          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15046

  3087         Smith, Regina         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14837

  3088       Stemen, Elizabeth       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14938

  3089       Talburt, Elizabeth      Saltz Mongeluzzi & Bendesky PC    3:23-cv-15011

  3090        Terrell, Jessica       Saltz Mongeluzzi & Bendesky PC    3:23-cv-14823

  3091        Wilkinson, Sara        Saltz Mongeluzzi & Bendesky PC    3:23-cv-14863

  3092    Williams, Robin Martinez   Saltz Mongeluzzi & Bendesky PC    3:23-cv-14830

  3093     Womack, Dominique         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15036

  3094       Wood, Cassandra         Saltz Mongeluzzi & Bendesky PC    3:23-cv-14846

  3095        Zimmer, Jason          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15034

  3096       Haynes, Lagenia         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15650

  3097         Beyer, Steven         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15592

  3098        Beasley, Sandra        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15255

  3099        Conway, Clyde          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15243

  3100        Everett, Wayne         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15290

  3101     McCleveland, Tywana       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15126

  3102        Godines, Maria         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15535

  3103       Gomez, Angelica         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15196

  3104       Evans, Angelique        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15639

  3105      Jacangelo, Jennifer      Saltz Mongeluzzi & Bendesky PC    3:23-cv-15422

  3106        Korona, Walter         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15092

  3107      Ledbetter, Gregory       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15235

  3108      Mason, Christopher       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15153

  3109         Molina, Nicole        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15549

  3110        Pearson, Dawn          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15526

  3111        Rogers, Velma          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15147

  3112       Portus, Mariquita       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15128

  3113       Ramey, Lataunia         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15544

  3114         Finch, Darrell        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15155

  3115      McAtee, Josephine        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15224

  3116      Sinclair, Sunnie Dee     Saltz Mongeluzzi & Bendesky PC    3:23-cv-15508

  3117      Smith-Hall, Christina    Saltz Mongeluzzi & Bendesky PC    3:23-cv-15392

  3118         Kinnan, Pilar         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15622

  3119        Steinbach, Mark        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15096

  3120         Tucker, Tilisha       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15109

  3121        Feazell, Lakesia       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15685

  3122          Allen, Julia         Saltz Mongeluzzi & Bendesky PC    3:23-cv-15820

  3123      Williams, Johnisha       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15970

  3124       Sylvester, Jasmin       Saltz Mongeluzzi & Bendesky PC    3:23-cv-16034

  3125         Boyce, Ivona          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16103



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 79 of 90 PageID:
                                 177368

 5RZ          &DVH1DPH                     3ODLQWLII)LUP V        &XUUHQW&DXVH
  3126       Caulfield, Sherrish     Saltz Mongeluzzi & Bendesky PC    3:23-cv-15905

  3127       Chandler, James         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16092

  3128         Cobb, Angela          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16055

  3129        Showell, Vivian        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16170

  3130        Fibison, Jerome        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16059

  3131          Forte, Ryan          Saltz Mongeluzzi & Bendesky PC    3:23-cv-15836

  3132       Glover, Thadnisha       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15874

  3133         Haynes, Olivia        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15814

  3134       Hernandez, Maria        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16156

  3135         Phillps, David        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15692

  3136    Marshall-Beasley, Sophia   Saltz Mongeluzzi & Bendesky PC    3:23-cv-16183

  3137         Alcalay, Robin        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16124

  3138         Mellow, Leslie        Saltz Mongeluzzi & Bendesky PC    3:23-cv-15835

  3139          Sefidkar, Jill       Saltz Mongeluzzi & Bendesky PC    3:23-cv-15848

  3140         Serrano, Gina         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16019

  3141       Smith, Barbara O.       Saltz Mongeluzzi & Bendesky PC    3:23-cv-16112

  3142           Tiller, Eva         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16091

  3143     Williams, Tammy Lynn      Saltz Mongeluzzi & Bendesky PC    3:23-cv-16056

  3144       Anderson, Zondra        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16894

  3145       Carpenter, Annette      Saltz Mongeluzzi & Bendesky PC    3:23-cv-16802

  3146         Graves, Carol         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16529

  3147          Luna, Tonya          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16935

  3148         Rios, Suzanne         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16921

  3149      Poindexter, Yelonda      Saltz Mongeluzzi & Bendesky PC    3:23-cv-16605

  3150        McLeod, Sharon         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16839

  3151          Miller, Tracy        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16874

  3152        Patterson, Arnett      Saltz Mongeluzzi & Bendesky PC    3:23-cv-16545

  3153        Pickens, Susan         Saltz Mongeluzzi & Bendesky PC    3:23-cv-16944

  3154       Robinson, Daphne        Saltz Mongeluzzi & Bendesky PC    3:23-cv-16824

  3155        Rumph, Latoya          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16748

  3156          Smith, Judy          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16868

  3157       Thomsen, Nancy          Saltz Mongeluzzi & Bendesky PC    3:23-cv-16731

  3158       Briggs, Cherille T.     Saltz Mongeluzzi & Bendesky PC    3:23-cv-16893

  3159       Alexander, Keyana       Saltz Mongeluzzi & Bendesky PC    3:23-cv-17638

  3160        Colvin, Deborah        Saltz Mongeluzzi & Bendesky PC    3:23-cv-17973

  3161        Brown, Labirdia        Saltz Mongeluzzi & Bendesky PC    3:23-cv-17550

  3162         Rippley, Darrin       Saltz Mongeluzzi & Bendesky PC    3:23-cv-17645

  3163      Snelgrove, Bernette      Saltz Mongeluzzi & Bendesky PC    3:23-cv-18128

  3164         Lepak, Sherri         Saltz Mongeluzzi & Bendesky PC    3:23-cv-17667

  3165          Guillen, Terri       Saltz Mongeluzzi & Bendesky PC    3:23-cv-17694

  3166         Horton, Janet         Saltz Mongeluzzi & Bendesky PC    3:23-cv-17789

  3167       House, Jacqueline       Saltz Mongeluzzi & Bendesky PC    3:23-cv-17705

  3168         Kee, Latishia         Saltz Mongeluzzi & Bendesky PC    3:23-cv-17625

  3169       Williams, Jamela        Saltz Mongeluzzi & Bendesky PC    3:23-cv-18052

  3170       Matthews, Shawn         Saltz Mongeluzzi & Bendesky PC    3:23-cv-17713

  3171        Murray, Kimberly       Saltz Mongeluzzi & Bendesky PC    3:23-cv-17557



                                         74
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 80 of 90 PageID:
                                 177369

 5RZ         &DVH1DPH                         3ODLQWLII)LUP V              &XUUHQW&DXVH
  3172         Myrick, Nicki            Saltz Mongeluzzi & Bendesky PC          3:23-cv-17681

  3173        Ramey, Duane              Saltz Mongeluzzi & Bendesky PC          3:23-cv-17496

  3174        Taylor, Melissa           Saltz Mongeluzzi & Bendesky PC          3:23-cv-17533

  3175       Padilla, Lorraine          Saltz Mongeluzzi & Bendesky PC          3:23-cv-20131

  3176       Compson, Darcy             Sanders Viener Grossman, LLP            3:18-cv-09514

  3177      Richardson, Casey           Sanders Viener Grossman, LLP            3:18-cv-03167

  3178        Loehr, Michelle           Sanders Viener Grossman, LLP            3:18-cv-08900

  3179          Mills, Cathy            Sanders Viener Grossman, LLP            3:18-cv-11128

  3180        Montie, Patricia          Sanders Viener Grossman, LLP            3:18-cv-10405

  3181     Gordon-Wolf, Debora      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-15601

  3182   Abdur-Raheem, Habiballah   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16149

  3183        Morgan, Larry         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16290

  3184      Brumfield, Conquis      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16039

  3185        Busano, Carla         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16147

  3186       Cannon, Tiffany        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16256

  3187       Delacerna, Rhea        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16281

  3188        Garfield, Tashe       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16077

  3189         Giles, Latoya        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16198

  3190        Griffin, Cabria       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16044

  3191    Holland, Maria Martinez   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16087

  3192        House, Joyce          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16007

  3193       Jackman, Marvin        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16153

  3194        Johnson, Erica        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16209

  3195       Johnson, Tiffani       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16024

  3196        Mayfield, Kylyn       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16085

  3197      Mccraw, Tina Green      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16239

  3198       Mcgilvery, Sherry      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16247

  3199      Mcquivey, Ramona        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16292

  3200          Miller, Kia         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16307

  3201       Minnis, Shurraina      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16310

  3202        Osborn, Latoya        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-15806

  3203        Perkinson, Irish      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16336

  3204       Pumphrey, Elise        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16098

  3205       Smith, Rose Ann        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16111

  3206        Thomas, Apryl         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16189

  3207       Thompson, Lorna        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-15971

  3208        Tittle, Patricia      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16192

  3209         Todd, Krystal        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16216

  3210        Murphy, Lena          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-15940

  3211       Bjorklund, Glenn       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16832

  3212         Earle, Carole        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17068

  3213        Farris, Donald        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16762

  3214       Jackman, Marvin        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17049

  3215       Jackson, Bernard       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17039

  3216      Jackson, Armstead       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17027

  3217       Castaphney, Cory       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16622



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 81 of 90 PageID:
                                 177370

 5RZ         &DVH1DPH                         3ODLQWLII)LUP V              &XUUHQW&DXVH
  3218         Kelley, Linda        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16956

  3219        Kelly, Graciela       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17169

  3220        Kelly, Shaunte        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17152

  3221        Kennie, Joyce         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16816

  3222         King, Felicia        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16810

  3223      Mccauley, Michael       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17148

  3224        Kitson, Cynthia       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16890

  3225        Myatt, Cynthia        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16913

  3226       Parsons, Cynthia       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16563

  3227         Pourat, David        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16744

  3228    Ramos, Carmen Montiel     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16751

  3229        Rush, Tammy           Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17097

  3230   Rushing-Vargas, Roshanda   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16617

  3231         Saylor, Laura        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16997

  3232         Sharpe, Trina        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16998

  3233          Tom, Sally          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16988

  3234        Gavlak, Gladys        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16983

  3235        Williams, Alisha      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16778

  3236       Wilson, Jennifer       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-16811

  3237        Bempah, Maya          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18255

  3238        Cuffy, Jennifer       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18323

  3239       Gordon, Imunique       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17697

  3240         Green, David         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17737

  3241         Gregg, Terry         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17774

  3242         Gross, Marlin        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17808

  3243        Mccune, Isabel        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17846

  3244      Hammons, Tacara         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17869

  3245       Harmola, Robert        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18422

  3246          Hart, Kathy         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18137

  3247        Haydel, Melanie       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18175

  3248       Hudson, Margaret       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18278

  3249        Hunter, Valerie       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18332

  3250      Jackson, Penelope       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18333

  3251         Jones, Elena         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17873

  3252        Jones, Vanessa        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18124

  3253        Keen, Christine       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17986

  3254         Skoog, Terry         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18334

  3255       Mackay, Candace        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17815

  3256         Soper, Maria         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17883

  3257        Noldon, Brigitte      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17810

  3258         Rader, Daniel        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18028

  3259       Richard, Annette       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17457

  3260    Richardmond, Markeytia    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17459

  3261      Richardson, Tiffany     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17462

  3262          Rios, Stella        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17479

  3263        Rivers, Talacia       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17488



                                            76
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 82 of 90 PageID:
                                 177371

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  3264     Robinson, Cassondra     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17498

  3265     Rodgers, Feeneishia     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17507

  3266       Roscoe, Joseph        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17885

  3267        Ross, Edward         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18384

  3268       Senig, Henrietta      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17905

  3269        Lumar, Sarata        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18306

  3270     Crittenton, Demaurice   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18399

  3271       Hedrick, Barbara      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18403

  3272      Stephens, Kendrick     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-17946

  3273        Torma, Gerard        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18389

  3274          Bell, John         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18146

  3275        Heard, Donna         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19143

  3276        Henley, James        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18726

  3277        Johnson, Mary        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19040

  3278       Walker, Clestene      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18790

  3279         Joe, Amanda         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18685

  3280     Jones-Hiney, Patricia   Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18604

  3281        Keys, Carmen         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18580

  3282        King, Warndra        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18634

  3283       Kyle, Deumetrus       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18717

  3284        Kirton, Francis      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19062

  3285      Loschiavo, Joseph      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18792

  3286      Mccullough, Wanda      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18745

  3287        Moore, Bryana        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18696

  3288        Moore, Loretta       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18709

  3289         O'leary, John       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18727

  3290        Gordon, Cristal      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18821

  3291         Page, Gloria        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18603

  3292        Ransom, Toria        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18771

  3293        Rogers, Tarice       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18812

  3294       Rubin, Shenene        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18733

  3295         Sands, Mary         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18795

  3296       Wilcox, Twondy        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18773

  3297         Smith, Joyce        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18684

  3298        Steward, Larry       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18807

  3299       Sweat, Simon C.       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18880

  3300      Vandible, Nideichi     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18729

  3301        White, Taneta        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18668

  3302        Yaw, Winston         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18810

  3303         Ziegler, Amy        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-18667

  3304      Frazier, Ida Louise    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19776

  3305        Harrell, Renee       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19509

  3306        Heer, Richard        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19520

  3307     Lambrecht, Caroline     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19784

  3308     Evans-Chalup, Debra     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19537

  3309         Murillo, Ivan       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19564



                                           77
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 83 of 90 PageID:
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 5RZ          &DVH1DPH                         3ODLQWLII)LUP V              &XUUHQW&DXVH
  3310      Reynolds, Nathaniel      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19608

  3311          Sager, Lisa          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19783

  3312         Scott, Lakeya         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19530

  3313        Sharp, Charles         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19549

  3314       Tolbert, Stephanie      Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19494

  3315         Tovar, Alfredo        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19535

  3316       Trammell, Alexis        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19243

  3317        Vaughn, Darryl         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19539

  3318    Zurowski, Pamela Marino    Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19506

  3319    Walker, Eboney Shepard     Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19585

  3320        Warren, Jerome         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19551

  3321          Hill, Carlos         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19618

  3322       Forman, Clarissa        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19558

  3323       Arterbery, Yvette       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19793

  3324         Luckett, Mary         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-19796

  3325       Caldwell, Daphne        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-12051

  3326          Adkins, Lisa         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21350

  3327       Johnson, Donald         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21354

  3328         Martin, Cecilia      Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-21338

  3329       Martin, Charlene        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21347

  3330       Richey, Dwalette        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21334

  3331        Smith, Franklin        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21345

  3332       Abraugh, Shawn          Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21796

  3333          Akers, Larry         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21758

  3334         Dykes, Shelly         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21789

  3335        Dearth, Richard        Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21762

  3336        Jerkins, Charles       Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21771

  3337         Bell, Anthony         Schneider, Wallace, Cottrell Konecky LLP    3:23-cv-21800

  3338         Hall, Leonard                      Seithel Law LLC                3:18-cv-08611

  3339        Smith, Jeffrey G                    Seithel Law LLC                3:19-cv-21010

  3340         Perkins, Myrl                  Sill Law Group, PLLC               3:18-cv-11744

  3341         Berry, Nancy                   Sill Law Group, PLLC               3:19-cv-14605

  3342         Davlin, Doris                 Simmons Hanly Conroy                3:18-cv-08459

  3343        Duddy, Deirdre                 Simmons Hanly Conroy                3:18-cv-01281

  3344          Ernst, Dana                  Simmons Hanly Conroy                3:18-cv-02698

  3345         Kath, Sharon                  Simmons Hanly Conroy                3:18-cv-01320

  3346        Prievo, Deborah                Simmons Hanly Conroy                3:18-cv-01235

  3347        Tucker, Michelle               Simmons Hanly Conroy                3:18-cv-04713

  3348       Charles, Deborah       SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-02492

  3349       Charles, Samuel        SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01027

  3350       Winslow, Stephen       SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-03024

  3351         Hilborn, Carol       SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-00099

  3352         Baker, Marie         SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01293

  3353          Hill, Randy         SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01464

  3354       Johnson, Kathleen      SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01032

  3355        Taylor, Jimmie        SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01294



                                             78
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 84 of 90 PageID:
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  3356     Kanellopoulos, Anna         SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-02264

  3357         Madden, Ella            SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-01028

  3358        Maher, George            SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-01291

  3359      Napierala, Rebecca         SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-03021

  3360        Stauffer, Cindy          SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-03873

  3361       Templeton, Kristin        SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-09153

  3362       Thompson, Joan            SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-01295

  3363        Towler, Beverly          SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-03877

  3364        Weber, Vincent           SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-07956

  3365     Westbrook, Shauntel         SKIKOS, CRAWFORD, SKIKOS & JOSEPH              3:18-cv-01299

  3366    Scott, Alaina Gail Nicole             Springer Law Firm PLLC                3:19-cv-21013

  3367          Sult, Larisa          Sullivan Papain Block McGrath & Cannavo P.C.    3:23-cv-19765

  3368       Anthony, Martinez        Sullivan Papain Block McGrath & Cannavo P.C.    3:23-cv-19959

  3369          LOPEZ, IDA            Sullivan Papain Block McGrath & Cannavo P.C.    3:23-cv-22335

  3370         Krastel, Carol                  Summers & Johnson, P.C.                3:18-cv-13291

  3371        Stockwell, Linda                 Summers & Johnson, P.C.                3:18-cv-17084

  3372         Willis, Dorothy                 Summers & Johnson, P.C.                3:18-cv-17078

  3373       Chaney, Latasha                     The Carlson Law Firm                 3:23-cv-15779

  3374          Kaiser, Dan                      The Carlson Law Firm                 3:23-cv-16013

  3375        Martin, William                    The Carlson Law Firm                 3:23-cv-16066

  3376        Neher, Cathy Jo                    The Carlson Law Firm                 3:23-cv-16116

  3377        Perdue, Amelia                     The Carlson Law Firm                 3:23-cv-16462

  3378        Sticken, Donna                     The Carlson Law Firm                 3:23-cv-16477

  3379       Williamson, Lela                    The Carlson Law Firm                 3:23-cv-16490

  3380           Burrell, Zia                    The Carlson Law Firm                 3:23-cv-18835

  3381       Hamilton, Dawn R                    The Carlson Law Firm                 3:23-cv-18850

  3382       Arthur, Casandra                    The Carlson Law Firm                 3:23-cv-19322

  3383      Baird-Orji, Geneva                   The Carlson Law Firm                 3:23-cv-19400

  3384         Rotella, Linda                    The Carlson Law Firm                 3:23-cv-19431

  3385       Bergman, Monya                      The Carlson Law Firm                 3:23-cv-19457

  3386        Dumas, Wilona                      The Carlson Law Firm                 3:23-cv-19369

  3387       Duncan, Ramona                      The Carlson Law Firm                 3:23-cv-19390

  3388        Guss, Christine                    The Carlson Law Firm                 3:23-cv-19473

  3389        Lewis, Sheena                      The Carlson Law Firm                 3:23-cv-19446

  3390     Matthews, Carmenia                    The Carlson Law Firm                 3:23-cv-19485

  3391        Mcgregor, Paris                    The Carlson Law Firm                 3:23-cv-19336

  3392        Prentice, Dnay                     The Carlson Law Firm                 3:23-cv-19458

  3393        Soirez, Chasity                    The Carlson Law Firm                 3:23-cv-19375

  3394      Thompson, Steffani                   The Carlson Law Firm                 3:23-cv-19467

  3395         Gibson, Glenn                     The Carlson Law Firm                 3:23-cv-11833

  3396          Booth, Paul                      The Carlson Law Firm                 3:23-cv-11846

  3397      Grillotti, Jr., Richard              The Carlson Law Firm                 3:23-cv-11862

  3398       Hamilton, Robert                    The Carlson Law Firm                 3:23-cv-11935

  3399        Adkins, Melicia                    The Carlson Law Firm                 3:23-cv-19428

  3400      Livingston, Patricia               The Crone Law Firm, PLC                3:18-cv-12065

  3401        Dukes, William                      The Cuffie Law Firm                 3:18-cv-17286



                                                 79
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 85 of 90 PageID:
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  3402      Edwards, Benjamin           The Cuffie Law Firm        3:18-cv-16916

  3403      Harris, Joenathan           The Cuffie Law Firm        3:18-cv-14687

  3404        Harris, Angela            The Cuffie Law Firm        3:18-cv-01405

  3405        Rosser, Ninda             The Cuffie Law Firm        3:18-cv-17299

  3406       Hymes, Leonard             The Cuffie Law Firm        3:18-cv-17080

  3407         Kent, Aaron              The Cuffie Law Firm        3:18-cv-08104

  3408        Vinson, Toiya             The Cuffie Law Firm        3:18-cv-17380

  3409        Holden, Wanda             The Cuffie Law Firm        3:18-cv-17091

  3410        Salter, Allison           The Cuffie Law Firm        3:18-cv-17308

  3411      Al Catantii, Sashah        The Deaton Law Firm         3:19-cv-12780

  3412         Curry, Kelly            The Deaton Law Firm         3:19-cv-12802

  3413        Berreth, Gayle           The Deaton Law Firm         3:19-cv-12803

  3414         Brown, Lillie           The Deaton Law Firm         3:19-cv-12773

  3415      Ciccariello, Thomas        The Deaton Law Firm         3:19-cv-12737

  3416        Farmer, Lenel            The Deaton Law Firm         3:19-cv-12800

  3417        Koester, Elaine          The Deaton Law Firm         3:19-cv-12778

  3418       Marquez, Cecily           The Deaton Law Firm         3:19-cv-12972

  3419         Miser, Linda            The Deaton Law Firm         3:19-cv-12774

  3420       Mondragon, Betty          The Deaton Law Firm         3:19-cv-12973

  3421         Paige, Cheryl           The Deaton Law Firm         3:19-cv-12777

  3422      Ricketts, Elizabeth        The Deaton Law Firm         3:19-cv-12797

  3423       Schmidt, Michelle         The Deaton Law Firm         3:19-cv-13297

  3424        Stebner, Beth            The Deaton Law Firm         3:19-cv-12779

  3425         Thoun, Sally            The Deaton Law Firm         3:19-cv-12733

  3426         Tillman, Amy            The Deaton Law Firm         3:19-cv-12782

  3427        Tripp, Suzanne           The Deaton Law Firm         3:19-cv-12732

  3428        Vollmer, Karen           The Deaton Law Firm         3:19-cv-12781

  3429        Willits, Tracey          The Deaton Law Firm         3:19-cv-12738

  3430       Brown, M Barrett       The Dilorenzo Law Firm, LLC    3:19-cv-01139

  3431        Heyser, Janice           The Driscoll Firm, LLC      3:23-cv-16138

  3432       Mann, Christine           The Driscoll Firm, LLC      3:23-cv-17565

  3433       Rodriguez, Dora           The Driscoll Firm, LLC      3:23-cv-17874

  3434        Ebert, Ronald            The Driscoll Firm, LLC      3:23-cv-19053

  3435       Anderson, Donna           The Driscoll Firm, LLC      3:23-cv-18984

  3436     Swanson, Lakeysha           The Driscoll Firm, LLC      3:23-cv-18567

  3437       Torrance, Latisha         The Driscoll Firm, LLC      3:23-cv-18583

  3438        Ward, Roxanne            The Driscoll Firm, LLC      3:23-cv-18606

  3439         Welch, Talia            The Driscoll Firm, LLC      3:23-cv-18614

  3440      Buenrosto, Beatrice        The Driscoll Firm, LLC      3:23-cv-19325

  3441      Jankowski, Richard         The Driscoll Firm, LLC      3:23-cv-19670

  3442       McCurdy, Bruce            The Driscoll Firm, LLC      3:23-cv-19672

  3443          Fifield, Bret          The Driscoll Firm, LLC      3:23-cv-19662

  3444      Armstead, Darnille         The Driscoll Firm, LLC      3:23-cv-12983

  3445       Belden, Cristina       The Ferraro Law Firm, P.A.     3:19-cv-17411

  3446      Resti, Joyce Simms      The Ferraro Law Firm, P.A.     3:19-cv-17419

  3447        Crincoli, Louise      The Ferraro Law Firm, P.A.     3:19-cv-13475



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Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 86 of 90 PageID:
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 5RZ          &DVH1DPH                     3ODLQWLII)LUP V       &XUUHQW&DXVH
  3448         Minter, Donald          The Ferraro Law Firm, P.A.     3:19-cv-17415

  3449     Richards, Shannon E.        The Ferraro Law Firm, P.A.     3:19-cv-17803

  3450        Komoroski, Mary           The Goss Law Firm, P.C.       3:18-cv-12522

  3451          Cox, Michael           The Hannon Law Firm, LLC       3:18-cv-10062

  3452        Nuckols, Ethel M        The Michael Brady Lynch Firm    3:18-cv-01404

  3453         Sieckman, Karl         The Michael Brady Lynch Firm    3:18-cv-03003

  3454    Aina, Chardell A. M. Naki       The Miller Firm, LLC        3:23-cv-15846

  3455       Kaliojuv, Margarita          The Miller Firm, LLC        3:23-cv-16045

  3456         Dorr, John M.              The Miller Firm, LLC        3:23-cv-16538

  3457      Larkins, Amberly C.           The Miller Firm, LLC        3:23-cv-16571

  3458          Katz, Phyllis             The Miller Firm, LLC        3:23-cv-16524

  3459        Kenyon, Sandra              The Miller Firm, LLC        3:23-cv-16543

  3460        Kuhn, Jeffrey C.            The Miller Firm, LLC        3:23-cv-16551

  3461          Lane, Major               The Miller Firm, LLC        3:23-cv-16562

  3462     Packard, Katie Louise          The Miller Firm, LLC        3:23-cv-16592

  3463           Nicks, Paul              The Miller Firm, LLC        3:23-cv-16585

  3464         Reeves, April              The Miller Firm, LLC        3:23-cv-16600

  3465       Genzale, Anthony             The Miller Firm, LLC        3:23-cv-18194

  3466      Craft, Elizabeth Ann          The Miller Firm, LLC        3:23-cv-11791

  3467      Culbertson, Donna S           The Miller Firm, LLC        3:23-cv-11797

  3468     Camionschu, Mariana            The Miller Firm, LLC        3:18-cv-17063

  3469      Campbell, Jennifer L          The Miller Firm, LLC        3:18-cv-17671

  3470        Chavez, Evelyn              The Miller Firm, LLC        3:18-cv-17441

  3471        Church, Angela              The Miller Firm, LLC        3:18-cv-01243

  3472        Collen, Carolyn             The Miller Firm, LLC        3:18-cv-09479

  3473         Davis, Clarissa            The Miller Firm, LLC        3:23-cv-04749

  3474      Depalma, Noreen M             The Miller Firm, LLC        3:18-cv-02419

  3475         English, Terry             The Miller Firm, LLC        3:18-cv-02416

  3476         Fede, Angela               The Miller Firm, LLC        3:18-cv-16072

  3477          Green, Carol              The Miller Firm, LLC        3:18-cv-07953

  3478       Heckman, Thomas              The Miller Firm, LLC        3:18-cv-17232

  3479       Heckman, Thomas              The Miller Firm, LLC        3:18-cv-17235

  3480    Howard, Pamela Hatcher          The Miller Firm, LLC        3:18-cv-17138

  3481          Knoll, Jodi L             The Miller Firm, LLC        3:18-cv-15501

  3482      McDonald, Lawrence            The Miller Firm, LLC        3:18-cv-01536

  3483         Randle, Nicole             The Miller Firm, LLC        3:18-cv-02403

  3484           Saia, Peter              The Miller Firm, LLC        3:18-cv-06354

  3485        Thielen, Michael            The Miller Firm, LLC        3:18-cv-16683

  3486       Villarreal, Emeterio         The Miller Firm, LLC        3:18-cv-16312

  3487        White, Nadia L.             The Miller Firm, LLC        3:18-cv-16842

  3488         Russo, Sharon              The Miller Firm, LLC        3:23-cv-20920

  3489         Morgan, Betty              The Miller Firm, LLC        3:23-cv-21230

  3490       Zachmeier, Janice            The Miller Firm, LLC        3:23-cv-21223

  3491        Rhodes, Cheryl              The Miller Firm, LLC        3:23-cv-21664

  3492       Fogarty, Josephine           The Miller Firm, LLC        3:19-cv-20902

  3493       Cederle, Lucille T           The Miller Firm, LLC        3:19-cv-19418



                                         81
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 87 of 90 PageID:
                                 177376

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  3494         Cheston, Frank          The Miller Firm, LLC      3:19-cv-00598

  3495       Cleverley, Verna S        The Miller Firm, LLC      3:19-cv-12530

  3496       Eversmeyer, Bruce         The Miller Firm, LLC      3:19-cv-10527

  3497       Coleman, David P          The Miller Firm, LLC      3:19-cv-09036

  3498        Coleman, Sandra          The Miller Firm, LLC      3:19-cv-09008

  3499       Connors, Karen M          The Miller Firm, LLC      3:19-cv-15788

  3500        Curry, Valerie L         The Miller Firm, LLC      3:19-cv-00674

  3501      Davis-Carter, Victoria     The Miller Firm, LLC      3:19-cv-20801

  3502      Engemann, Michelle         The Miller Firm, LLC      3:19-cv-12527

  3503         Forbes, Jane B          The Miller Firm, LLC      3:19-cv-17205

  3504        Fuson, Donna J           The Miller Firm, LLC      3:19-cv-14055

  3505        Graves, Anita C          The Miller Firm, LLC      3:19-cv-15779

  3506       Greitzer, Shirley T       The Miller Firm, LLC      3:19-cv-15783

  3507         Freeman, Rosa           The Miller Firm, LLC      3:19-cv-18198

  3508      Hammond, Douglas           The Miller Firm, LLC      3:19-cv-21131

  3509        Harris, Tracie D         The Miller Firm, LLC      3:19-cv-10317

  3510        Helland, Julie A         The Miller Firm, LLC      3:19-cv-07824

  3511        Henzler, Betty A         The Miller Firm, LLC      3:19-cv-20514

  3512         Hill, Sharonda          The Miller Firm, LLC      3:19-cv-20198

  3513          Huerta, Maria          The Miller Firm, LLC      3:19-cv-08933

  3514       Jenson, Donna M           The Miller Firm, LLC      3:19-cv-12535

  3515       Johnson, Melody L         The Miller Firm, LLC      3:19-cv-00314

  3516       Maglone, Veronica         The Miller Firm, LLC      3:19-cv-20595

  3517       McKnight, Rose A          The Miller Firm, LLC      3:19-cv-00317

  3518        McQuade, Robin           The Miller Firm, LLC      3:19-cv-06513

  3519        Moore, Katrina M         The Miller Firm, LLC      3:19-cv-12533

  3520       Ostroski, Sharon J        The Miller Firm, LLC      3:19-cv-17207

  3521          Doty, Diane J          The Miller Firm, LLC      3:19-cv-20596

  3522     Spinks, Johnny Wayne        The Miller Firm, LLC      3:19-cv-01326

  3523      Terflinger, Sherry W.      The Miller Firm, LLC      3:19-cv-20718

  3524       Teuton, Caroline L        The Miller Firm, LLC      3:19-cv-20472

  3525        Tinsley, Donna M         The Miller Firm, LLC      3:19-cv-00316

  3526       Turner, Dominique         The Miller Firm, LLC      3:19-cv-18195

  3527       Varisco, Katrina M        The Miller Firm, LLC      3:19-cv-01029

  3528         Perleberg, Jill         The Miller Firm, LLC      3:19-cv-15786

  3529      Whatmough, Lura M          The Miller Firm, LLC      3:19-cv-09007

  3530         Yongen, Leona           The Miller Firm, LLC      3:19-cv-20659

  3531         WIlliams, Judy        The Mitchell Firm, PLLC     3:18-cv-05532

  3532      Michaels, Chrystasya     The Potts Law Firm, LLP     3:18-cv-16981

  3533        Cabrera, Virginia      The Potts Law Firm, LLP     3:19-cv-00609

  3534           Davis, Neal         The Potts Law Firm, LLP     3:19-cv-00916

  3535          Hyde, Jolene         The Potts Law Firm, LLP     3:19-cv-01411

  3536         Mann, Wanda           The Potts Law Firm, LLP     3:19-cv-06948

  3537       Stewart, Gennette       The Potts Law Firm, LLP     3:19-cv-05432

  3538     Sanchez, Jacqueline S.      The Segal Law Firm        3:23-cv-15740

  3539          Six, Larry G.          The Segal Law Firm        3:23-cv-15730



                                      82
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 88 of 90 PageID:
                                 177377

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  3540     Makarewicz, Edmund           The Segal Law Firm         3:23-cv-16745

  3541     Corson, Christian P.         The Segal Law Firm         3:23-cv-18213

  3542        Gipson, Ruth              The Segal Law Firm         3:23-cv-17718

  3543        Noble, Latonya            The Segal Law Firm         3:23-cv-17843

  3544       Thurman, Karen             The Segal Law Firm         3:23-cv-17895

  3545       Bryant, Paula P.         The Simon Law Firm, PC       3:23-cv-21845

  3546       Brown, Richard           The Washington Firm, PC      3:18-cv-12361

  3547      Schofield, Mary Jo        The Weinberg Law Firm        3:18-cv-16151

  3548       Brown, Melanie         The Whitehead Law Firm, LLC    3:19-cv-04872

  3549         Cliff, Shirley       The Whitehead Law Firm, LLC    3:19-cv-06001

  3550        Warf, Nancy J             Thornton & Naumes          3:18-cv-03166

  3551        Brooks, Sylvia            Thornton & Naumes          3:19-cv-00563

  3552        Griffith, Edna           Thornton Law Firm LLP       3:19-cv-18037

  3553      Lyman, Richard E           Thornton Law Firm LLP       3:19-cv-07142

  3554       Chudy, Patricia           TorHoerman Law LLC          3:18-cv-04381

  3555         Cross, Letta            TorHoerman Law LLC          3:18-cv-17264

  3556         Eddy, Leslie            TorHoerman Law LLC          3:18-cv-14316

  3557         Fox, Bonnie             TorHoerman Law LLC          3:18-cv-16372

  3558       Frasure, Shauna           TorHoerman Law LLC          3:18-cv-16375

  3559       Hackney, Dean             TorHoerman Law LLC          3:18-cv-15390

  3560         Key, Agnes              TorHoerman Law LLC          3:18-cv-17268

  3561       Lodahl, Stephen           TorHoerman Law LLC          3:18-cv-08539

  3562        Loquist, Kenny           TorHoerman Law LLC          3:18-cv-05246

  3563       Nadeau, Joshua            TorHoerman Law LLC          3:18-cv-17261

  3564       Rose, Rebecca             TorHoerman Law LLC          3:18-cv-02993

  3565         Ryan, Olivia            TorHoerman Law LLC          3:18-cv-17263

  3566        Johnson, Della           TorHoerman Law LLC          3:18-cv-05249

  3567        Trainer, Scott           TorHoerman Law LLC          3:18-cv-04142

  3568       Bodkin, Sharon            TorHoerman Law LLC          3:19-cv-17399

  3569         Colon, Julie            TorHoerman Law LLC          3:19-cv-21022

  3570        Evans, Tammy             TorHoerman Law LLC          3:19-cv-20851

  3571        Tilbury Shenea           TorHoerman Law LLC          3:19-cv-21025

  3572      Loughran, Edward           TorHoerman Law LLC          3:19-cv-21032

  3573        Nixon, Vickie            TorHoerman Law LLC          3:19-cv-21035

  3574        Thomas, Ollie            TorHoerman Law LLC          3:19-cv-09183

  3575     Wreglesworth, Janice        TorHoerman Law LLC          3:19-cv-21040

  3576       Barker, Kandice                 Trammell PC           3:19-cv-12930

  3577         Kent, Debra                   Trammell PC           3:19-cv-12938

  3578        Gatlin, Adaire                 Trammell PC           3:19-cv-09386

  3579       Gredzicki, Paul                 Trammell PC           3:19-cv-12445

  3580        Jones, Wanda                   Trammell PC           3:19-cv-09340

  3581     Martino-Strid, Grace              Trammell PC           3:19-cv-20370

  3582      Pandola, Kimberly                Trammell PC           3:19-cv-09641

  3583       Stringer, Becky                 Trammell PC           3:19-cv-09648

  3584        Walton, Carla                  Trammell PC           3:19-cv-09390

  3585         Yates, Linda                  Trammell PC           3:19-cv-09389



                                       83
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 89 of 90 PageID:
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  3586      Bongiorno, Riccardo     UNDY, LUNDY, SOILEAU & SOUTH, LLP        3:19-cv-09876

  3587        Archer, Melissa              Vaughan Law Firm, P.C.            3:18-cv-11989

  3588       Deboth, Ramona                Vaughan Law Firm, P.C.            3:18-cv-12007

  3589        Hartley, William             Vaughan Law Firm, P.C.            3:18-cv-15228

  3590        McKee, Robbie                Vaughan Law Firm, P.C.            3:18-cv-11475

  3591         Jay, Christine              Vaughan Law Firm, P.C.            3:19-cv-08165

  3592        Shriver, Darwin              Vaughan Law Firm, P.C.            3:19-cv-08169

  3593        Donnelly, Kate               Wagstaff & Cartmell, LLP          3:18-cv-15533

  3594         Dubois, Cathy               Wagstaff & Cartmell, LLP          3:18-cv-03081

  3595        Garland, Sophia              Wagstaff & Cartmell, LLP          3:18-cv-09876

  3596      Johnson, Nancy M               Wagstaff & Cartmell, LLP          3:18-cv-17507

  3597         Marx, Yvonne                Wagstaff & Cartmell, LLP          3:18-cv-11041

  3598        Coon, Renee F                Wagstaff & Cartmell, LLP          3:19-cv-07322

  3599       Moore, Susan M                Wagstaff & Cartmell, LLP          3:19-cv-03510

  3600        Koupa, Sherilyn             Walton Telken Foster, LLC          3:19-cv-08853

  3601    Milliken-McKoy, Deborah          Weitz & Luxenberg, P.C.           3:23-cv-14610

  3602        Ruth, Brandy H.              Weitz & Luxenberg, P.C.           3:23-cv-14612

  3603         Spall, Wendy                Weitz & Luxenberg, P.C.           3:23-cv-14615

  3604      Storniolo, Maryann             Weitz & Luxenberg, P.C.           3:23-cv-14616

  3605      Nicodemus, Sharon              Weitz & Luxenberg, P.C.           3:23-cv-22331

  3606       Blodgett, Robert                Wexler Wallace LLP              3:18-cv-15577

  3607       Crews, Samantha                 Wexler Wallace LLP              3:18-cv-03031

  3608         Galpin, Jane                  Wexler Wallace LLP              3:18-cv-16705

  3609       Jounakos, Evelyn                Wexler Wallace LLP              3:18-cv-14493

  3610    Kenney-Chapman, Rene               Wexler Wallace LLP              3:18-cv-03029

  3611       Overdahl, Nancy                 Wexler Wallace LLP              3:18-cv-03034

  3612        Surber, Barbara                Wexler Wallace LLP              3:18-cv-04818

  3613        Thomas, Joann                  Wexler Wallace LLP              3:18-cv-00248

  3614        Condon, Shari                  Wexler Wallace LLP              3:19-cv-19073

  3615       Domagalla, Robin                Wexler Wallace LLP              3:19-cv-14580

  3616       Ettannani, Rosalie              Wexler Wallace LLP              3:19-cv-13180

  3617        Fagan, Charles                 Wexler Wallace LLP              3:19-cv-04417

  3618         Fox, Melinda                  Wexler Wallace LLP              3:19-cv-16198

  3619        Gustin, Angela                 Wexler Wallace LLP              3:19-cv-18534

  3620        Katz, Summer                   Wexler Wallace LLP              3:19-cv-18324

  3621         Kurth, Susan                  Wexler Wallace LLP              3:19-cv-21270

  3622       Giuliani, Anthony               Wexler Wallace LLP              3:19-cv-20941

  3623          Long, Brian                  Wexler Wallace LLP              3:19-cv-20939

  3624       Shannon, Susan                  Wexler Wallace LLP              3:19-cv-13026

  3625        Sokolow, Pearl                 Wexler Wallace LLP              3:19-cv-13177

  3626     Thompson, Donnie R                Wexler Wallace LLP              3:19-cv-20936

  3627       Smith, Barbara E          Wilentz, Goldman, & Spitzer, P.A.     3:18-cv-02181

  3628       Kosmyna, Lori A         Williams Declark Tuschman Co., L.P.A    3:19-cv-14024

  3629         Carter, Dottie               Williams Hart Law Firm           3:19-cv-18334

  3630       Connors, Michelle              Williams Hart Law Firm           3:19-cv-16499

  3631     Cunningham, Rhonda               Williams Hart Law Firm           3:19-cv-20823



                                            84
Case 3:16-md-02738-MAS-RLS Document 30612 Filed 04/01/24 Page 90 of 90 PageID:
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  3632        Ibarrondo, Luis         Williams Hart Law Firm     3:19-cv-20410

  3633       Hernandez, Gina          Williams Hart Law Firm     3:19-cv-18951

  3634      Miller, Allen Jean        Williams Hart Law Firm     3:19-cv-15138

  3635         Ross, John             Williams Hart Law Firm     3:19-cv-19175

  3636       Saylor, Faithann         Williams Hart Law Firm     3:19-cv-20844

  3637        Trejo, Joaquin          Williams Hart Law Firm     3:19-cv-14683

  3638      Valcarcel, Griselle       Williams Hart Law Firm     3:19-cv-18157

  3639      Woods, Rebecca            Williams Hart Law Firm     3:19-cv-18978

  3640     Dunnavant, Timothy              Wilson Law PA         3:19-cv-05446

  3641       Giso, Michael J            Wocl Leydon LLC          3:18-cv-08515

  3642      Arendale, Christina             Wright McCall        3:23-cv-18578




                                      85
